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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION


  IMPERIUM IP HOLDINGS                           §
  (CAYMAN), LTD.,                                §
                                                 §
                 Plaintiff,                      §
                                                 §
  v.                                             §   Case No. 4:14-cv-00371-ALM
                                                 §   FILED UNDER SEAL
  SAMSUNG ELECTRONICS CO.,                       §
  LTD., et al.,                                  §
                                                 §
                 Defendants.                     §
                                                 §


                              JOINT FINAL PRE-TRIAL ORDER

        This cause came before the Court at a pre-trial management conference held on January

 29, 2016, pursuant to Local Rule CV-16 and Rule 16 of the Federal Rules of Civil Procedure.

 A.     COUNSEL FOR THE PARTIES

 Plaintiff Imperium IP Holdings (Cayman), Ltd.

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 Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung
 Semiconductor, Inc. (collectively, “Samsung”)

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 B.     STATEMENT OF JURISDICTION

        This case arises under the patent laws of the United States, Title 35 of the United States

 Code. The Court has original jurisdiction over the subject matter of this action pursuant to 28

 U.S.C. §§ 1331 and 1338(a). Jurisdiction and venue with respect to Imperium’s infringement

 claims are not disputed.

 C.     NATURE OF ACTION

        This is an action for patent infringement in which Imperium IP Holdings (Cayman), Ltd.

 (“Imperium”) seeks damages for infringement of three patents by Defendants Samsung

 Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung Semiconductor, Inc.


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 (collectively, “Samsung”). The patents-in-suit are United States Patent No. 6,271,884 (the “’884

 Patent”), United States Patent No. 6,836,290 (the “’290 Patent”), and United States Patent No.

 7,092,029 (the “’029 Patent”). Imperium alleges that Samsung directly and/or indirectly

 infringes claims 1, 5, 6, 14, 17, 18, and 19 of the ’884 Patent, claims 1 and 10 of the ’290 Patent,

 and claims 1, 6, and 7 of the ’029 Patent (the “Asserted Claims”). Imperium also alleges that

 Samsung willfully infringes the ’884, ’290 and ’029 Patents. Imperium seeks damages in the

 form of a reasonable royalty.

         Samsung denies that it or its customers have infringed or infringe the Asserted Claims of

 the patents-in-suit, either literally or under the Doctrine of Equivalents. Samsung further

 contends that it does not induce or contribute to and has not induced or contributed to direct

 infringement of the Asserted Claims, either literally or under the Doctrine of Equivalents.

 Samsung alleges that the Asserted Claims are invalid in light of prior art, both based on

 obviousness and anticipation. Samsung further contends that Imperium is barred in whole or in

 part from recovering damages under the principle of laches. If one or more of the Asserted

 Claims are found to be not invalid, and if Samsung is found to have infringed such claims, in

 addition to denying that Imperium is entitled to any damages, Samsung denies that its alleged

 infringement was willful and further denies that enhanced damages are appropriate. Samsung

 further contends that Imperium is barred from recovering damages for any of the accused

 products that incorporate a Sony image sensor under the 2013 Settlement and License

 Agreement (“Sony License”), entered into by Imperium and third parties Sony Corporation and

 Sony Mobile Communications (USA) Inc.1


  Samsung has not asserted in this action a counterclaim for breach of the Sony License.
 1	  

 Samsung Electronics Co., Ltd., however, has brought a separate action again Imperium in the
 U.S. District Court for the District of Delaware (C.A. No. 15-cv-1059-SLR) for breach of
 contract, relating to the Sony License. The Delaware Action has been stayed. The parties agree

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 D.     CONTENTIONS OF THE PARTIES

 IMPERIUM’S CONTENTIONS

        Imperium seeks money damages from Defendant Samsung for infringement of the ’884,

 ’290 and ’029 Patents.

        The ’884, ’290 and ’029 Patents are generally directed to inventions that improve the

 quality of images captured by image sensors that are used in, for example, digital cameras,

 mobile phones, laptops and tablet computers. The ’884 Patent describes the invention of a circuit

 with the function of reducing flicker caused by light having a periodic intensity. The ’290 Patent

 describes an inventive data interface circuit and CMOS (“complementary metal-oxide

 semiconductor”) imaging apparatus that comprises a single-ended interface and a differential

 interface. The ’029 Patent describes the invention of a circuit which adjusts image lighting after

 determining the amount of supplemental flash lighting needed to properly expose a photographic

 subject.

        The accused products include digital cameras, mobile phones, laptops and computer

 tablets that are used, offered for sale, and sold by Samsung in the United States and that embody

 the inventions claimed in the ’884, ’290 and ’029 Patents. Imperium contends that Samsung

 directly and/or indirectly infringes the ’884, ’290 and ’029 Patents by using, offering for sale and

 selling the accused digital cameras, mobile phones, laptops and tablet computers. Imperium also

 contends that Samsung willfully infringes the ’884, ’290 and ’029 Patents.

        Imperium contends that Samsung should pay money damages to compensate Imperium

 for its respective infringement in the form of a reasonable royalty, as well as any other relief the



 that Samsung’s Delaware Action will not be referenced in front of the jury. See Section M (3).
 This agreement extends to any jury instructions, verdict forms, voir dire questioning, or other
 communications between the parties or the Court and the jury.

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 Court may find proper for such infringement. Imperium further contends that the award of

 damages should be increased as a result of Samsung’s willful infringement.

        Imperium denies that Samsung’s counterclaims and affirmative defenses have any merit.

 Imperium contends that the asserted claims of each of the ’884, ’290 and ’029 Patents are not

 invalid and are infringed by Samsung.

        Imperium contends that Samsung is precluded by this Court's Scheduling Order from

 raising a defense based on the Sony license because, inter alia, Samsung indisputably never

 disclosed such an affirmative defense by the deadlines imposed by Rule 16 and this Court’s

 Scheduling Order, and Samsung has failed to demonstrate the strict diligence and other good-

 cause factors required to amend or excuse those deadlines. See, e.g., Dkt. No. 169 (Imperium’s

 Response to Samsung’s Motion for Leave to File Motion for Summary Judgment Out-of-Time),

 Dkt. No. 179 (Imperium’s Opposition to Samsung’s Motion to Stay Litigation Pending

 Determination of Imperium’s Breach of the Sony License by the District Court of Delaware). As

 that defense is precluded by the Order and non-excusable, Samsung cannot raise it at trial.

 Despite this, Samsung indicates it will still attempt to raise this barred (and meritless) defense at

 trial. Accordingly, in an abundance of caution, Imperium intends to file a motion in limine to

 preclude argument, testimony, evidence or reference to Samsung’s untimely Sony license

 defense.

 SAMSUNG’S CONTENTIONS

        Samsung’s contentions in this case are detailed in part in its Answer, discovery

 responses, motions, invalidity and non-infringement contentions, and expert reports, which are

 all incorporated herein by reference. In summary, Samsung contends the following:




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                                 NON-INFRINGEMENT

       1.      Samsung contends that it does not infringe and has not infringed, directly or

               indirectly, any of the Asserted Claims of the ’884, ’029, and ’290 patents,

               which are: claims 1, 5, 6, 14, 17, 18, and 19 of the ’884 patent; claims 1, 6, and

               7 of the ’029 patent; and claims 1 and 10 of the ’290 patent, either literally or

               under the Doctrine of Equivalents.

       2.      Samsung contends that Imperium cannot meet its burden of proving by a

               preponderance of the evidence direct infringement by Samsung of any Asserted

               Claim of the’884, ’029, and ’290 patents, either literally or under the Doctrine

               of Equivalents.

       3.      Samsung contends that Imperium cannot meet its burden of proving by a

               preponderance of the evidence direct infringement by third parties of any

               Asserted Claim of the’884, ’029, and ’290 patents, either literally or under the

               Doctrine of Equivalents.

       4.      Samsung contends that Imperium cannot meet its burden of proving by a

               preponderance of the evidence that Samsung induces or induced infringement

               of any Asserted Claim of the’884, ’029, and ’290 patents, either literally or

               under the Doctrine of Equivalents.

       5.      Samsung contends that Imperium cannot meet its burden of proving by a

               preponderance of the evidence that Samsung contributes to or contributed to

               infringement of any Asserted Claim of the’884, ’029, and ’290 patents, either

               literally or under the Doctrine of Equivalents.




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       6.      Samsung contends that Imperium cannot meet its burden of proving by a

               preponderance of the evidence that Samsung had knowledge of infringement

               and the specific intent to cause direct infringement required for indirect

               infringement.

       7.      Samsung contends that the infringement claims against Samsung are barred, in

               whole or in part, by prosecution history estoppel.

                  INVALIDITY – ANTICIPATION/OBVIOUSNESS

       8.      Samsung contends that the Asserted Claim of the ’884, ’029, and ’290 patents

               are invalid because they are anticipated by prior art under 35 U.S.C. § 102.

               This contention is based on numerous prior art references disclosed in

               Samsung’s invalidity contentions and proposed amended invalidity contentions,

               and expert reports, all of which are incorporated herein by reference.

       9.      Samsung contends that the Asserted Claims of the ’884, ’029, and ’290 patents

               are invalid because they are rendered obvious in light of the prior art under 35

               U.S.C. § 103. This contention is based on numerous prior art references

               disclosed in Samsung’s invalidity contentions and proposed amended invalidity

               contentions, and expert reports, all of which are incorporated herein by

               reference.

                                      WILLFULNESS

       1.      Samsung contends that Samsung has not willfully infringed any Asserted Claim

               of the ’884, ’029, or ’290 patents, and thus Imperium is not entitled to

               enhanced damages under 35 U.S.C. § 284.




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       2.      Samsung contends that Imperium cannot meet its burden of proving that

               Samsung willfully infringed any Asserted Claim of the ’884, ’029, or ’290

               patents, and thus Imperium is not entitled to enhanced damages under 35

               U.S.C. § 284.

                                          LACHES

       3.      Samsung contends that Imperium’s claims of patent infringement are barred by

               the equitable doctrine of laches.

       4.      Samsung contends that Imperium unreasonably and inexcusably delayed

               bringing suit against Samsung for over six years, and such delay caused

               Samsung to suffer material and evidentiary prejudice. Samsung intends to ask

               the Court to submit special interrogatories to the jury as part of the verdict form

               that are directed to factual issues underlying laches, including but not limited to

               whether Imperium knew or should have known that Samsung allegedly

               infringed Imperium’s patents and unreasonably delayed bringing suit against

               Samsung.

                           DAMAGES AND OTHER RELIEF

       5.      Samsung contends that Imperium has not been damaged by Samsung’s alleged

               conduct and is not entitled to any pre-verdict or post-verdict damages,

               including pre-judgment and post-judgment interest or costs.

       6.      Samsung contends that Imperium is barred by the 2013 Settlement and License

               Agreement entered into by Imperium and third parties Sony Corporation and

               Sony Mobile Communications (USA) Inc. from recovering damages for

               accused products that incorporate Sony image sensors. As Samsung has



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               previously explained in multiple papers, Imperium throughout discovery

               concealed its accusation of Samsung products containing Sony image sensors

               and its reliance on those sensors to purportedly demonstrate infringement.

               Samsung intends to file a motion in limine precluding Imperium from asserting

               that any accused product incorporating a Sony image sensor infringes any of

               the three patents-in-suit, or warrants damages.

       7.      Samsung contends that Imperium is barred because of ESS’s agreement with

               MIPI, from recovering damages for any alleged infringement of the ’290

               patent.

       8.      Samsung contends that Imperium’s claim for damages is limited by 35 U.S.C.

               § 287 because of a failure to mark.

       9.      Samsung contends that Imperium is not entitled to any supplemental damages,

               any accounting for damages or attorneys’ fees, expenses, or costs.

       10.     Samsung contends that, even if infringement of the Asserted Claims of the

               ’884, ’029, or ’290 patents is found, Imperium’s proposed damages award is

               excessive and unsupportable. Samsung contends that, even if infringement of

               the Asserted Claims of the ’884, ’029, or ’290 patents is found, Imperium is

               entitled to no more than the amount set forth in the Expert Report of Dr. Ray

               Perryman, including all supplements and exhibits thereto.

                                        GENERAL

       11.     Samsung reserves the right to include additional contentions and disputed

               issues of fact and law based on (1) any expert reports, supplemental or

               otherwise; and (2) any motions on procedural or substantive issues—including



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                 summary judgment motions, Daubert motions, motions to strike, and motions

                 in limine—that may arise between the date of this document and (a) the pre-

                 trial conference, and/or (b) trial.


  E.    STIPULATIONS AND UNCONTESTED FACTS

        1. Stipulations

              a. Jurisdiction for Imperium’s infringement claims is proper in this Court.

              b. Venue for Imperium’s infringement claims is proper in this Court.

        2. Uncontested Facts

              a. Plaintiff Imperium IP Holdings (Cayman), Ltd. is the owner of the patents-in-

                  suit.

              b. Plaintiff Imperium IP Holdings (Cayman), Ltd. is incorporated in the Cayman

                  Islands with its principal place of business in New York.

              c. Defendant Samsung Electronics Co., Ltd. is a South Korean company with its

                  principal place of business at 416, Maetan 3-dong, Yeongtong-gu, Suwon-si,

                  Gyeonggi-do 443-742, Korea.

              d. Defendant Samsung Electronics America, Inc. is a subsidiary of Samsung

                  Electronics Co., Ltd. and is a corporation organized and existing under the

                  laws of the State of New York with principal place of business in New Jersey.

              e. Defendant Samsung Semiconductor, Inc. is an indirect subsidiary of Samsung

                  Electronics Co., Ltd. and is a California company with its principal place of

                  business in California.

              f. On August 7, 2001, the USPTO issued United States Patent No. 6,271,884,

                  entitled “Image Flicker Reduction With Fluorescent Lighting.”


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               g. The named inventors of the ’884 Patent are Randall M. Chung, Magued M.

                     Bishay, and Joshua Ian Pine.

               h. On December 28, 2004, the USPTO issued United States Patent No.

                     6,836,290, entitled “Combined Single-Ended and Differential Signaling

                     Interface.”

               i. The named inventors of the ’290 Patent are Randall M. Chung, Ferry

                     Gunawan, and Dino D. Trotta.

               k. On August 15, 2006, the USPTO issued United States Patent No. 7,092,029,

                     entitled “Strobe Lighting System for Digital Images.”

               l. The named inventors of the ’029 Patent are Robert A. Medwick and Glenn

                     Stark.

  F.    CONTESTED ISSUES OF FACT AND LAW

        1. Whether Samsung directly infringes claims 1, 5, 6, 14, 17, 18, or 19 of the ’884

           Patent.

        2. Whether Samsung directly infringes claims 1 or 10 of the ’290 Patent.

        3. Whether Samsung directly infringes clams 1, 6, or 7 of the ’029 Patent.

        4. Whether Samsung indirectly infringes claims 1, 5, 6, 14, 17, 18, or 19 of the ’884

           Patent.

        5. Whether Samsung indirectly infringes clams 1, 6, or 7 of the ’029 Patent.

        6. Whether Samsung has willfully infringed claims 1, 5, 6, 14, 17, 18, or 19 of the ’884

           Patent.

        7. Whether Samsung has willfully infringed claims 1 or 10 of the ’290 Patent.

        8. Whether Samsung has willfully infringed clams 1, 6 or 7 of the ’029 Patent.



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        9. Whether claims 1, 5, 6, 14, 17, 18, or 19 of the ’884 Patent are invalid for failure to

           meet the requirements of 35 U.S.C. §§ 102 and/or 103.

        10. Whether claims 1 or 10 of the ’290 Patent are invalid for failure to meet the

           requirements of 35 U.S.C. §§ 102 and/or 103.

        11. Whether claims 1, 6 or 7 of the ’029 Patent are invalid for failure to meet the

           requirements of 35 U.S.C. §§ 102 and/or 103.

        12. If liability is found as to Samsung, the amount of damages, if any, to which Imperium

           is entitled from Samsung.

        13. Whether Imperium’s claims of patent infringement are barred by the doctrine of

           laches.

        14. Whether Imperium is barred by the 2013 Settlement and License Agreement entered

           into by Imperium and third parties Sony Corporation and Sony Mobile

           Communications (USA) Inc. from recovering damages for the accused products

           incorporating Sony image sensors.

        15. Whether Samsung is licensed to the ’290 patent because of ESS’s agreement with

           MIPI.

        16. Whether Imperium’s claim for damages is limited by 35 U.S.C. § 287 because of a

           failure to mark.

        17. Whether the claims against Samsung are barred, in whole or in part, by prosecution

           history estoppel.

  G.    LIST OF WITNESSES

        The trial witness list for Imperium is attached as Appendix A.

        The trial witness list for Samsung is attached as Appendix B.



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  H.        LIST OF EXHIBITS2

            Exhibits that Imperium expects to use at trial or may use at trial are listed in Appendix C.

            Exhibits that Samsung expects to use at trial or may use at trial are listed in Appendix D.

  I.        LIST OF ANY PENDING MOTIONS

            The following motions are pending as of the date of this Joint Pre Trial Order:

      Docket No.                                  Pending Motion
      107           Samsung’s Motion to Amend/Correct Defendants’ Motion for Leave to Amend
                    Invalidity Contentions
      109           Imperium’s Sealed Motion for Leave to Amend Infringement Contentions
                    (Partially Opposed)
      125           Imperium’s Opposed Sealed Motion for Leave to Amend Infringement
                    Contentions to Add Samsung’s Newly Released August 2015 Products
      129           Samsung’s Sealed Motion to Compel the Deposition Testimony of Alan M.
                    Fisch
      135           Samsung’s Sealed Motion to Strike Products Imperium Failed to Accuse in its
                    ’029 Contentions From Imperium’s Expert’s Report
      136           Samsung’s Sealed Motion to Exclude Opinions of Dr. Cameron H.G. Wright
                    Regarding Willful Infringement
      137           Samsung’s Sealed Motion to Exclude Opinions of Michele M. Riley Pursuant
                    to Federal Rules of Evidence 402, 403, 702 and 703
      143           Samsung’s Sealed Motion to Strike Portions of Dr. Cameron H.G. Wright’s
                    Rebuttal Report Concerning Validity Positions Not Previously Disclosed by
                    Imperium
      144           Imperium’s Opposed Sealed Motion to Strike Portions of the Expert Report of
                    M. Ray Perryman, PhD
      155           Samsung’s Opposed Sealed Motion for Leave to File Motion for Summary
                    Judgment Out of Time
      157           Samsung’s Sealed Motion for Partial Summary Judgment that the Accused
                    Sony-Samsung Products Are Licensed
      171           Samsung’s Opposed Sealed Motion to Stay Litigation Pending Determination
                    of Imperium's Breach of the Sony License by the District Court of Delaware
      180           Samsung’s Sealed Motion for Leave to File Further Claim Construction
                    Briefing
      186           Samsung’s Opposed Sealed Motion For Leave to Submit Supplemental Expert
                    Reports


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    The parties reserve the right to use for purposes of cross-examination or impeachment, any and
  all materials, including but not limited to deposition transcripts, expert reports, and party
  submissions. Samsung anticipates that it will be able to streamline its exhibit list significantly
  after it has the opportunity to review Imperium’s exhibit list.

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         This list of pending motions does not include the parties’ motions in limine, which are

  due to be filed on the same day as this Joint Pre Trial Order (Dkt. No. 122).

  J.     PROBABLE LENGTH OF TRIAL

         The probable length of trial is 5 or 6 days.

  K.     MANAGEMENT CONFERENCE LIMITATIONS

   Docket No.                                         Limitation
   71             Parties are limited to four expert witnesses each.


  L.     CERTIFICATIONS

         The undersigned counsel for each of the parties in this action do hereby certify and

  acknowledge the following:

         (1) Full and complete disclosure has been made in accordance with the Federal Rules of

  Civil Procedure and the Court’s Orders;

         (2) Discovery limitations set forth in the Federal Rules of Civil Procedure, the Local

  Rules and the Court’s Orders have been complied with and not altered by agreement or

  otherwise;

         (3) Each exhibit in the List of Exhibits herein:

                 (a) is in existence;

                 (b) is numbered; and

                 (c) has been disclosed and shown to opposing counsel.

  M.     ADDITIONAL AGREEMENTS REACHED BY PARTIES

         The Parties will continue to meet and confer to reach agreement on trial management

  procedures. Currently, the parties stipulate as follows:




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         (1) The parties agree that no party or witness will provide testimony or argument

  suggesting that the respective patents are entitled to priority dates before: April 29, 1999 (’290

  Patent); September 28, 1999 (’884 Patent); March 24, 2000 (’029 Patent).

         (2) The parties agree not to seek or use any testimony, questioning, or evidence regarding

  any political campaign contributions by any witnesses.

         (3) The parties agree that no party or witness will provide testimony, argument, or

  evidence to the jury regarding Samsung’s filing of a lawsuit against Imperium in the United

  States District Court for the District of Delaware (Samsung Electronics Co., Ltd. v. Imperium IP

  Holdings (Cayman), Ltd., Case No. 1:15cv1059 (D. Del.)), or the existence or status of such

  lawsuit.

         (4) The parties agree that Samsung will not refer to Imperium using the following or

  similar derogatory, disparaging, and/or pejorative terms: “patent troll,” “pirate,” “bounty hunter,”

  “privateer,” “bandit,” “paper patent,” “submarine patent,” “stick up,” “hold up,” “shakedown,”

  or “playing the lawsuit lottery.” This agreement shall not prevent Samsung from, for example,

  arguing that Imperium is a patent assertion entity or non-practicing entity, or that Imperium does

  not make or sell products.




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  Approved as to form and substance:


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                                     300 N. Travis Street
                                     Sherman, TX 75090
                                     (903) 870-0070
                                     clydesiebman@siebman.com




                                       17
    Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 18 of 151 PageID #: 12899
.


                                             Attorneys for Defendants Samsung Electronics Co.,
                                             Ltd., Samsung Electronics America, Inc., and
                                             Samsung Semiconductor, Inc.

          SIGNED this 1st day of February, 2016.




                                    ___________________________________
                                    AMOS L. MAZZANT
                                    UNITED STATES DISTRICT JUDGE




                                               18
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                                  CERTIFICATE OF SERVICE

         I hereby certify that counsel of record who are deemed to have consented to electronic

  service are being served on December 30, 2015, with a copy of this document via the Court’s

  CM/ECF systems per Local Rule CV-5(a)(3).

                                                      /s/ R. William Sigler
                                                      R. William Sigler


               CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

         I hereby certify that the foregoing document is authorized to be filed under seal pursuant

  to the Agreed Protective Order in this case.

                                                      /s/ R. William Sigler
                                                      R. William Sigler




                                                 19
Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 20 of 151 PageID #: 12901




                    Appendix A
Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 21 of 151 PageID #: 12902



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION



   IMPERIUM IP HOLDINGS                 §
   (CAYMAN), LTD.,                      §
                                        §
                  Plaintiff,            §
                                        §
   v.                                   §   Case No. 4:14-cv-00371-ALM
                                        §
   SAMSUNG ELECTRONICS CO.,             §
   LTD., et al.,                        §
                                        §
                  Defendants.           §
                                        §



          PLAINTIFF IMPERIUM IP HOLDINGS (CAYMAN), LTD. WITNESS LIST


        A.   WITNESSES THAT WILL BE CALLED LIVE AT TRIAL

          Robert Blair
          Vincent Capone
          Michele Riley
          Dr. Cameron Wright

        B.   WITNESSES THAT MAY BE CALLED TO TESTIFY LIVE AT TRIAL

          Jun Bang
          Randall Chung
          Daejin Jeon
          Stuart Kaler
          Jongsoo Lee
          Joseph Melfi
          John Michaelson
          Alicia Moore
          Joshua Pine
          Daniel Shim
          Dino Trotta
Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 22 of 151 PageID #: 12903



     C.   WITNESSES THAT MAY BE PRESENTED BY DEPOSITION TESTIMONY AT
          TRIAL

        Jun Bang
        Tim Benner
        Sean Diaz
        Stephanie Ebbeler
        Jose Hernandez
        Daejin Jeon
        Jennifer Langan
        Hae Sun Lee
        Jihoon Lee
        Jongsoo Lee
        Jaehun Lim
        Joseph Melfi
        John Michaelson
        Donguk Park
        Min Kyu Park
        Daniel Shim
Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 23 of 151 PageID #: 12904




                    Appendix B
Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 24 of 151 PageID #: 12905



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

                                       §
  IMPERIUM IP HOLDINGS                 §   Case No. 4:14-cv-00371 (RC) (ALM)
  (CAYMAN), LTD.,                      §
                                       §
        Plaintiff and Counterclaim     §
        Defendant,                     §
                                       §
               v.                      §
                                       §
  SAMSUNG ELECTRONICS CO.,             §   JURY TRIAL DEMANDED
  LTD., SAMSUNG ELECTRONICS            §
  AMERICA, INC., SAMSUNG               §
  TELECOMMUNICATIONS AMERICA,
  LLC, AND SAMSUNG
  SEMICONDUCTOR, INC.

        Defendants and Counterclaim
        Plaintiffs.


                              DEFENDANT SAMSUNG’S
                        IDENTIFICATION OF TRIAL WITNESSES
Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 25 of 151 PageID #: 12906



          Pursuant to the Court’s Amended Scheduling Order (Dkt. No. 122) in this case,

  Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

  Semiconductor, Inc. (“Samsung”) hereby file this Identification of Trial Witnesses.

          At this time, Samsung respectfully submits the following list of witnesses that it expects

  to call at trial and those that it may call at trial if the need arises. Samsung reserves the right to

  supplement, augment, or otherwise modify this list based on circumstances that may evolve prior

  to the commencement of trial. Samsung also reserves the right to call witnesses not included on

  the above lists as impeachment witnesses. Further, Samsung reserves the right to call any trial

  witness who appears on Plaintiff Imperium’s trial witness list. Samsung also reserves the right to

  modify or supplement this list if Imperium alters its trial witness list.



  Samsung currently intends to call the following witnesses live at trial:1
         Dr. R. Jacob Baker
         Dr. Tim Benner
         Daejin Jeon
         Stuart Kaler
         Dr. Dean Neikirk
         Kenneth Parulski
         Dr. Ray Perryman


  Samsung may call the following witnesses live at trial:
         Robert Blair
         Vincent Capone
         Alan Fisch
         John Michaelson


  1
   Samsung’s “Will Call” and “May Call” designations are subject to change depending upon the
  proof offered by Plaintiff during its case-in-chief.
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  Samsung currently intends to offer deposition designations for the following witnesses: 2
         Magued Bishay
         Robert Blair
         Vincent Capone
         Randall Chung
         Robert Medwick
         Joseph Melfi
         John Michaelson
         Alicia Moore
         Joshua Pine
         Glenn Stark
         Dino Trotta




  2
   Samsung reserves the right to add additional deposition designations to establish the foundation
  and authenticity of an exhibit to the extent the admissibility of a particular exhibit is challenged.

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                    Appendix C
                                  Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 28 of 151 PageID #: 12909


                                                  United States District Court
                                                   Eastern District of Texas
   Imperium IP Holdings (Cayman), Ltd.                                                      EXHIBIT LIST
                   v.                                                                       Case Number: 4:14-cv-00371-ALM
    Samsung Electronics Co., Ltd. et al
                                                                                                                Defendant's Attorney: Jesse J. Jenner,
                                                                                                                Christopher Harnett, Steven Pope, Alexander
                                               Plaintiff's Attorney: Alan M.Fisch, R.                           E. Middleton, Samuel L. Brenner, Scott S.
                                               William Sigler, Jeffrey M. Saltman,                              TaylorROPES & GRAY LLP. Clyde M. Seibman,
                                               Jennifer K. Robinson, Silvia Jordan, David                       SIEBMAN, BURG, PHILLIPS & SMITH. Micheal
                                               M. Saunders, Desmond Jui, Sruli Yellin,                          E. Jones, John F. Bufe, Allenb F. Gardner,
Presiding Judge: Judge Amos L. Mazzant         FISCH SIGLER LLP                                                 POTTER MINTON, PC.
Trial Date: February 1, 2015                   Court Reporter:                                                  Courtroom Deputy:

Plaintiff No. Defendant No. Date offered Marked Admitted Bates Start                        Bates End           Description of Exhibits and Witnesses          Exhibit Link
PX-001                                                                                                          US Patent No. 6,271,884                        PX-001 - US6271884.pdf
PX-002                                                                                                          US Patent No. 6,836,290                        PX-002 - US6836290.pdf
PX-003                                                                                                          US Patent No. 7,092,029                        PX-003 - US7092029.pdf
                                                                                                                                                               PX-004 - 2014-06-09 1-0 Complaint for
PX-004                                                                                                          IIPH's Complaint                               Patent Infringement.pdf
                                                                                                                                                               PX-005 - 2014-09-22 29 Answer,
                                                                                                                Samsung's Answer, Affirmative Defenses, and    Affirmative Defenses and Counterclaims
PX-005                                                                                                          Counterclaims
                                                                                                                Samsung's   March 9, 2015 Responses and        - SEC, SEA,
                                                                                                                                                               PX-006      STA and SSI.pdf
                                                                                                                                                                       - 2015-03-09 Samsung
                                                                                                                Objections to IIPH's First Set of              Electronics' Responses and Objections
                                                                                                                Interrogatories (including 3-9-15 Attachment   to Imperium 1st Interrogatories (3-9-
PX-006                                                                                                          A)                                             15).pdf
                                                                                                                Samsung's June 19, 2005 Supplemental           PX-007 - 2015-06-19 Samsung's
                                                                                                                Responses and Objections to IIPH's Second      Supplemental Responses & Objections
PX-007                                                                                                          Set of Interrogatories (Nos. 1-11)             to Imperium's....pdf
                                                                                                                                                               PX-008  - 2015-07-10 Samsung's
                                                                                                                Samsung's July 10, 2015 Supplemental           Supplemental Responses and
                                                                                                                Responses and Objections to IIPH's First Set   Objections to Imperium's First Set of
PX-008                                                                                                          of Interrogatories (Nos. 1-11) (including 7-10-Interrogatories.pdf
                                                                                                                15 Attachment
                                                                                                                Samsung's        A) 2015 Supplemental
                                                                                                                            July 13,                           PX-009 - 2015-07-13 Samsung
                                                                                                                Responses and Objections to Imperium's First   Supplemental Responses to 1st
PX-009                                                                                                          Set of Interrogatories
                                                                                                                Samsung's   July 15, 2015
                                                                                                                                       (Nos.
                                                                                                                                          Responses
                                                                                                                                              1-11) and        Imperium
                                                                                                                                                               PX-010     Rogs Nos. 1-11.pdf
                                                                                                                                                                       - 2015-07-15 Samsung's
                                                                                                                Supplemental Responses to Imperium's           Responses and Supplemental Responses
                                                                                                                Interrogatories (Nos. 1-17) (including         to Imperium's Interrogatories (Nos. 1-
PX-010                                                                                                          Attachment B, C)                               17).pdf
                                                                                                                Samsung's August 5, 2015 Supplemental
                                                                                                                Responses and Objections to Imperium's First
                                                                                                                and Second Set of Interrogatories (including
PX-011                                                                                                          Attachments E, F) (Nos. 1-17)                   PX-011 - Bang Exhibit 5.pdf
         Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 29 of 151 PageID #: 12910

                                                                      Samsung's July 20, 2015 Responses and
                                                                      Supplemental Responses and Objections to        PX-012 - 2015-07-20 Samsung's
                                                                      Imperium's First and Second Set of              Supplemental Responses to Imperium's
PX-012                                                                Interrogatories
                                                                      Samsung's       (Nos.
                                                                                 July 22,   1-17)
                                                                                          2015 Responses and          Interrogatories.pdf
                                                                      Supplemental Responses and Objections to        PX-013 - 2015-07-22 Samsung's
                                                                      Imperium's First and Second Set of              Supplemental Responses to Imperium's
PX-013                                                                Interrogatories (Nos. 1-17)                     Interrogatories.pdf
                                                                      Attachment D to Samsung's July 22, 2015
                                                                      Supplemental Responses and Objections to
                                                                      Imperium's First and Second Set of              PX-014 - 2015-07-22 Samsung
PX-014                                                                Interrogatories
                                                                      Samsung's       (Nos.
                                                                                 July 27,   1-17)
                                                                                          2015 Responses and          Attachment D.pdf
                                                                      Supplemental Responses and Objections to
                                                                      Imperium's First and Second Set of
PX-015                                                                Interrogatories (Nos. 1-17)                     PX-015 - Diaz Exhibit 6.pdf
                                                                      Attachment D to Samsung's July 27, 2015
                                                                      Supplemental Responses and Objections to
                                                                      Imperium's First and Second Set of              PX-016 - 2015-07-27 Samsung
PX-016                                                                Interrogatories (Nos. 1-17)                     Attachment D (7-27-15).pdf
                                                                      Samsung's September 7, 2015 Supplemental        PX-017 - 2015-09-07 Samsung's
                                                                      Responses and Objections to Imperium's First    Supplemental Responses to Imperium's
PX-017                                                                and Second Set of Interrogatories (Nos. 1-17)   Interrogatories (Nos 1-17).pdf
                                                                      Samsung's September 27, 2015 Supplemental       PX-018 - 2015-09-27 Samsung
                                                                      Responses and Objections to Imperium's First    Supplemental Response to Imperium
PX-018                                                                and Second Set of Interrogatories (Nos. 1-17)   Interrogatories.pdf
                                                                      Samsung's September 12, 2015 Supplemental
                                                                      Responses and Objections to Imperium's First
PX-019                                                                and Second Set of Interrogatories (Nos. 1-17)   PX-019 - Perryman Exhibit 17.pdf
                                                                      Samsung's September 9, 2015 Supplemental
                                                                      Responses and Objections to Imperium's First
PX-020                                                                and Second Set of Interrogatories (Nos. 1-17)   PX-020 - Diaz Exhibit 8.pdf
                                                                      Attachment G to Samsung's September 12,
                                                                      2015 Supplemental Responses and
                                                                      Objections to Imperium's First and Second
PX-021                                                                Interrogatories (Nos. 1-17)                     PX-021 - 2015-09-12 Attachment G.pdf
                                                   TRANS_SAM-
PX-022                    TRANS_SAM-371_00007153   371_00007153       Flicker Description (English)                   PX-022.pdf
PX-023                    SAM-371_00007153         SAM-371_00007162   Flicker Description                             PX-023.pdf
PX-024                    SAM-371_00002877         SAM-371_00002970   S5K3H5XA datasheet, R0.26                       PX-024 - SAM-371_00002877.pdf
                                                                      Samsung's October 13, 2015 Supplemental         PX-025 - 2015-10-13 Samsung
                                                                      Responses and Objections to Imperium's First    Supplemental Response to Imperium
PX-025                                                                and Second Set of Interrogatories (Nos. 1-17)   Interrogatories.pdf
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                                                                Attachment H to Samsung's October 13, 2015
                                                                Supplemental Responses and Objections to
                                                                Imperium's First and Second Interrogatories
PX-026                                                          (Nos. 1-17)                                   PX-026 - 2015-10-13 Attachment H.pdf
PX-027                    SAM-371_00445047   SAM-371_00445050   Kaler - Jun Bang Email Communs.               PX-027 - SAM-371_00445047.pdf
                                                                Defendant's Joint invalidity Contentions -
PX-028                    IIPH_SAM00003850   IIPH_SAM00003877   Imperium v. Apple                             PX-028 - Neikirk Exhibit 13.pdf
                                                                Defendant's Joint invalidity Contentions
PX-029                    IIPH_SAM00003878   IIPH_SAM00003910   Exhibit A-1 - Imperium v. Apple               PX-029 - Neikirk Exhibit 16.pdf
PX-030                    IIPH_SAM00363046   IIPH_SAM00363072   Patent Assignment between ESS and IIPH        PX-030 - IIPH_SAM00363046.pdf
                                                                Defendant's Joint invalidity Contentions
PX-031                    IIPH_SAM00004036   IIPH_SAM00004095   Exhibit A-14 - Imperium v. Apple              PX-031 - Neikirk Exhibit 15.pdf
                                                                Defendant's Joint invalidity Contentions
PX-032                    IIPH_SAM00004123   IIPH_SAM00004147   Exhibit A-17 - Imperium v. Apple              PX-032 - Neikirk Exhibit 17.pdf
PX-033                    SAM-371_00146435   SAM-371_00146485   Qcamera Auto Exposure Control, Application    PX-033 - SAM-371_00146435.pdf
                                                                Defendant's Joint invalidity Contentions
PX-034                    IIPH_SAM00004465   IIPH_SAM00004508   Exhibit A-7 - Imperium v. Apple               PX-034 - Neikirk Exhibit 18.pdf
                                                                Defendant's RIM Copr.'s Invalidity
PX-035                    IIPH_SAM00007589   IIPH_SAM00007616   Contentions - Imperium v. Apple               PX-035 - Neikirk Exhibit 14.pdf
                                                                Intellectual Property Agreement between
PX-036                    IIPH_SAM00015442   IIPH_SAM00015523   Conexant Systems, Inc. and Pictos             PX-036 - Perryman Exhibit 6.pdf
PX-037                    IIPH_SAM00084422   IIPH_SAM00084431   License Agreement between Pictos and ESS      PX-037 - IIPH_SAM00084422.pdf
PX-038                    SAM-371_00445062   SAM-371_00445063   Kaler - Jun Bang and JongSoo Lee Email        PX-038.pdf
PX-039                    IIPH_SAM00085446   IIPH_SAM00085468   Patent Agreement between IIPH and ESS         PX-039.pdf
PX-040                    SAM-371_00447667   SAM-371_00447780   2011 Mobility Imaging Study                   PX-040 - SAM-371_00447667.pdf
PX-041                                                          Exhibit Intentionally Left Blank              PX-041.pdf
PX-042                    SAM-371_00445064   SAM-371_00445066   Kaler - Jun Bang and Jongsoo Lee Email        PX-042 - exhibit 11.pdf
                                                                Samsung NV40 - Digital Camera Series
PX-043                    SAM-371_00438265   SAM-371_00438268   Specifications, CNET                          PX-043 - SAM-371_00438265.pdf
PX-044                    OV-00001           OV-00054           OmniVision AEC Algorithm, Rev. 1.0            PX-044 - OV-00001.pdf
PX-045                    IIPH_SAM00086278   IIPH_SAM00086292   Email from Jim Boyd to Greg Franceschi re     PX-045 - exhibit 8.pdf
PX-046                    SAM-371_00445067   SAM-371_00445069   Kaler - Jun Bang and Jongsoo Lee Email        PX-046 - SAM-371_00445067.pdf
PX-047                    SAM-371_00445075   SAM-371_00445075   Kaler - Jun Bang and JongSoo Lee Email        PX-047 - SAM-371_00445075.pdf
                                                                ESS Technology - Meeting of Board of
PX-048                    IIPH_SAM00359789   IIPH_SAM00359789   Directors (IP Licensing Update)               PX-048 - exhibit 20.pdf
                                                                ESS Technology - Meeting of Board of
PX-049                    IIPH_SAM00359790   IIPH_SAM00359791   Directors (IP Licensing Update)               PX-049 - exhibit 21.pdf
PX-050                    SAM-371_00450472   SAM-371_00450518   Primary Research - Spotlight on Smartphones   PX-050 - exhibit 19.pdf
                                                                Email from Becky Norquist to Bob Blair re
PX-051                    IIPH_SAM00359917   IIPH_SAM00359918   IPHarbor Request                              PX-051 - exhibit 34.pdf
PX-052                    IIPH_SAM00359915   IIPH_SAM00359916   Email from Steven Adams to Bob Blair re       PX-052 - exhibit 35.pdf
PX-053                    IIPH_SAM00359922   IIPH_SAM00359922   ESS Technology - Rev Share with Opt Out       PX-053 - IIPH_SAM00359922.pdf
PX-054                    SAM-371_00445091   SAM-371_00445092   Kaler - Jun Bang and Jongsoo Lee Email        PX-054 - Exhibit 33.pdf
         Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 31 of 151 PageID #: 12912


PX-055                    SAM-371_00000189   SAM-371_00000309    MIPI Alliance Specification for D-PHY            PX-055 - DongukPark Exhibit 7.pdf
PX-056                    IIPH_SAM00359944   IIPH_SAM00359945    Handwritten Notes of a meeting with Micron       PX-056 - IIPH_SAM00359944.pdf
                                                                 Email from Alicia Moore (ESS) to
PX-057                    IIPH_SAM00359977   IIPH_SAM00359979    ody1101@lge.com re ESS/IIPH, Ltd. Patent         PX-057 - Exhibit 36.pdf
                                                                 Email from Alicia J. Moore (Comcast) to
PX-058                    IIPH_SAM00360070   IIPH_SAM00360072    Daniel Carlineo re ESS/IIPH, Ltd. Patent         PX-058 - exhibit 27.pdf
PX-059                    SAM-371_00445093   SAM-371_00445097    Kaler - JongSoo Email Communs.                   PX-059 - SAM-371_00445093.pdf
                                                                 Spotlight on Smartphones - Special Data
PX-060                    SAM-371_00449649   SAM-371_00449691    Analysis of InfoTrends' 2012 Mobile Imaging      PX-060 - exhibit 18.pdf
                                                                 Email from Alicia J. Moore (Comcast) to Alicia
PX-061                    IIPH_SAM00360100   IIPH_SAM00360105    Moore (ESS) re IIPHL Patent Portfolio with       PX-061 - exhibit 21.pdf
PX-062                    IIPH_SAM00360101   IIPH_SAM00360103    Patent Monetization Business Plan for IIPH       PX-062 - IIPH_SAM00360101.pdf
                                                                 Excel Sheet re CMOS Image Sensors and costs
PX-063                    IIPH_SAM00360104   IIPH_SAM00360105    of litigation                                    PX-063 - IIPH_SAM00360104.pdf
                                                                 Email from Ryan Clark to Alicia Moore (ESS)
PX-064                    IIPH_SAM00360163   IIPH_SAM00360181,   re IIPH/ESS Patent Portfolio with attachment     PX-064 - exhibit 22.pdf
                                                                 Email from Michael Anglin to Alicia Moore
PX-065                    IIPH_SAM00360273   IIPH_SAM00360275    (ESS) re Today's Call with attachment            PX-065 - exhibit 24.pdf
PX-066                    SAM-371_00000024   SAM-371_00000051    User Guide                                       PX-066- DongukPark Exhibit 6.pdf
                                                                 Email from Alicia J. Moore (Comcast) to David
                                                                 Shoneman (Princeton) re ESS technology -
PX-067                    IIPH_SAM00360276   IIPH_SAM00360277    Alicia to call Dave                              PX-067 - IIPH_SAM00360276.pdf
                                                                 Email from Alicia J. Moore (Comcast) to David
                                                                 Shoneman (Princeton) re Shoneman concept
PX-068                    IIPH_SAM00360278   IIPH_SAM00360278    analysis 9-14-09                                 PX-068 - IIPH_SAM00360278.pdf
PX-069                    IIPH_SAM00360279   IIPH_SAM00360280    Shoneman Concept Analysis                        PX-069 - IIPH_SAM00360279.pdf
PX-070                    SAM-371_00002758   SAM-371_00002759    Samsung 13 MP 1/3.06" CMOS Image Sensor          PX-070 - Ebbeler Exhibit 10.pdf
                                                                 Email from Becky Norquist to Bob Blair re
PX-071                    IIPH_SAM00360292   IIPH_SAM00360293    IPHarbor Request                                 PX-071 - IIPH_SAM00360292.pdf
                                                                 Email from Alicia J. Moore (Comcast) to Alicia
PX-072                    IIPH_SAM00363598   IIPH_SAM00363600    Moore (ESS) re ESS Concept                       PX-072 - exhibit 24.pdf
                                                                 ESS Letter re ESS Technology and Imperium
PX-073                    SAM-371_00445033   SAM-371_00445034    IP Holdings                                      PX-073 - SAM-371_00445033.pdf
                                                                 Email from Alicia J. Moore (Comcast) to Bob
PX-074                    IIPH_SAM00363610   IIPH_SAM00363612    Blair re ESS/IIPH, Ltd. Patent Portfolio         PX-074 - exhibit 26.pdf
                                                                 Email from Alicia J. Moore (Comcast) to Peter
                                                                 Snow re Interest in ESS Technology patent
PX-075                    IIPH_SAM00363920   IIPH_SAM00363924    portfolio with attachment                        PX-075 - Exhibit 29.pdf
                                                                 "Be Creative, Be Expressive with the Galaxy
PX-076                    IIPH_SAM00364321   IIPH_SAM00364328    Note II" Samsung Mobile Press Release            PX-076 - IIPH_SAM00364321.pdf
PX-077                    SAM-371_00000125   SAM-371_00000125    D-PHY Diagram                                    PX-077 - SAM-371_00000125.pdf
PX-078                    SAM-371_00445098   SAM-371_00445099    Kaler - Jun Bang Email Communs.                  PX-078 - SAM-371_00445098.pdf
PX-079                    SAM-371_00445100   SAM-371_00445103    Kaler - Jun Bang Email Communs.                  PX-079 - SAM-371_00445100.pdf
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PX-080                    IIPH_SAM00360220         IIPH_SAM00360220   Summary of Expected Royalty for 2010-2014        PX-080 - Exhibit 37.pdf
                                                                      Email from Alicia J. Moore (Comcast) to Alicia
                                                                      Moore (ESS) re information to address Board
PX-081                    IIPH_SAM00360221         IIPH_SAM00360224   concerns with attachment                         PX-081 - Exhibit 23.pdf
                                                                      Email from Alicia J. Moore (Comcast) to Alicia
PX-082                    IIPH_SAM00360218         IIPH_SAM00360219   Moore (ESS) re Information to Address Board      PX-082 - IIPH_SAM00360218.pdf
                                                                      Software License Agreement between
PX-083                    SAM-371_00157929         SAM-371_00157938   Broadcom Corporation and Samsung                 PX-083 - SAM-371_00157929.pdf
PX-084                    IIPH_SAM00365776         IIPH_SAM00365790   Email from Jim Boyd to Greg Franceschi re        PX-084 - exhibit 16.pdf
PX-085                    SAM-371_00445104         SAM-371_00445107   Kaler - Jun Bang Email Communs.                  PX-085 - SAM-371_00445104.pdf
PX-086                    SAM-371_00445108         SAM-371_00445111   Kaler - Jun Bang Email Communs.                  PX-086 - SAM-371_00445108.pdf
PX-087                    SAM-371_00445112         SAM-371_00445116   Kaler - Jun Bang Email Communs.                  PX-087 - SAM-371_00445112.pdf
                                                   TRANS_SAM-
PX-088                    TRANS_SAM-371_00000001   371_00000013       Flash aE Algorithm (English)                     PX-088 - HS Lee Exhibit 10A.pdf
PX-089                    SAM-371_00000001         SAM-371_00000013   Flash aE Algorithm                               PX-089 - HS Lee Exhibit 10B.pdf
                                                                      Camera Phone Market Trend Graph with
PX-090                    IIPH_SAM00360234         IIPH_SAM00360236   expected royalty rates                           PX-090 - exhibit 13.pdf
                                                                      Email from Alicia J. Moore (Comcast) to Bob
PX-091                    IIPH_SAM00366256         IIPH_SAM00366266   Blair re Back Side Illuminated CMOS Image        PX-091 - IIPH_SAM00366256.pdf
PX-092                    IIPH_SAM00365692         IIPH_SAM00365693   Handwritten Notes of a meeting with Micron       PX-092 - IIPH_SAM00365692.pdf
PX-093                    SAM-371_00445122         SAM-371_00445124   Kaler - Jun Bang Email Communs.                  PX-093 - exhibit 10.pdf
                                                                      Handwritten Notes of a meeting between
PX-094                    IIPH_SAM00366267         IIPH_SAM00366272   Farjami and LGE                                  PX-094 - IIPH_SAM00366267.pdf
PX-095                    SAM-371_00445125         SAM-371_00445128   Kaler - Jun Bang Email Communs.                  PX-095 - SAM-371_00445125.pdf
PX-096                    SAM-371_00448503         SAM-371_00448519   Digital Imaging Industry outlook (US)            PX-096 - SAM-371_00448503.pdf
                                                                      Consulting Services Retention Agreement
PX-097                    IIPH_SAM00372327         IIPH_SAM00372333   between Imperium, ESS, and Alicia Moore          PX-097 - IIPH_SAM00372327.pdf
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                                                                            Alicia J. Moore (Comcast) to         PX-111 - SAM-371_00005651.pdf
                                                                Ryanc@intven.com re IIPH,Ltd./ESS
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PX-112                    IIPH_SAM00372378   IIPH_SAM00372388   attachment                                       PX-112.pdf
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                                                                      MIPI Alliance - Specifications for Camera
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PX-602*                    SAM-371-SC_02832   SAM-371-SC_02832   AeFlashAlgorithm.c
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PX-614*                    SAM-371-SC_02931   SAM-371-SC_02957   AeFunctions.h
PX-615*                    SAM-371-SC_02343   SAM-371-SC_02362   AeInit_Columbus_LB.c
PX-616*                    SAM-371-SC_02547   SAM-371-SC_02574   AeInit_DRIMeIII_ST700.cpp
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PX-618*                    SAM-371-SC_00853   SAM-371-SC_00877   AeInit_M6M2_DV300.c
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PX-624*                    SAM-371-SC_01097   SAM-371-SC_01122   AeInit_WB150.c
PX-625*                    SAM-371-SC_01717   SAM-371-SC_01745   AeInitDRIMEIII_WB750.cpp
PX-626*                    SAM-371-SC_00966   SAM-371-SC_00988   AeInterfaceControl.cpp
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PX-628*                    SAM-371-SC_00842   SAM-371-SC_00852   AeInterfaceFlash.c
PX-629*                    SAM-371-SC_00915   SAM-371-SC_00923   AeInterfaceFlash.c
PX-630*                    SAM-371-SC_01054   SAM-371-SC_01064   AeInterfaceFlash.c
PX-631*                    SAM-371-SC_01089   SAM-371-SC_01096   AeInterfaceFlash.c
PX-632*                    SAM-371-SC_01123   SAM-371-SC_01130   AeInterfaceFlash.c
PX-633*                    SAM-371-SC_01187   SAM-371-SC_01199   AeInterfaceFlash.c
PX-634*                    SAM-371-SC_01218   SAM-371-SC_01228   AeInterfaceFlash.c
PX-635*                    SAM-371-SC_01247   SAM-371-SC_01257   AeInterfaceFlash.c
PX-636*                    SAM-371-SC_01305   SAM-371-SC_01315   AeInterfaceFlash.c
PX-637*                    SAM-371-SC_01362   SAM-371-SC_01372   AeInterfaceFlash.c
PX-638*                    SAM-371-SC_02216   SAM-371-SC_02230   AeInterfaceFlash.c
PX-639*                    SAM-371-SC_02336   SAM-371-SC_02342   AeInterfaceFlash.c
PX-640*                    SAM-371-SC_02696   SAM-371-SC_02702   AeInterfaceFlash.c
PX-641*                    SAM-371-SC_02703   SAM-371-SC_02709   AeInterfaceFlash.c
PX-642*                    SAM-371-SC_02815   SAM-371-SC_02821   AeInterfaceFlash.c
PX-643*                    SAM-371-SC_02825   SAM-371-SC_02831   AeInterfaceFlash.c
PX-644*                    SAM-371-SC_02920   SAM-371-SC_02930   AeInterfaceFlash.c
PX-645*                    SAM-371-SC_03025   SAM-371-SC_03031   AeInterfaceFlash.c
PX-646*                    SAM-371-SC_03053   SAM-371-SC_03059   AeInterfaceFlash.c
PX-647*                    SAM-371-SC_03097   SAM-371-SC_03103   AeInterfaceFlash.c
PX-648*                    SAM-371-SC_03104   SAM-371-SC_03114   AeInterfaceFlash.c
PX-649*                    SAM-371-SC_00999   SAM-371-SC_01009   AeInterfaceFlash.cpp
PX-650*                    SAM-371-SC_01746   SAM-371-SC_01756   AeInterfaceFlash.cpp
PX-651*                    SAM-371-SC_01837   SAM-371-SC_01847   AeInterfaceFlash.cpp
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PX-652*                    SAM-371-SC_02575   SAM-371-SC_02585   AeInterfaceFlash.cpp
PX-653*                    SAM-371-SC_02586   SAM-371-SC_02590   AeMiddlewareFlash.cpp
PX-654*                    SAM-371-SC_01387   SAM-371-SC_01392   AeMiddlewareGamma.c
PX-655*                                                          Exhibit Intentionally Left Blank
PX-656*                    SAM-371-SC_01442   SAM-371-SC_01518   AeMiddlewareGamma.c
PX-657*                    SAM-371-SC_00728   SAM-371-SC_00745   AeModeMain.c
PX-658*                    SAM-371-SC_01010   SAM-371-SC_01027   AeModeMain.c
PX-659*                    SAM-371-SC_01200   SAM-371-SC_01217   AeModeMain.c
PX-660*                    SAM-371-SC_01229   SAM-371-SC_01246   AeModeMain.c
PX-661*                    SAM-371-SC_01258   SAM-371-SC_01275   AeModeMain.c
PX-662*                    SAM-371-SC_01316   SAM-371-SC_01333   AeModeMain.c
PX-663*                    SAM-371-SC_01757   SAM-371-SC_01774   AeModeMain.c
PX-664*                    SAM-371-SC_02990   SAM-371-SC_02999   AeStatisticsIF.cpp
PX-665*                    SAM-371-SC_00278   SAM-371-SC_00299   camsensor_imx175_BSI_sn8m0_mipi_en.c
PX-666*                    SAM-371-SC_01549   SAM-371-SC_01604   camsensor_s5k3h5yx_ss8m0_mipi_en.c
PX-667*                    SAM-371-SC_01525   SAM-371-SC_01548   camsensor_s5k4e5ya_ss5m0.c
PX-668*                    SAM-371-SC_01662   SAM-371-SC_01716   CMOS_IMX206.cpp
PX-669*                    SAM-371-SC_01775   SAM-371-SC_01836   CMOS_s5k2p1yx.cpp
PX-670*                    SAM-371-SC_02176   SAM-371-SC_02185   csis.c
PX-671*                    SAM-371-SC_00466   SAM-371-SC_00466   d4c_mipi_ctrl.c
PX-672*                    SAM-371-SC_00016   SAM-371-SC_00072   FlashAlgorithm.c
PX-673*                    SAM-371-SC_02401   SAM-371-SC_02431   FlashAlgorithm.c
PX-674*                    SAM-371-SC_02436   SAM-371-SC_02466   FlashAlgorithm.c
PX-675*                    SAM-371-SC_02471   SAM-371-SC_02501   FlashAlgorithm.c
PX-676*                    SAM-371-SC_02506   SAM-371-SC_02537   FlashAlgorithm.c
PX-677*                    SAM-371-SC_02884   SAM-371-SC_02915   FlashAlgorithm.c
PX-678*                    SAM-371-SC_02236   SAM-371-SC_02237   FlashAlgorithm.h
PX-679*                    SAM-371-SC_02366   SAM-371-SC_02396   FlashAlgorithm.h
PX-680*                    SAM-371-SC_02542   SAM-371-SC_02543   FlashAlgorithm.h
PX-681*                    SAM-371-SC_02710   SAM-371-SC_02711   FlashAlgorithm.h
PX-682*                    SAM-371-SC_03023   SAM-371-SC_03024   FlashAlgorithm.h
PX-683*                    SAM-371-SC_03051   SAM-371-SC_03052   FlashAlgorithm.h
PX-684*                    SAM-371-SC_02231   SAM-371-SC_02235   FlashControl.h
PX-685*                    SAM-371-SC_03011   SAM-371-SC_03022   FlashData.cpp
PX-686*                    SAM-371-SC_03010   SAM-371-SC_03010   FlashDataTable.h
PX-687*                    SAM-371-SC_03115   SAM-371-SC_03146   Flicker.c
PX-688*                    SAM-371-SC_03147   SAM-371-SC_03178   Flicker.c
PX-689*                    SAM-371-SC_03225   SAM-371-SC_03256   Flicker.c
PX-690*                    SAM-371-SC_03274   SAM-371-SC_03304   Flicker.c
PX-691*                    SAM-371-SC_03350   SAM-371-SC_03381   Flicker.c
PX-692*                    SAM-371-SC_00001   SAM-371-SC_00008   FlickerDetection.cpp
PX-693*                    SAM-371-SC_00746   SAM-371-SC_00759   im_b2y.c
PX-694*                    SAM-371-SC_00878   SAM-371-SC_00891   im_b2y.c
          Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 50 of 151 PageID #: 12931


PX-695*                    SAM-371-SC_01373   SAM-371-SC_01386   im_b2y.c
PX-696*                    SAM-371-SC_01519   SAM-371-SC_01519   im_b2y.c
PX-697*                    SAM-371-SC_01393   SAM-371-SC_01393   im_b2y.h
PX-698*                    SAM-371-SC_00009   SAM-371-SC_00010   ImageTuning.cpp
PX-699*                    SAM-371-SC_00082   SAM-371-SC_00083   IpcDrimeIIIDraft.cpp
PX-700*                    SAM-371-SC_00373   SAM-371-SC_00396   TsAeFlashAlgorithm.c
PX-701*                    SAM-371-SC_00332   SAM-371-SC_00341   ipcGamma_Drv.c
PX-702*                    SAM-371-SC_00355   SAM-371-SC_00364   ipcGamma_Drv.c
PX-703*                    SAM-371-SC_00935   SAM-371-SC_00942   IpcmGammaD4.cpp
PX-704*                    SAM-371-SC_01394   SAM-371-SC_01394   iq_b2y.c
PX-705*                    SAM-371-SC_01441   SAM-371-SC_01441   iq_dgb_default.c
PX-706*                    SAM-371-SC_00790   SAM-371-SC_00830   IQProductAeAdjust.cpp
PX-707*                    SAM-371-SC_01646   SAM-371-SC_01661   IQSensorDriver_WB350_IMX206.cpp
PX-708*                    SAM-371-SC_02122   SAM-371-SC_02175   IsecCameraHardware.cpp
PX-709*                    SAM-371-SC_00173   SAM-371-SC_00173   isp_main.c
PX-710*                    SAM-371-SC_01520   SAM-371-SC_01524   isp_main.c
PX-711*                    SAM-371-SC_01395   SAM-371-SC_01396   Main.c
PX-712*                    SAM-371-SC_02201   SAM-371-SC_02215   mipi_csis.c
PX-713*                    SAM-371-SC_01614   SAM-371-SC_01621   ProgramLineFlash.cpp
PX-714*                    SAM-371-SC_01850   SAM-371-SC_02056   s5k5ccgx_regs_p8.h
PX-715*                    SAM-371-SC_02057   SAM-371-SC_02121   s5k5ccgx.c
PX-716*                    SAM-371-SC_02186   SAM-371-SC_0220    s5p_mipi_csis.c
PX-717*                    SAM-371-SC_03306   SAM-371-SC_03327   TsAeConfigData.c
PX-718*                    SAM-371-SC_03328   SAM-371-SC_03349   TsAeConfigData.c
PX-719*                    SAM-371-SC_03406   SAM-371-SC_03423   TsAeConfigData.c
PX-720*                    SAM-371-SC_03424   SAM-371-SC_03443   TsAeConfigData.c
PX-721*                    SAM-371-SC_03444   SAM-371-SC_03462   TsAeConfigData.c
PX-722*                    SAM-371-SC_03463   SAM-371-SC_03481   TsAeConfigData.c
PX-723*                    SAM-371-SC_00220   SAM-371-SC_00235   TsAeExposure.c
PX-724*                    SAM-371-SC_00481   SAM-371-SC_00488   TsAeExposure.c
PX-725*                    SAM-371-SC_00529   SAM-371-SC_00536   TsAeExposure.c
PX-726*                    SAM-371-SC_00577   SAM-371-SC_00592   TsAeExposure.c
PX-727*                    SAM-371-SC_00593   SAM-371-SC_00608   TsAeExposure.c
PX-728*                    SAM-371-SC_00609   SAM-371-SC_00624   TsAeExposure.c
PX-729*                    SAM-371-SC_00667   SAM-371-SC_00682   TsAeExposure.c
PX-730*                    SAM-371-SC_00146   SAM-371-SC_00159   TsAeFlashAlgorithm.c
PX-731*                    SAM-371-SC_00195   SAM-371-SC_00210   TsAeFlashAlgorithm.c
PX-732*                    SAM-371-SC_00245   SAM-371-SC_00265   TsAeFlashAlgorithm.c
PX-733*                    SAM-371-SC_00318   SAM-371-SC_00331   TsAeFlashAlgorithm.c
PX-734*                    SAM-371-SC_00760   SAM-371-SC_00762   IPC_ImageAdj.c
PX-735*                    SAM-371-SC_00400   SAM-371-SC_00415   TsAeFlashAlgorithm.c
PX-736*                    SAM-371-SC_00436   SAM-371-SC_00456   TsAeFlashAlgorithm.c
PX-737*                    SAM-371-SC_00467   SAM-371-SC_00480   TsAeFlashAlgorithm.c
                                  Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 51 of 151 PageID #: 12932


PX-738*                                                         SAM-371-SC_00501   SAM-371-SC_00528   TsAeFlashAlgorithm.c
PX-739*                                                         SAM-371-SC_00549   SAM-371-SC_00576   TsAeFlashAlgorithm.c
PX-740*                                                         SAM-371-SC_00637   SAM-371-SC_00657   TsAeFlashAlgorithm.c
PX-741*                                                         SAM-371-SC_00704   SAM-371-SC_00704   TsAeFlashAlgorithm.c
PX-742*                                                         SAM-371-SC_00174   SAM-371-SC_00181   TsAeMetering.c
PX-743*                                                         SAM-371-SC_00211   SAM-371-SC_00219   TsAeMetering.c
PX-744*                                                         SAM-371-SC_00236   SAM-371-SC_00244   TsAeMetering.c
PX-745*                                                         SAM-371-SC_00348   SAM-371-SC_03489   TsAeMetering.c
PX-746*                                                         SAM-371-SC_00658   SAM-371-SC_00666   TsAeMetering.c
PX-747*                                                         SAM-371-SC_00416   SAM-371-SC_00423   TsAeMetering.c
PX-748*                                                         SAM-371-SC_00457   SAM-371-SC_00465   TsAeMetering.c
PX-749*                                                         SAM-371-SC_00695   SAM-371-SC_00703   TsAeMetering.c
PX-750*                                                         SAM-371-SC_00365   SAM-371-SC_00372   TsAeMetering.c
PX-751*                                                         SAM-371-SC_03179   SAM-371-SC_03189   TsAeMetering.c
PX-752*                                                         SAM-371-SC_03190   SAM-371-SC_03200   TsAeMetering.c
PX-753*                                                         SAM-371-SC_00160   SAM-371-SC_00172   TsFlickerAlgorithm.c
PX-754*                                                         SAM-371-SC_00182   SAM-371-SC_00194   TsFlickerAlgorithm.c
PX-755*                                                         SAM-371-SC_00266   SAM-371-SC_00277   TsFlickerAlgorithm.c
PX-756*                                                         SAM-371-SC_00342   SAM-371-SC_00354   TsFlickerAlgorithm.c
PX-757*                                                         SAM-371-SC_00387   SAM-371-SC_00399   TsFlickerAlgorithm.c
PX-758*                                                         SAM-371-SC_00424   SAM-371-SC_00435   TsFlickerAlgorithm.c
PX-759*                                                         SAM-371-SC_00489   SAM-371-SC_00500   TsFlickerAlgorithm.c
PX-760*                                                         SAM-371-SC_00537   SAM-371-SC_00548   TsFlickerAlgorithm.c
PX-761*                                                         SAM-371-SC_00625   SAM-371-SC_00636   TsFlickerAlgorithm.c
PX-762*                                                         SAM-371-SC_00683   SAM-371-SC_00694   TsFlickerAlgorithm.c
PX-763*                                                         SAM-371-SC_03514   SAM-371-SC_03525   TsFlickerAlgorithm.c
PX-764*                                                         SAM-371-SC_03257   SAM-371-SC_03273   Source Code

* Exhibit comprises source code that will be submitted in hard copy format.
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                    Appendix D
                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 53 of 151 PageID #: 12934


                  UNITED STATES DISTRICT COURT EASTERN DISTRICT OF TEXAS SHERMAN DIVISION
Plaintiff’s Imperium IP Holdings (Cayman), Ltd. v Defendant’s Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., Samsung
                                  Telecommunications America, LLC, And Samsung Semiconductor, Inc.
                                                                                                                Exhibit and Witness List
                                                                                                           Case No. 4:14-cv-00371 (ALM)

 Presiding Judge:                   Plaintiff's Attorney:    Defendant's Attorney:
  The Honorable                       Fisch Sigler LLP       Ropes & Gray LLP, and Siebman, Burg, Phillips & Smith, LLP, and Potter
 Amos L. Mazzant                                             Minton
    Trial Dates:                      Court Reporter:        Courtroom Deputy:
2/1/2016 - 2/5/2016                     Jan Mason            Debra McCord

                        Date
Pltf No.    Def. No              Marked        Admitted                                      Description
                       Offered
           DX-0001                                           Subpoena to Testify for Magued Bishay
           DX-0002                                           LinkedIn profile for Magued Bishay
           DX-0003                                           1999-01-00 - Bishay Conexant Notebook (IIPH_SAM00365155 -
                                                             IIPH_SAM00365176)
           DX-0004                                           1999-08-00 - Bishay Conexant Notebook (IIPH_SAM00365177 -
                                                             IIPH_SAM00365185)
           DX-0005                                           2000-01-00 - Document entitled "Modes of Operation" by Magued Bishay
                                                             (IIPH_SAM00365186 - IIPH_SAM00365208)
           DX-0006                                           1999-04-16 - Document entitled "CN0352 Digital CMOS Imager Datasheet"
                                                             (IIPH_SAM00374191 - IIPH_SAM00374209)
           DX-0007                                           Document entitled" USB Camera Module Solution Brochure"
                                                             (IIPH_SAM00374024 - IIPH_SAM00374025)
           DX-0008                                           Document entitled "USB Camera Chipset Solution - CMOS Image Sensor
                                                             CN0352 and Camera Engine CN0352p Brochure" (IIPH_SAM00079636 -
                                                             IIPH_SAM00079641)
           DX-0009                                           Subpoena to Testify at a Deposition in a Civil Action - Robert Blair
           DX-0010                                           Subpoena to Testify at a Deposition in a Civil Action - ESS Technology, Inc.




                                                                1 of 99      *Denotes Source Code that will be provided on January 8, 2016
                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 54 of 151 PageID #: 12935
                                     EXHIBIT AND WITNESS LIST – CONTINUATION                                 Case No.
                                                Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0011                                   2012-11-14 Deposition testimony for Robert Blair in Imperium v. Apple et al.
                                                     case (Vol. 1) (IIPH_SAM00365209 - IIPH_SAM00365265)
           DX-0012                                   2012-11-14 Deposition testimony for Robert Blair in Imperium v. Apple et al.
                                                     case (Vol.2) (IIPH_SAM00365266 - IIPH_SAM00365325)
           DX-0013                                   2014-02-13 - Imperium IP Holdings (Cayman), Ltd - Minutes of the Meeting
                                                     of the Board of Directors February 13, 2014 (IIPH_SAM00374927 -
                                                     IIPH_SAM00374929)
           DX-0014                                   2015-03-25 - Imperium IP Holdings (Cayman), Ltd - Draft Minutes of the
                                                     Meeting of the Board of Directors March 25, 2015 - Via Telephone
                                                     Conference (IIPH_SAM00374942 - IIPH_SAM00374943)
           DX-0015                                   2009-01-23 - Minutes of the ESS Technology Board of Directors Meeting
                                                     (IIPH_SAM00085705 - IIPH-SAM00085708)
           DX-0016                                   2010-04-06 - Imperium IP Holdings (Cayman), Ltd - Minutes of the Meeting
                                                     of the Board of Directors April 6, 2010 - Via Telephone Conference
                                                     (IIPH_SAM00376604 - IIPH-SAM00376623)
           DX-0017                                   Document entitled "IIPH Ownership" (RB000029 - RB000030)
           DX-0018                                   2006-11-01 - The MIPI Membership Agreement with ESS Technology
                                                     (IIPH_SAM00364564 - IIPH_SAM00364584)
           DX-0019                                   2014-10-21 - Email Steven Brown to Lisa Magliaro; admin@mipi.org and
                                                     Calto Wong Re: REMINDER - MIPI Alliance Request for Financial
                                                     Statements - ESS Technology, Inc. (ESS000011 - ESS000015)
           DX-0020                                   2004-12-28 - Chung U.S. Patent No. 6,836,290 entitled "Combined Single-
                                                     Ended and Differential Interface"
           DX-0021                                   2001-08-07 - Chung U.S. Patent No. 6,271,884 entitled "Image Flicker
                                                     reduction With Fluorescent Lighting"
           DX-0022                                   2007-04-24 - Email Jim Boyd to Bob Blair, Steven Brown and Wendy Chafer
                                                     Re: Valuation (IIPH_SAM00365775 - IIPH_SAM00365775)
           DX-0023                                   2007-04-27 - Email Jim Boyd to Greg.franceschi@duffandphelps.com; Steven
                                                     Brown and Wendy Chafer Re: FW: Valuation with attached patent
                                                     spreadsheets (IIPH_SAM00365776 - IIPH_SAM00365790)




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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 55 of 151 PageID #: 12936
                                     EXHIBIT AND WITNESS LIST – CONTINUATION                                 Case No.
                                                Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                  Description
                      Offered
           DX-0024                                   2009-01-29 - Imperium IP Holdings, Ltd. LLC membership interest memo
                                                     entitled "Basis for Valuation per FAS 157" by John Michaelson
                                                     (IIPH_SAM00376587 - IIPH_SAM00376587)
           DX-0025                                   2009-08-22 - Imperium IP Holdings, Ltd. LLC membership interest memo
                                                     entitled "Basis for Valuation per FAS 157" by John Michaelson
                                                     (IIPH_SAM00376528 - IIPH_SAM00376529)
           DX-0026                                   2009-12-31 - Imperium IP Holdings, Ltd. LLC membership interest memo
                                                     entitled "Basis for Valuation per FAS 157" by John Michaelson
                                                     (IIPH_SAM00376526 - IIPH_SAM00376527)
           DX-0027                                   2008-10-23 - ESS Technology Minutes of the Meeting of the Board of
                                                     Directors October 23, 2008 - IP Licensing Update (IIPH_SAM00359789 -
                                                     IIPH_SAM00359789)
           DX-0028                                   2008-11-21 - ESS Technology Minutes of the Meeting of the Board of
                                                     Directors November 21, 2008 - IP Licensing Update (IIPH_SAM00359790 -
                                                     IIPH_SAM00359791)
           DX-0029                                   2008-08-00 - Pachira document entitled "ESS Technologies Patent Licensing
                                                     Program" by Steven Adam and Chuck Donohoe (IIPH_SAM00376250 -
                                                     IIPH_SAM00376286)
           DX-0030                                   2009-12-14 - Email Alicia Moore to Bob Blair Re: FW: Back Side Illuminated
                                                     CMOS Image sensors with attached document entitled "Pachira ESS
                                                     Technologies Patent Licensing Program December 11, 2009"
                                                     (IIPH_SAM00366256 - IIPH_SAM00366266)
           DX-0031                                   2009-12-11 - Document entitled "Pachira ESS Technologies Patent Licensing
                                                     Program December 11, 2009" (IIPH_SAM00084612 - IIPH_SAM00084620)

           DX-0032                                   2009-04-00 - Document entitled "IIPH,Ltd./ESS Technologies Patent Portfolio
                                                     preliminary information" (IIPH_SAM00359931 - IIPH_SAM00359940)

           DX-0033                                   2008-08-18 - Email Becky Norquist (Imperium Partners) to Bob Blair Re: IP
                                                     Harbor request (IIPH_SAM00359917 - IIPH_SAM00359919)
           DX-0034                                   2008-10-15 - Email chain Steve Adams (Pachira) to Bob Blair Re: FW:
                                                     Patents (IIPH_SAM00359915 - IIPH_SAM00359916)

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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 56 of 151 PageID #: 12937
                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                 Description
                      Offered
           DX-0035                                   Undated Document entitled "Summary of expected Royalty for 2010 - 2014"
                                                     (IIPH_SAM00360220 - IIPH_SAM00360220)
           DX-0036                                   Collection of Bob Blair's handwritten notes dated between 10/09/2008 and
                                                     6/03/2009 from meetings and presentations with Farjami & Farjami and LGE
                                                     and a meeting with WIAV and Daniel Carlineo (IIPH_SAM00366267 -
                                                     IIPH_SAM00366272)
           DX-0037                                   2010-04-09 - Email Kevin Greene to John Michaelson Re: IP Holdings and
                                                     ESS update (IIPH_SAM00376601 - IIPH_SAM00376603)
           DX-0038                                   2014-09-05 - Letter Bob Blair to Whom It May Concern (Samsung) with cc:
                                                     Peter Sung (ESS Korea) and Robert Wong (ESS Fremont) Re: ESS
                                                     Technology and Imperium IP Holdings (SAM-371_00445033 - SAM-
                                                     371_00445034)
           DX-0039                                   2015-07-21 - Samsung Notice of Deposition of Vincent Capone
           DX-0040                                   2015-06-03 - Samsung First Notice of Deposition of Imperium IP Holdings
                                                     (Cayman), Ltd.
           DX-0041                                   2015-07-02 - Samsung Second Notice of Deposition of Imperium IP Holdings
                                                     (Cayman), Ltd.
           DX-0042                                   2015-08-06 - Imperium Second Supplemental and Amended Objections and
                                                     Responses to Samsung First Set of Interrogatories (Nos. 1-13)
           DX-0043                                   2015-08-06 - Imperium Objections and Responses to Samsung Second Set of
                                                     Interrogatories (Nos. 14-20)
           DX-0044                                   2004-12-28 - Chung U.S. Patent No. 6,836,290 entitled "Combined Single-
                                                     Ended and Differential Interface"
           DX-0045                                   2001-08-07 - Chung U.S. Patent No. 6,271,884 entitled "Image Flicker
                                                     reduction With Fluorescent Lighting"
           DX-0046                                   2013-02-18 - Settlement and License Agreement between Apple and Imperium
                                                     IP Holdings (Cayman), Ltd.; Imperium Holdings (Cayman). Ltd., The Levy
                                                     Trust, Robert Blair and Martin Mallinson (IIPH_SAM00002771 -
                                                     IIPH_SAM00002794)
           DX-0047                                   2013-06-10 - Settlement and License Agreement between Research In Motion
                                                     and Imperium IP Holdings (Cayman), Ltd. (IIPH_SAM00363988 -
                                                     IIPH_SAM00364014)


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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 57 of 151 PageID #: 12938
                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                  Description
                      Offered
           DX-0048                                   2013-04-30 - Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd. and Kyocera Communications, Inc.
                                                     (IIPH_SAM00363666 - IIPH_SAM00363687)
           DX-0049                                   2013-05-26 - Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd. and LG Electronics, Inc. (IIPH_SAM00002795 -
                                                     IIPH_SAM00002811)
           DX-0050                                   2013-03-22 - Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd. and Nokia Corporation (IIPH_SAM00363694 -
                                                     IIPH_SAM00363711)
           DX-0051                                   2013-07-10 - Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd., Motorola Mobility LLC and Google, Inc.
                                                     (IIPH_SAM00363643 - IIPH_SAM00363661)
           DX-0052                                   2013-05-09 - Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd., Sony Corporation and Sony Mobile Communications
                                                     (formerly known as Sony Ericsson Mobile Communications) - Exhibit A to
                                                     Declaration of Scott Taylor in Support of Samsung Motion for Partial
                                                     Summary Judgment That the Accused Samsung-Sony Products Are Licensed
                                                     (IIPH_SAM00364017 - IIPH_SAM00364037)

           DX-0053                                   2015-03-09 - Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd., Samsung Techwin Co. Ltd. and Samsung Opto-
                                                     Electronics America, Inc. (IIPH_SAM00363086 - IIPH_SAM00363097)
           DX-0054                                   2015-07-29 - Imperium Responses and Objections to Samsung Second Notice
                                                     of Deposition of Imperium IP Holdings (Cayman), Ltd.
           DX-0055                                   2014-04-03 - Email Stuart Kaler to Joerg Ferchau and Vincent Capone re:
                                                     Introduction of Capone to EDI (IIPH_SAM00374945 - IIPH_SAM00374945)

           DX-0056                                   2014-04-03 - Email Stuart Kaler to Vincent Capone and Alan Fisch re: Great
                                                     Evening! (dinner) (IIPH_SAM00374944 - IIPH_SAM00374944)
           DX-0057                                   2014-04-09 - Email Stuart Kaler to Vincent Capone re: NYTimes.com: Drexel
                                                     Works to Build Up Philadelphia (IIPH_SAM00374946 -
                                                     IIPH_SAM00374948)

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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0058                                   2013-07-19 - Declaration of Vincent Capone in Robert Silverstein v.
                                                     Imperium Partners (et al.), John Michaelson and WeizerMazars LLP. Filed in
                                                     Supreme Court of the State of New York - County of New York -- Case
                                                     Number 651375/2013
           DX-0059                                   Subpoena to Testify for Randall Chung
           DX-0060                                   LinkedIn profile for Randall Chung
           DX-0061                                   Document entitled "Where to Submit an Innovation Disclosure" by Kelly Hale
                                                     and Jim Dawson - RSS Intellectual Property (IIPH_SAM00374022 -
                                                     IIPH_SAM00374022)
           DX-0062                                   1998-04-17 - Gunawan U.S. Utility Patent Application S.N. 09/062343
                                                     entitled "CMOS Imaging Apparatus" (IIPH_SAM00003713 -
                                                     IIPH_SAM00003849)
           DX-0063                                   1999-07-27 - Roe U.S. Patent 5,929,655 entitled "Dual-Purpose I/O Circuit In
                                                     A Combined Link/PHY Integrated Circuit" (Adaptec)
           DX-0064                                   1999-04-20 - Document entitled "Conexant Systems- Device Electrical
                                                     Specification Digital SXGA Imager IA (CN1280)" (IIPH_SAM00278222 -
                                                     IIPH_SAM00278267)
           DX-0065                                   Conexant- CN0352 Digital CMOS Imager Datasheet (IIPH_SAM00374191 -
                                                     IIPH_SAM00374209)
           DX-0066                                   Subpoena to Testify for Robert Medwick
           DX-0067                                   2015-03-12 - Imperium IP Holdings (Cayman), Ltd.'s Disclosures
           DX-0068                                   2006-08-15 - Medwick U.S. Patent No. 7,092,029 entitled "Strobe Lighting
                                                     System for Digital Images" (SAM-371_00100636 - SAM-371_00100655)

           DX-0069                                   2001-08-07 - Chung U.S. Patent No. 6,271,884 entitled "Image Flicker
                                                     reduction With Fluorescent Lighting" (SAM-371_00097296 - SAM-
                                                     371_00097304)
           DX-0070                                   2004-12-28 - Chung U.S. Patent No. 6,836,290 entitled "Combined Single-
                                                     Ended and Differential Interface" (SAM-371_00100116 - SAM-
                                                     371_00100123)




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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 59 of 151 PageID #: 12940
                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0071                                   2001-03-22 - Medwick U.S. Patent File History for 7,092,029 Serial Number
                                                     09/816,038 entitled "Strobe Lighting System for Digital Images"
                                                     (IIPH_SAM00002815 - IIPH_SAM00003185)
           DX-0072                                   Fax from Tassinari to Medwick regarding Strobe Lighting System for Digital
                                                     Images (MEDWICK_SAM000001 - MEDWICK_SAM000007)
           DX-0073                                   2000-03-24 - Medwick U.S. Patent File History Application No. 60/192,008
                                                     entitled "Strobe for a Digital Camera" (SAM-371_00101027 - SAM-
                                                     371_00101077)
           DX-0074                                   1999-11-16 - Sugahara U.S. Patent No. 5,987,261 entitled " Strobe Device"
                                                     (SAM-371_00101181 - SAM-371_00101193)
           DX-0075                                   2001-02-27 - Sugimoto U.S. Patent No. 6,195,127 entitled "Digital Camera
                                                     Having a Flash Unit, Which Determines Proper Flash Duration Through an
                                                     Assessment of Image Luminance and Where Needed a Preliminary Flash
                                                     Emission" (SAM-371_00101078 - SAM-371_00101099)

           DX-0076                                   2015-07-13 - Subpoena to Testify at a Deposition in a Civil Action - Joe
                                                     Melfi
           DX-0077                                   LinkedIn profile for Joe Melfi
           DX-0078                                   2006-05-06 - Document entitled "Competitor Camera Main Feature
                                                     Comparison - Digital Imaging SoC, CIS, & ISP for Camera Phone
                                                     Applications" by (JNM) Joe Melfi (MELFI_SAM0003173 -
                                                     MELFI_SAM0003175)
           DX-0079                                   2004-10-26 - Samsung Preliminary Datasheet for "S5K3AAEX 1/3.2" SXGA
                                                     CMOS Image Sensor with an Embedded Image Signal Processor (Rev. 07)"
                                                     (MELFI_SAM0004058 - MELFI_SAM0004135)

           DX-0080                                   2004-10-22 - Samsung Preliminary Datasheet for "S5K53BEA 1/5.8" VGA
                                                     CMOS Image Sensor with an Embedded Image Signal Processor (Rev. 03)"
                                                     (MELFI_SAM0004272 - MELFI_SAM0004344)
           DX-0081                                   2004-11-05 - Samsung Preliminary Datasheet for "S5K4AAFX 1/4" CMOS
                                                     Image Sensor with an Embedded Image Signal Processor (Rev. 06)"
                                                     (MELFI_SAM0004142 - MELFI_AM0004234)

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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 60 of 151 PageID #: 12941
                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                  Description
                      Offered
           DX-0082                                   2015-01-03 - Samsung Preliminary Datasheet for "S5K53BEB 1/5.8" VGA
                                                     CMOS Image Sensor with an Embedded Image Signal Processor (Rev. 05)"
                                                     (MELFI_SAM0004355 - MELFI_SAM0004410)
           DX-0083                                   2005 -02-16 - Document entitled "F209: FW1.32 & API-021605 Flicker
                                                     improvements & AWB-stability improvements Quick testing - Joe Melfi
                                                     2/16/05 (1280x1024 indoor/outdoor quick test) Firmware/API test - ESS
                                                     1.3MegaPixel Camera Phone Samsung camera project: SCH-A815, F209,
                                                     M299" (IIPH_SAM00049233 - IIPH_SAM00049234)
           DX-0084                                   2005-02-15 - Document entitled "Korea Project Conference Call Notes -
                                                     02/15/2005" (IIPH_SAM00017203 - IIPH_SAM00017204)
           DX-0085                                   Document entitled "1. Flicker Detection" (MELFI_SAM0021731 -
                                                     MELFI_SAM0021738)
           DX-0086                                   2005-02-07 - Document entitled "A815, F209, M299 Status & Action Items -
                                                     Monday Feb 7, 2005" (MELFI_SAM0004617 - MELFI_SAM0004620)

           DX-0087                                   2007-02-07 - Document entitled "ESS Technology, Inc. ES2798 Datasheet
                                                     Advance Information - 2.0 Mega-Pixel MaxView Camera Solution
                                                     (Ver.:1.4_Release)" (MELFI_SAM0064881 - MELFI_SAM0064938)
           DX-0088                                   2007-01-29 - Document entitled "GPIO Support and Flash Control
                                                     Considerations for CVIS-only Devices" by Jmelfi (MELFI_SAM0074030 -
                                                     MELFI_SAM0074032)
           DX-0089                                   2004-07-12 - Document brochure entitled "ESS Technology, Inc. ES2120M
                                                     Camera Module" (MELFI_SAM0023234 - MELFI_SAM0023262)

           DX-0090                                   2015-08-06 - Imperium Second Supplemental and Amended Objections and
                                                     Responses to Samsung First Set of Interrogatories (Nos. 1-13)
           DX-0091                                   2004-10-24 - Document entitled "ESS Technology, Inc. VGA Camera Module
                                                     ES2198M Datasheet" (DRAFT COPY - NOT RELEASED)
                                                     (MELFI_SAM0020554 - MELFI_SAM0020591)
           DX-0092                                   2003 -Document entitled "ESS Technology, Inc. PT11650 Advanced Image
                                                     Signal Processor Datasheet" (MELFI_SAM0020779 - MELFI_SAM0020857)



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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 61 of 151 PageID #: 12942
                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                  Description
                      Offered
           DX-0093                                   2006-12-18 - Document entitled "Status report - Firmware group - December
                                                     18, 2006" (IIPH_SAM00018543 - IIPH_SAM00018544)
           DX-0094                                   2006-03-26 - Document entitled "ESS Technology, Inc. ES2428 Product
                                                     Brief - VGA SoC Camera Solution (Ver.: 1.0_Release)"
                                                     (MELFI_SAM0056279 - MELFI_SAM0056280)
           DX-0095                                   2004-11-08 - Document entitled "Camera Phone Customer Module Inventory
                                                     Updated 11/08/2004" (MELFI_SAM0000704 - MELFI_SAM0000704)

           DX-0096                                   2006-05-04 - Document entitled "Camera Interfaces Updated May 4, 2006"
                                                     by Joe Melfi (MELFI_SAM0027882 - MELFI_SAM0027887)
           DX-0097                                   2006-11-06 -Document entitled "Differences Highlighted: ES2798, ES7888,
                                                     ES2787 - Updated 11/06/2006" (MELFI_SAM0075747 -
                                                     MELFI_SAM0075750)
           DX-0098                                   2006-04-00 - Document entitled "ES2888 Block Diagrams For use in various
                                                     documentation" by Joe Melfi 4/2006 (MELFI_SAM0073492 -
                                                     MELFI_SAM0073500)
           DX-0099                                   2005-11-05 - Document entitled "ESS Technology, Inc. ES2820 Datasheet
                                                     Advance Information 3.2 Mega-Pixel SoC MaxView Camera Solution"
                                                     Unreleased Draft (MELFI_SAM0070929 - MELFI_SAM0070985)
           DX-0100                                   2012-11-20 - Deposition testimony of John Michaelson in Imperium v. Apple
                                                     et al. case (Vol. 1) (IIPH_SAM00372185 - IIPH_SAM00372265)
           DX-0101                                   2012-11-21 - Deposition testimony of John Michaelson in Imperium v. Apple
                                                     et al. case (Vol. 2) (IIPH_SAM00372266 - IIPH_SAM00372326)
           DX-0102                                   2014-06-09 - Complaint For Patent Infringement Imperium IP Holdings
                                                     (Cayman), Ltd v. Samsung Electronic Co., LTD., et al.
           DX-0103                                   2010-04-09 - Email John Michaelson to Maurice Hyryshko, Jeffrey Devers,
                                                     James McKay, William Steward, Renee Dittrich, Lee Daisley, Kevin Greene
                                                     and Mark Weiss Re: IP Holdings and ESS update (IIPH_SAM00377573 -
                                                     IIPH_SAM00377574)
           DX-0104                                   2010-04-20 - Email John Michaelson to Jeffrey Devers Re: FW: IP Holdings
                                                     and Kay Scholer deal (IIPH_SAM00377532 - IIPH_SAM00377532)



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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 62 of 151 PageID #: 12943
                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0105                                   2011-02-18 - ESS Technology, Inc. Minutes of the Meeting of the Board of
                                                     Directors February 18, 2011 (IIPH_SAM00085684 - IIPH_SAM00085686)

           DX-0106                                   2008-02-19 - Document entitled "Project Echo - Presentation to the Special
                                                     Committee" Needham Valuation (IIPH_SAM00366095 -
                                                     IIPH_SAM00366132)
           DX-0107                                   2007-12-31 - Document entitled "Liquidation Analysis - Probable Proceeds"
                                                     by Sutter Securities (IIPH_SAM00366133 - IIPH_SAM00366134)

           DX-0108                                   2007-12-31 - Document entitled " Discounted Cash Flow Valuation" by Sutter
                                                     Securities (IIPH_SAM00366135 - IIPH_SAM00366136)
           DX-0109                                   Subpoena to Testify at a Deposition in a Civil Action - Alicia Moore
           DX-0110                                   Consulting Services Retention Agreement between Imperium Partners Group
                                                     LLC, , ESS Technology, Inc. and ESS Holding Company and Alicia Jayne
                                                     Moore (IIPH_SAM00372327 - IIPH_SAM00372333)
           DX-0111                                   Consulting Agreement between Imperium Partners Group, ESS Technology,
                                                     Inc. ESS Holding Company and Alicia Jayne Moore (IIPH_SAM00372391 -
                                                     IIPH_SAM00372393)
           DX-0112                                   2001-08-07 - Chung U.S. Patent No. 6,271,884 entitled "Image Flicker
                                                     reduction With Fluorescent Lighting"
           DX-0113                                   2004-12-28 - Chung U.S. Patent No. 6,836,290 entitled "Combined Single-
                                                     Ended and Differential Interface"
           DX-0114                                   2015-03-12 Privilege Log of Imperium IP Holdings (Cayman), Ltd.
           DX-0115                                   2015-04-02 Supplemental Privilege Log of Imperium IP Holdings (Cayman),
                                                     Ltd.
           DX-0116                                   LinkedIn profile for Alicia Moore
           DX-0117                                   2010-04-06 - Imperium IP Holdings (Cayman), Ltd - Minutes of the Meeting
                                                     of the Board of Directors April 6, 2010 - Via Telephone Conference
                                                     (IIPH_SAM00085663 - IIPH_SAM00085664)
           DX-0118                                   2009-05-11 - Email chain from Daeyang Oh (LG) to Alicia Moore re
                                                     Information to Address Board concerns (IIPH_SAM00372342 -
                                                     IIPH_00372344)


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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                  Description
                      Offered
           DX-0119                                   2008-11-21 -Minutes of the ESS Technology Board of Directors Meeting - IP
                                                     Licensing Update (IIPH_SAM00372389 - IIPH_SAM00372390)
           DX-0120                                   2009-01-29 Email Phil Stern (Yet2.com) to Alicia Moore re Bid for ESS
                                                     patent portfolio with attached documents entitled ESS Offer Letter 2009 01
                                                     29.doc; Proposed PPA ESS Technology.doc (IIPH_SAM00372352 -
                                                     IIPH_SAM00372375)
           DX-0121                                   2009-04-06 - Email Alicia Moore to Ryanc@intven.com;
                                                     jim@erasmusibd.com and me@jimbirch.com Re; IIPH, Ltd./ESS
                                                     Technologies, LLP -- preliminary materials with attached document entitled
                                                     IIPH, Ltd. preliminary market assessment--4-09ajmrev.ppt
                                                     (IIPH_SAM00372378 - IIPH_SAM00372388)
           DX-0122                                   2007-04-27 - Email Jim Boyd to Greg.Franceschi@duffandphelps.com;
                                                     Steven Brown and Wendy Chafer Re: FW: Valuation with attached patent
                                                     spreadsheets (IIPH_SAM00372394 - IIPH_SAM00372408)
           DX-0123                                   2009-01-29 - Email from Bob Blair to Alicia Moore Re: FW: Follow up
                                                     question on Chronicle's progress. Forwarding email from John Cheng
                                                     (Chronicle) to Steven Brown and Bob Blair (IIPH_SAM00372414 -
                                                     IIPH_SAM00372417)
           DX-0124                                   2009-01-22 - Email Chain Steven Adam to Alicia Moore Re: ESS with
                                                     attachment entitled Pachira ESS Patent Licensing Program dated August 2008
                                                     (IIPH_SAM00372444 - IIPH_SAM00372483)
           DX-0125                                   Confidential Settlement Agreement and Mutual Release between Imperium
                                                     Partners Group, LLC, ESS Technology, Inc. ESS Holding Company and Alicia
                                                     Jayne Moore (IIPH_SAM00372411 - IIPH_SAM00372413)
           DX-0126                                   2010-02-17 - Email from Steven Adam (Pachira) to Alicia Moore Re: Final
                                                     Proposal with attached document entitled "Pachira ESS Program Dec 11
                                                     2009" (IIPH_SAM00372484 - IIPH_SAM00372494)
           DX-0127                                   2009-03-04 - Email from Steven Adam (Pachira) to Alicia Moore Re: Thanks
                                                     (IIPH_SAM00360077 - IIPH_SAM00360078)




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                 Case 4:14-cv-00371-ALM Document 232 Filed 02/01/16 Page 64 of 151 PageID #: 12945
                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0128                                   2009-04-26 - Email chain from Ragnar Olson (Global IP Law Group) to Alicia
                                                     Moore Re: Business Plan for IIPH-1.docx: IIPH - Pro Forma.xlsx with
                                                     attached document entitled "Patent Monetization Business Plan for IIPH, Ltd.
                                                     " (IIPH_SAM00360100 - IIPH_SAM00360105)
           DX-0129                                   2009-04-17 - Email Ryan Clark (Intellectual Ventures) to Alicia Moore and
                                                     Jim Birch Re: IIPH, Ltd./ESS Technologies LLP - Patent Portfolio with
                                                     attached document entitled "Sample Patent Agreement" (IIPH_SAM00360163
                                                     - IIPH_SAM00360181)
           DX-0130                                   2009-05-08 - Email chain Daeyang Oh (LGE) to Alicia Moore and Bob Blair
                                                     Re: Information to Address Board Concerns with attached document entitled
                                                     "CIS Business Plan "Summary of Expected Royalty for 2010-2014"
                                                     (IIPH_SAM00360221 - IIPH_SAM00360224)
           DX-0131                                   2009-04-14 - Email Michael Anglin (Ocean Tomo) to Alicia Moore and Dean
                                                     Becker (Ocean Tomo) Re: Today's Call with attached document entitled "ESS
                                                     Tech Analysis.xlsx." (IIPH_SAM00360273 - IIPH_SAM00360275)

           DX-0132                                   2009-09-14 Email Moore to Blair Re: ESS Concept and enclosing Proposal
                                                     from David Shoneman (Thompson Licensing LLC) (IIPH_SAM00363598 -
                                                     IIPH_SAM00363600)
           DX-0133                                   2009-05-22 - Email Re: ESS/IIPH, Ltd. Patent Portfolio Proposal forwarding
                                                     email from Daniel Carlineo (Techpats) representing LGE
                                                     (IIPH_SAM00363610 - IIPH_SAM00363612)
           DX-0134                                   2009-04-17 - Email Alicia Moore to Daniel Carlineo (Techpats) representing
                                                     LGE Re: ESS/IIPH, ltd. Patent Portfolio Proposal (IIPH_SAM00360070 -
                                                     IIPH_SAM00360072)
           DX-0135                                   2009-02-04 - Email Alicia Moore to Bob Blair forwarding email from
                                                     Daeyang Oh (LGE) Re: ESS Patents (IIPH_SAM00363601 -
                                                     IIPH_SAM00363602)
           DX-0136                                   2009-03-18 - Email Alicia Moore to Peter Snow (Iceberg Transactions Ltd.)
                                                     Re: ESS Technology Patent Portfolio with attached document entitled "Issued
                                                     Patents List" (IIPH_SAM00363920 - IIPH_SAM00363925)
           DX-0137                                   2015-06-03 - Subpoena to Testify for Joshua Pine

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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0138                                   2015-07-15 - Letter Bill Sigler to Joshua Pine regarding consulting services
                                                     (PINE_SAM000001 - PINE_SAM000002)
           DX-0139                                   2015-03-12 - Imperium IP Holdings (Cayman), Ltd.'s Disclosures
           DX-0140                                   2015-07-13 - LinkedIn profile for Josh Pine
           DX-0141                                   2001-08-07 - Chung U.S. Patent No. 6,271,884 entitled "Image Flicker
                                                     reduction With Fluorescent Lighting"
           DX-0142                                   2006-08-15 - Medwick U.S. Patent No. 7,092,029 entitled "Strobe Lighting
                                                     System for Digital Images"
           DX-0143                                   2004-12-28 - Chung U.S. Patent No. 6,836,290 entitled "Combined Single-
                                                     Ended and Differential Interface"
           DX-0144                                   1999-02-11 - Document entitled "Pixel Processor & Control (PPC) Device
                                                     Specification V0.9" by Joshua Pine (IIPH_SAM00000555 -
                                                     IIPH_SAM00000655)
           DX-0145                                   1999-03-25 - Document entitled "Conexant "What's next in communications
                                                     technologies - Personal Imaging Division USB Phoenix Evaluation Gate
                                                     Review" (IIPH_SAM00001933 - IIPH_SAM00001982)
           DX-0146                                   1999-01-29 - Conexant Datasheet CN1024 Digital CMOS Imager
                                                     (IIPH_SAM00002741 - IIPH_SAM00002752)
           DX-0147                                   1998-06-30 - Conexant Datasheet CN0352p Pixel Processor and Control Chip
                                                     (IIPH_SAM00086833 - IIPH_SAM00086845)
           DX-0148                                   1996-10-09 - Chung Innovation Disclosure form entitled "Image Flicker
                                                     reduction with 50Hz Fluorescent lighting" (IIPH_SAM00002812 -
                                                     IIPH_SAM00002814)
           DX-0149                                   2015-06-17 - Email Chung to Pine regarding Subpoena to Testify
                                                     (PINE_SAM000003 - PINE_SAM000004)
           DX-0150                                   2001-03-21 - Document entitled "Inventor Index" for Joshua I. Pine
                                                     (PINE_SAM000006 - PINE_SAM000008)
           DX-0151                                   Photograph (prototype device)
           DX-0152                                   Photograph (prototype device)
           DX-0153                                   1992- Thesis project entitled "Experiments in the digitization and
                                                     decomposition of the NTSC composite video signal" by Joshua Pine
           DX-0154                                   2015-09-18 - Supplemental Expert Report On Damages by Michele Riley


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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0155                                   2015-09-09 - Expert Report On Damages by Michele Riley
           DX-0156                                   2001-08-07 - Chung U.S. Patent No. 6,271,884 entitled "Image Flicker
                                                     reduction With Fluorescent Lighting"
           DX-0157                                   2004-12-28 - Chung U.S. Patent No. 6,836,290 entitled "Combined Single-
                                                     Ended and Differential Interface"
           DX-0158                                   2015-09-09 - Expert Report of Cameron H.G. Wright Concerning
                                                     Infringement by Samsung
           DX-0159                                   2015-08-26 - Deposition testimony of Joseph Melfi
           DX-0160                                   2007-04-27 - Email Jim Boyd to Greg.franceschi@duffandphelps.com; Steven
                                                     Brown and Wendy Chafer Re: FW: Valuation with attached patent
                                                     spreadsheets (IIPH_SAM00086278 - IIPH_SAM00086292)
           DX-0161                                   2008-07-11 - Patent Assignment Agreement between IP Holdings (Cayman,
                                                     Ltd) and ESS Technology, Inc. (IIPH_SAM00085446 - IIPH_SAM00085468)

           DX-0162                                   2015-03-19 - Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd., Samsung Techwin Co. Ltd. and Samsung Opto-
                                                     Electronics America, Inc. (IIPH_SAM00363086 - IIPH_SAM00363097)
           DX-0163                                   2015-02-02 - Email chain from William H. Mandir to Alan Fisch re: Imperium
                                                     v. Samsung Techwin - Rule 408 Communication (IIPH_SAM00375013 -
                                                     IIPH_SAM00375015)
           DX-0164                                   2009-00-00 - Document entitled "Camera Phone Market Trend"
                                                     (IIPH_SAM00360234 - IIPH_SAM00360236)
           DX-0165                                   2012-07-12 - Email chain from Stuart Kaler to Jun H. Bang re: call from Alan
                                                     Fisch and Imperium (SAM-371_00445117 - SAM-371_00445121)
           DX-0166                                   2011-09-05 - Email chain from Jongsoo Lee to Stuart Kaler Re: Call from
                                                     Alan Fisch and Imperium (SAM-371_00465181 - SAM-371_00465183)
           DX-0167                                   2012-11-15 - Dynamic Vision Sensor Technology License Agreement between
                                                     the University of Zurich and Samsung Electronics Co. Ltd. (SAM-
                                                     371_00439070 - SAM-371_00439085)




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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
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Pltf No.    Def. No             Marked    Admitted                                  Description
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           DX-0168                                   2013-05-09 -Settlement and License Agreement between Imperium IP
                                                     Holdings (Cayman) Ltd., Sony Corporation and Sony Mobile Communications
                                                     (formerly known as Sony Ericsson Mobile Communications)
                                                     (IIPH_SAM00364017 - IIPH_SAM00364037)
           DX-0169                                   07-00-2012 - InfoTrends Report entitled " Primary Research Consumer &
                                                     Professional Imaging - Spotlight on Smartphones - Special Data Analysis of
                                                     InfoTrends' 2012 Mobile Imaging Survey" (SAM-371_00449649 - SAM-
                                                     371_00449691)
           DX-0170                                   01-00-2014 - InfoTrends Report entitled " Primary Research Consumer &
                                                     Professional Imaging - Spotlight on Smartphones - Special Data Analysis of
                                                     InfoTrends' 2013 Mobile Imaging Survey" (SAM-371_00450472 - SAM-
                                                     371_00450518)
           DX-0171                                   2015-08-20 - Deposition testimony of Jose A. Hernandez
           DX-0172                                   2015-08-07 - Deposition testimony of Randall M. Chung
           DX-0173                                   2015-09-28 - Confidential Expert Report of M. Raymond Perryman, PHD
           DX-0174                                   2001-08-07 - Chung U.S. Patent No. 6,271,884 entitled "Image Flicker
                                                     reduction With Fluorescent Lighting"
           DX-0175                                   Subpoena to Testify for Glenn Stark
           DX-0176                                   2002-07-01 - Document entitled "Engineering Status Report"
                                                     (IIPH_SAM00300028 - IIPH_SAM00300029)
           DX-0177                                   2014-00-00 - Document entitled "IDE, Inc. - Our Core Team", Glenn Stark

           DX-0178                                   Assignment for Medwick U.S. Patent 7,092,029
           DX-0179                                   Subpoena to Testify for Dino Trotta
           DX-0180                                   2015-03-12 - Imperium IP Holdings (Cayman), Ltd.'s Disclosures
           DX-0181                                   LinkedIn profile for Dino Trotta
           DX-0182                                   1998-04-17 - Gunawan U.S. Utility Patent Application S.N. 09/062343
                                                     entitled "CMOS Imaging Apparatus" (SAM-371_00100426 - SAM-
                                                     371_00100548)
           DX-0183                                   1999-04-29 - Chung U.S. Patent File History for 6,836,290 entitled
                                                     "Combined single-ended and differential signaling interface" (SAM-
                                                     371_00100124 - SAM-371_00100425)


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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0184                                   1999-07-27 - Roe U.S. Patent 5,929,655 entitled "Dual-Purpose I/O Circuit In
                                                     A Combined Link/PHY Integrated Circuit" (Adaptec) (SAM-371_00100549 -
                                                     SAM-371_00100561)
           DX-0185                                   1999-01-05 - Document entitled "Conexant CN1024 Digital CMOS Imager
                                                     Datasheet" (IIPH_SAM00002753 - IIPH_SAM00002763)
           DX-0186                                   2015-07-22 - Letter Bill Sigler to Dino Trotta regarding consulting services
                                                     (TROTTA_SAM000001 - TROTTA_SAM000002)
           DX-0187                                   2015-09-08 - Cameron H.G. Wright Curriculum Vitae
           DX-0188                                   2015-05-04 - Imperium's Opening Claim Construction Brief
           DX-0189                                   1992 - Excerpt from The New IEEE Standard Dictionary of Electrical and
                                                     Electronics Terms Fifth Edition re: image processing (page 618) (SAM-
                                                     371_00069405 - SAM-371_00069411)
           DX-0190                                   2008 - Excerpt from book "On-Chip Communication Architectures - System
                                                     On Chip Interconnect by Sudeep Pasricha and Nikil Dutt - Chapter 2 page 18
                                                     Section 2.1 Terminology re: interface
           DX-0191                                   2015-09-28 - Expert Report of Cameron H.G. Wright Concerning Invalidity

           DX-0192                                   2004-12-28 - Chung U.S. Patent No. 6,836,290 entitled "Combined Single-
                                                     Ended and Differential Interface"
           DX-0193                                   2015-09-09 - Expert Report of Cameron H.G. Wright Concerning
                                                     Infringement by Samsung (Annotated with Numbered Paragraphs)
           DX-0194                                   2015-07-28 - Deposition testimony of Dino D. Trotta
           DX-0195                                   2015-09-24 - First Supplemental Expert Report of Cameron H.G. Wright
                                                     Concerning Infringement by Samsung
           DX-0196                                   2015-10-13 - Second Supplemental Expert Report of Cameron H.G. Wright
                                                     Concerning Infringement by Samsung
           DX-0197                                   1999-07-27 - Roe U.S. Patent 5,929,655 entitled "Dual-Purpose I/O Circuit In
                                                     A Combined Link/PHY Integrated Circuit" (Adaptec)
           DX-0198                                   1997-01-10 - Japanese Patent Application Pub. No. H9-6592 entitled
                                                     “Semiconductor Integrated Circuit” (Seki -Toshiba) with certified translation
                                                     (SAM-371_00097888 - SAM-371_00097944)



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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0199                                   2015-09-09 - Chart attached to Expert Report of Cameron H.G. Wright
                                                     Concerning Infringement by Samsung entitled " Exhibit 3.11a Infringement of
                                                     U.S. Patent No. 6,836,290 By Samsung Galaxy S2"
           DX-0200                                   2015-07-20 - Attachment A to Samsung's July 20, 2015 Supplemental
                                                     Responses and Objections to Imperium's First Set of Interrogatories (Numbers
                                                     1-11)
           DX-0201                                   2015-09-09 - Chart attached to Expert Report of Cameron H.G. Wright
                                                     Concerning Infringement by Samsung entitled " Exhibit 5.4a Infringement of
                                                     U.S. Patent No. 6,836,290 By Samsung Galaxy Note 2"
           DX-0202                                   1999-04-30 - Japanese Patent Application Pub. No. H11-119288 entitled
                                                     “Strobe Device” (Shimada - Olympus) with certified translation (SAM-
                                                     371_00101100 - SAM-371_00101127)
           DX-0203                                   2001-02-27 - Sugimoto U.S. Patent 6,195,127 entitled "Digital Camera,
                                                     Having A Flash Unit, Which Determines Proper Flash Duration Through an
                                                     Assessment of Image Luminance And, Where Needed, a Preliminary Flash
                                                     Emission" " (Sanyo) (SAM-371_00065577 - SAM-371_0065598)
           DX-0204                                   2008-08-21 - Samsung document entitled " Flash" (SAM-371_00163106 -
                                                     SAM-371_00163123)
           DX-0205                                   2012-04-05 - CNET article entitled "How much is that patent lawsuit going to
                                                     cost you" by Jim Kerstetter
           DX-0206                                   2011-01-00 - Letter Steve Auvil (American Intellectual Property Law
                                                     Association -AIPLA) to AIPLA Member Re: Economic Survey
           DX-0207                                   2014-03-12 - Samsung document entitled "Technical Report 1.2 Anti-Flicker
                                                     Solution Test" (native) (SAM-371_00141811 - SAM-371_00141811)

           DX-0208                                   2012-04-17 - Samsung document entitled "Technical Report 1.2 Anti-Flicker
                                                     Solution Test" (native) (SAM-371_00148042 - SAM-371-00148042)

           DX-0209                                   2010-09-08 - Samsung document entitled " ISP_PREP_TOP_TEST LIST"
                                                     (native) (SAM-371_00193840 - SAM_371_00193840)




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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                  Description
                      Offered
           DX-0210                                   2014-07-29 - Samsung document entitled "Technical Report 1.2 Anti-Flicker
                                                     Solution Test" (native) (SAM-371_00141671 - SAM_371_00141671)

           DX-0211                                   2011-10-21 - Samsung Excel spreadsheet entitled "Project Name: ISP01"
                                                     (native) (SAM-371_00195611 - SAM-371_00195611)
           DX-0212                                   2015-10-23 - Graph illustrating how a particular camera works
           DX-0213                                   2015-09-09 - Chart attached to Expert Report of Cameron H.G. Wright
                                                     Concerning Infringement by Samsung entitled " Exhibit 4.2a Infringement of
                                                     U.S. Patent No. 6,271,884 By Samsung Galaxy Conquer 4G"
           DX-0214                                   2003-05-20 - Hashimoto U.S. Patent 6,567,123 entitled "Electronic Camera"
                                                     (Olympus) (SAM-371_00097773 - SAM-371_00097796)
           DX-0215                                   2012-02-00 - Article entitled "Motion Detection: A Biomimetic Vision Sensor
                                                     Versus CCD Camera Sensor" by Roopa S. Prabhakara, Cameron H.G. Wright
                                                     and Steven F. Barrett - (IEEE Sensors Journal, Vol. 12, No. 2; pp. 298-307)

           DX-0216                                   2015-09-09 - Chart attached to Expert Report of Cameron H.G. Wright
                                                     Concerning Infringement by Samsung entitled " Exhibit 4.25a Infringement of
                                                     U.S. Patent No. 6,271,884 By Samsung ATIV Book 9"
           DX-0217                                   1999-10-12 - Inuiya U.S. Patent 5,966,173 entitled "Video Camera, Printer
                                                     Apparatus and Method of Controlling Same, and Apparatus and Method for
                                                     Detecting Print Inhibit Signal" (Fuji) (SAM-371_00096402 - SAM-
                                                     371_00096441)
           DX-0218                                   2015-09-09 - Chart attached to Expert Report of Cameron H.G. Wright
                                                     Concerning Infringement by Samsung entitled " Exhibit 4.11b Infringement of
                                                     U.S. Patent No. 6,271,884 By Samsung Galaxy SII EPIC 4G Touch"
           DX-0219                                   2002-07-01 - Intellectual Property Agreement by and between Conexant
                                                     Systems, Inc. and Pictos Technologies, Inc. (IIPH_SAM00015116 -
                                                     IIPH_SAM00015154)
           DX-0220                                   2007-10-10 - Technology Agreement between ESS Technology, Inc., Pictos
                                                     Technologies, Inc., Divio, Inc. and Chronicle Imaging, Inc.
                                                     (IIPH_SAM00016758 - IIPH_SAM00016783)



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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0221                                   2003-12-27 - License Agreement between Pictos Technologies, Inc. and ESS
                                                     Technology International (IIPH_SAM00084422 - IIPH_SAM00084431)

           DX-0222                                   1997-06-05 - Article entitled "AN ELECTRONIC VARIABLE-SHUTTER
                                                     SYSTEM IN VIDEO CAMERA USE" by Kinugasa (Hitachi)
                                                     (IIPH_SAM00096033 - IIPH_SAM00097946)
           DX-0223                                   Exhibit Number Not Used
           DX-0224                                   2009-01-29 Email Phil Stern (Yet2.com) to Alicia Moore re Bid for ESS
                                                     patent portfolio with attached documents entitled ESS Offer Letter 2009 01
                                                     29.doc; Proposed PPA ESS Technology.doc (IIPH_SAM00359765 -
                                                     IIPH_SAM00359765)
           DX-0225                                   2009-02-26 - Intellectual Ventures document entitled "The Development of
                                                     the Global Patent Market - LES Winter Meeting " by Don Merino
                                                     (IIPH_SAM00359796 - IIPH_SAM00359813)
           DX-0226                                   08-00-2008 - Pachira document entitled
                                                     "ESS Technologies Patent Licensing Program
                                                     Steven Adam/ Chuck Donohoe August 2008" (IIPH_SAM00359821 -
                                                     IIPH_SAM00359857)
           DX-0227                                   2010-02-17 - Email Steven Adams (Pachira IP, Inc.) to Alicia Moore re: Final
                                                     Proposal (IIPH_SAM00359858 - IIPH_SAM00359859)
           DX-0228                                   2009-10-20 - Email from David Shoneman (Thomson Licensing LLC) re:
                                                     Tried to reach you regarding the attached revised proposal
                                                     (IIPH_SAM00359921 - IIPH_SAM00359921)
           DX-0229                                   2009-04-07 - Email Alicia Moore to Oh (LGE) re: ESS/IIPH, Ltd. Patent
                                                     Portfolio Proposal (IIPH_SAM00359977 - IIPH_SAM00359979)
           DX-0230                                   2009-07-08 - Email Alicia Moore to Daniel Carlineo (TechPats) Park (Wiav
                                                     Solutions) and Bob Blair re: IIPHL Patent Portfolio (IIPH_SAM00360097 -
                                                     IIPH_SAM00360099)
           DX-0231                                   2009-09-16 - Email Alicia Moore to David Shoneman (Thomson Licensing
                                                     LLC) re: Shoneman Concept Analysis 9-14-09 (IIPH_SAM00360278 -
                                                     IIPH_SAM00360278)



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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
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Pltf No.    Def. No             Marked    Admitted                                  Description
                      Offered
           DX-0232                                   2009-10-10 - Email Alicia Moore to Bob Blair re: Update on Thomson
                                                     discussions: request; Shoneman Concept 2--per unit price
                                                     (IIPH_SAM00360295 - IIPH_SAM00360296)
           DX-0233                                   2005-09-09 - Joe Melfi’s MIPI Membership Info (MELFI_SAM0034428 -
                                                     MELFI_SAM0034430)
           DX-0234                                   2015-09-09 - Opening Expert Report of R. Jacob Baker PH.D, P.E.
                                                     (Invalidity)
           DX-0235                                   Curriculum Vitae (Appendix A to Baker Expert Report on Invalidity)
           DX-0236                                   Appendix B1 290 Invalidity Chart for Expert Report - JP09-006592 (Toshiba)

           DX-0237                                   Appendix B2 290 Invalidity Chart for Expert Report - US5929655 (Roe)
           DX-0238                                   Appendix B3 290 Invalidity Chart for Expert Report - Motorola
           DX-0239                                   Appendix B4 290 Invalidity Chart for Expert Report - US6452632 (Umeda)
                                                     and JP09-006592 (Toshiba)
           DX-0240                                   Appendix B5 290 Invalidity Chart for Expert Report - US6452632 (Umeda)
                                                     and US5929655 (Roe)
           DX-0241                                   Appendix B6 290 Invalidity Chart for Expert Report - US6452632 (Umeda)
                                                     and Motorola
           DX-0242                                   Appendix B7 290 Invalidity Chart for Expert Report - US6115482 (Sears) and
                                                     JP09-006592 (Toshiba)
           DX-0243                                   Appendix B8 290 Invalidity Chart for Expert Report - US6115482 (Sears) and
                                                     US5929655 (Roe)
           DX-0244                                   Appendix B9 290 Invalidity Chart for Expert Report - US6115482 (Sears) and
                                                     Motorola
           DX-0245                                   Materials Considered List (Appendix C to Baker Expert Report on Invalidity)

           DX-0246                                   Exhibit Number Not Used
           DX-0247                                   Exhibit Number Not Used
           DX-0248                                   Samsung document entitled " D-PHY" IDC Systems LSI Business (SAM-
                                                     371_00000125 - SAM-371_00000125)
           DX-0249                                   2012-01-05 - MIPI Alliance Specification for D-PHY (Version 1.1 - 7
                                                     November 2011) (SAM-371_00000189 - SAM-371_00000309)


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Pltf No.    Def. No             Marked    Admitted                                Description
                      Offered
           DX-0250                                   Exhibit Number Not Used
           DX-0251                                   2010-12-03 - Samsung 4ECGX EVT1.1 S/W Release Note
                                                     Version 0.3 (SAM-371_00000680 - SAM-371_00000792)
           DX-0252                                   2013-06-10 - Samsung Data Sheet S5K3H5YXA (EVT1.2) 1/3.2" 8M CMOS
                                                     Image Sensor (Revision 0.26) (SAM-371_00002877 - SAM-371_00002970)

           DX-0253                                   2014-01-27 - Samsung Data Sheet S5K4ECGX 1/4" 5Mp CMOS Image
                                                     Sensor SoC with an Embedded Image Signal Processor (Revision 0.15)
                                                     (SAM-371_00003067 - SAM-371_00003215)
           DX-0254                                   2011-03-07 - Samsung Technical Data Sheet S5K5BAFX 1/5" 2Mp CMOS
                                                     Image Sensor SoC with an Embedded Image Processor (EVT2, R10) (SAM-
                                                     371_00003216 - SAM-371_00003290)
           DX-0255                                   2011-01-11 - Samsung Data Sheet S5K5BBGX EVT1 1/5" 2Mp CMOS
                                                     Image Sensor SOC (Revision 0.35) (SAM-371_00003291 - SAM-
                                                     371_00003404)
           DX-0256                                   2013-01-25 - Samsung Data Sheet S5K6A3YX 1/6" 1.9M CMOS Image
                                                     Sensor (Revision 1.02) (SAM-371_00003630 - SAM-371_00003694)
           DX-0257                                   2011-05-11 - Samsung Data Sheet S5K6AAFX 1/6" 1.3Mp CMOS Image
                                                     Sensor SoC with an Embedded Image Sensor (Revision 1.02) (SAM-
                                                     371_00003695 - SAM-371_00003772)
           DX-0258                                   2013-06-03 - Samsung Data Sheet S5K6B2YX 1/6" 2M CMOS Image Sensor
                                                     (Revision 1.00) (SAM-371_00003773 - SAM-371_00003843)
           DX-0259                                   2014-07-22 - Samsung Data Sheet S5K6D1YX (VS) 1/5.4" 3.7M CMOS
                                                     Image Sensor (Revision 1.00) (SAM-371_00003844 - SAM-371_00003914)

           DX-0260                                   2014-02-25 - Samsung Data Sheet S5K8B1YX (VS) 1/7.3" 2M CMOS Image
                                                     Sensor (Revision 1.10) (SAM-371_00004286 - SAM-371_00004356)

           DX-0261                                   2007-07-31 - Samsung Data Sheet S5K4AAFA
                                                     1/4" SXGA CMOS Image Sensor with an Embedded
                                                     Image Signal Processor (Revision 1.00) (SAM-371_00004558 - SAM-
                                                     371_00004646)


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Pltf No.    Def. No             Marked    Admitted                                Description
                      Offered
           DX-0262                                   2008-08-12 - Samsung Data Sheet S5KA3DFX 1/10" VGA CMOS Image
                                                     Sensor with Embedded Image Signal Processor EVT4 Preliminary Data Sheet
                                                     (Rev. 07) (SAM-371_00004819 - SAM-371_00004888)
           DX-0263                                   2011-11-18 - Samsung Data Sheet S5C73M3 (CML0801) 8Mp Image
                                                     Processor (Revision 0.91) (SAM-371_00004889 - SAM-371_00005173)
           DX-0264                                   2014-02-05 - Samsung Data Sheet S5K2P2XX 1/2.6" 16M CMOS Image
                                                     Sensor Supporting WDR, PD-AF & 60 fps FHD (Revision 2.01) (SAM-
                                                     371_00005453 - SAM-371_00005524)
           DX-0265                                   2012-06-26 - Samsung Data Sheet S5K3H2YX 1/3.2" CMOS Image Sensor
                                                     (Revision 0.11) (SAM-371_00005525 - SAM-371_00005525)
           DX-0266                                   Exhibit Number Not Used
           DX-0267                                   Exhibit Number Not Used
           DX-0268                                   Exhibit Number Not Used
           DX-0269                                   2011-03-17 - Samsung document entitled "FLASH aE" (SAM-371_00005756 -
                                                     SAM-371_00005768)
           DX-0270                                   Fujitsu document entitled "<One Shot AE> (Host Flash) (SAM-
                                                     371_00005790 - SAM-371_00005794)
           DX-0271                                   Exhibit Number Not Used
           DX-0272                                   2011-01-28 - Samsung Data Sheet S5K5CCG (EVT1) 1/5" 3Mp CMOS
                                                     Image Sensor SOC (Revision 1.05) (SAM-371_00006007 - SAM-
                                                     371_00006131)
           DX-0273                                   2015-05-06 - Samsung Data Sheet S5K4AAFA 1/4" SXGA CMOS Image
                                                     Sensor with an Embedded
                                                     Image Signal Processor (Revision 1.00) (SAM-371_00006574 - SAM-
                                                     371_00006662)
           DX-0274                                   2012-11-13 - Samsung Data Sheet S5K2P1YX63 1/2. 33" 16M CMOS Image
                                                     Sensor for Serial
                                                     (Sub Lvds/Mipi) Interface (Revision 3.08) (SAM-371_00006805 - SAM-
                                                     371_00006950)
           DX-0275                                   2014-12-22 - Samsung document entitled "Flash Algorithm" (SAM-
                                                     371_00006951 - SAM-371_00006983)



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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                 Description
                      Offered
           DX-0276                                   2010-02-03 - Samsung document entitled "Flicker Detection Algorithm Ver
                                                     1.1 SS-1 DSC Team" (SAM-371_00006994 - SAM-371_00007003)
           DX-0277                                   Samsung document entitled "Flicker" (SAM-371_00007004 - SAM-
                                                     371_00007034)
           DX-0278                                   Samsung document entitled "50hz 1/100 60hz 1/120 " (SAM-371_00007097 -
                                                     SAM-371_00007099)
           DX-0279                                   2012-03-05 - Samsung document entitled "Manual ISO/Flicker Report" (SAM-
                                                     371_00007146 - SAM-371_00007150)
           DX-0280                                   2012-06-15 - Samsung document entitled "Flicker Description" (SAM-
                                                     371_00007153 - SAM-371_00007162)
           DX-0281                                   Samsung Document entitled " 8. Level 3 Repair 8-1. Block Diagram SM-
                                                     G850A" (SAM-371_00008031 - SAM-371_00008171)
           DX-0282                                   Samsung document entitled "2. Specification 2.1 GSM General Specification"
                                                     (SAM-371_00008627 - SAM-371_00008636)
           DX-0283                                   Samsung Document entitled " 8. Level 3 Repair 8-1. Block Diagram" GT-
                                                     i9100 (SAM-371_00009513 - SAM-371_00009606)
           DX-0284                                    Samsung Document entitled " 8. Level 3 Repair 8-1. Block Diagram"
                                                     MSM8230 (Qualcomm) (SAM-371_00009634 - SAM-371_00009634)
           DX-0285                                   Samsung Document entitled " 8. Level 3 Repair 8-1. Block Diagram" (SAM-
                                                     371_00009821 - SAM-371_00009917)
           DX-0286                                   Samsung Document entitled " 8. Level 3 Repair 8-1. Block Diagram" EK-
                                                     GC100 (SAM-371_00010447 - SAM-371_00010459)
           DX-0287                                   2013 - Samsung Service Manual for NX2000 Digital Camera (SAM-
                                                     371_00013415 - SAM-371_00013503)
           DX-0288                                   Samsung document entitled "I - SPECIFICATION 1. Camera Specification
                                                     Image Sensor - Type: 1/2.5" CCD" (SAM-371_00020116 - SAM-
                                                     371_00020126)
           DX-0289                                   2013 - Samsung Service Manual for NX2000 Digital Camera (SAM-
                                                     371_00027867 - SAM-371_00028069)
           DX-0290                                   2012-12-00 - Samsung User Manual for GT-N7100 (Rev. 1.0) (SAM-
                                                     371_00044608 - SAM-371_00044743)



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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                 Description
                      Offered
           DX-0291                                   Samsung User Manual for NX2000 Camera (SAM-371_00052965 - SAM-
                                                     371_00053167)
           DX-0292                                   Samsung User Manual for S860/S760 Camera (SAM-371_00054754 - SAM-
                                                     371_00054847)
           DX-0293                                   1999 -Canon Flash Work brochure for Ex Series cameras (SAM-
                                                     371_00063139 - SAM-371_00063190)
           DX-0294                                   1995 - Canon Service Manual Speedlite 380EX C50-0721 (SAM-
                                                     371_00063191 - SAM-371-00063284)
           DX-0295                                   1998 - Canon Speedlite 550EX Instruction Booklet (SAM-371_00064148 -
                                                     SAM-371-00064275)
           DX-0296                                   1995 - Canon Speedlite 380EX Instruction Booklet (SAM-371_00064276 -
                                                     SAM-371-00064300)
           DX-0297                                   1998 - Canon EOS-3 Technical Overview (SAM-371_00064449 - SAM-
                                                     371_00064494)
           DX-0298                                   1999 - Minolta Dynax 9/Maxxum 9 Instruction Manual (SAM-371_00102003 -
                                                     SAM-371_00102061)
           DX-0299                                   Nikon Manual "Getting to Know the D1: parts of the D1" camera (SAM-
                                                     371_00064869 - SAM-371_00065012)
           DX-0300                                   Nikon Autofocus Speedlight SB-25 Instruction Manual (SAM-371_00065042 -
                                                     SAM-371-00065114)
           DX-0301                                   Nikon N90 AF Instruction Manual (SAM-371_00102072 - SAM-
                                                     371_00102219)
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Pltf No.    Def. No             Marked    Admitted                                    Description
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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
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                                                     Attorneys for Petitioner - - TECHNICAL SIGNAL SPECIFICATIONS
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Pltf No.    Def. No             Marked    Admitted                                  Description
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           DX-0422                                   2015-05-20 - Declaration of R. Jacob Baker in Support of Samsung Petition
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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
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           DX-0443                                   2015-04-28 - Samsung Power of Attorney for Samsung Electronics Co. Ltd.
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                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
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Pltf No.    Def. No             Marked    Admitted                                   Description
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Pltf No.    Def. No             Marked    Admitted                                  Description
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                                                     for MSM8994/APQ8084/MSM8974/APQ8074/MSM8x26 Linux Camera
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                                                     371_00142012 - SAM-371_00142020)
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                                                     80-VJ186-1 B (SAM-371_00146435 - SAM-371_00146485)
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                                                     (SAM-371_00188715 - SAM-371_00188764)
           DX-0481                                   2010-09-08 - Samsung Excel spreadsheet entitled "ISP_PREP_TOP Code
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           DX-0483                                   2011-10-21 - Samsung Excel spreadsheet entitled "ISP01 Test List RTL
                                                     update Final RTL" (native) (SAM-371_00195591 - SAM-371_00195591)

           DX-0484                                   2010-12-14 - Samsung Excel spreadsheet entitled "ISP_PREP_TOP History
                                                     MPW Version" (native) (SAM-371_00195592 - SAM-371_00195592)

           DX-0485                                   2011-04-01 - Samsung Excel spreadsheet entitled "Project Name: ISP01
                                                     SSDM Camera Module Lab" (native) (SAM-371_00195609 - SAM-
                                                     371_00195609)
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                                                     - Ver. 4.0" (SAM-371_00199979 - SAM-371_00199999)
           DX-0491                                   2008-03-17 - Samsung Techwin document entitled "STW Strobe Algorithm"
                                                     Version 1.0 (SAM-371_00200100 - SAM-371_00200117)
           DX-0492                                   2012-11-12 - Realtek Datasheet "RTS5838
                                                     (Part Number: RTS5838-GR) USB2.0 PC CAMERA CONTROLLER WITH
                                                     IMAGE SIGNAL PROCESSING AND
                                                     MJPEG ENCODER" (SAM-371_00251181 - SAM-371_00251206)
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                                                     (SAM-371_00281564 - SAM-371_00281832)



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           DX-0495                                   2009-02-00 - Analog Tech Product Datasheet "AAT1271A SwitchReg 1.5A
                                                     Step-Up Current Regulator for Flash LEDs" (SAM-371_00298373 - SAM-
                                                     371_00298391)
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                                                     (Revision 1.0) (SAM-371_00432040 - SAM-371_00432157)
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                                                     (Revision 0.08)" (SAM-371_00432423 - SAM-371_00432508)
           DX-0498                                   2007-07-24 - Samsung Application Note "S5KA3DFX (EVT1)
                                                     1/10" VGA CMOS Image Sensor Embedded with Image Signal Processor
                                                     (Version 1.0)" (SAM-371_00432509 - SAM-371_00432578)
           DX-0499                                   2010-07-30 - Samsung Release Note "SBBGX EVT1 S/W Version 0.6" (SAM-
                                                     371_00432579 - SAM-371_00432664)
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                                                     (SAM-371_00432665 - SAM-371_00432764)
           DX-0501                                   2006-02-14 - Samsung Application Note "S5K4AAFA (EVT2)
                                                     1/4" SXGA CMOS Image Sensor Embedded with
                                                     Image Signal Processor (Version 0.8)" (SAM-371_00432973 - SAM-
                                                     371_00433061)
           DX-0502                                   2008-06-09 - Samsung Application Note "S5K5AAFA
                                                     (EVT2) (Version 0.01)" (SAM-371_00433274 - SAM-371_00433354)
           DX-0503                                   2009-06-26 - Samsung Application Note "SSKSBAF 1/5" 2Mp CMOS Image
                                                     Sensor SoC with an Embedded Image Processor (Revision 0.03)" (SAM-
                                                     371_00433355 - SAM-371_00433458)
           DX-0504                                   2010-09-06 - Samsung Application Note "55K6AAFX (EVT3 (Revision 6)"
                                                     (SAM-371_00433459 - SAM-371_00433519)




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                                                     371_00433705 - SAM-371_00433838)
           DX-0506                                   2009-11-11 - Samsung Preliminary Specification "SR130PC10 Version 1.0.0
                                                     1.3Mega(1/6") CMOS Image Sensor with Image Signal Processor' (SAM-
                                                     371_00434614 - SAM-371_00434702)
           DX-0507                                   2014-01-03 - Realtek Datasheet "RTS5840 (Part Number: RTS5840-GR)
                                                     USB2.0 PC CAMERA CONTROLLER WITH IMAGE SIGNAL
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                                                     (Part Number: RTS5821-GR) USB2.0 PC CAMERA CONTROLLER WITH
                                                     IMAGE SIGNAL PROCESSING AND MJPEG ENCODER (Revision 0.10)"
                                                     (SAM-371_00437292 - SAM-371_00437320)
           DX-0509                                   2013-03-27 - Realtek Datasheet RTS5832 (Part Number: RTS5832-GR)
                                                     USB2.0 PC CAMERA CONTROLLER WITH IMAGE SIGNAL
                                                     PROCESSING AND MJPEG ENCODER (Rev.1.10) (SAM-371_00437321 -
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                                                     Controller (Version 1.1) (SAM-371_00437347 - SAM-371_00437366)

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                                                     SN9C270A Preliminary Document No.: SA3TD- 20120104-A Version:
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           DX-0513                                   2010-01-19 - OmniVision Data Sheet Preliminary Specification OV9726
                                                     1/6.5 720p HDTV color CMOS sensor with OmniBSI technology (Version
                                                     1.1) (SAM-371_00437651 - SAM_371_00437762)
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                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
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Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0515                                   2015-06-17 - Samsung Application Note S5K4E6XX13 1/4.1" 5M CMOS
                                                     Image Sensor (Revision 0.03) (SAM-371_00442388 - SAM-371_00442435)

           DX-0516                                   2013-10-29 - Samsung Data Sheet S5K2P1YX45 1/2. 33" 16M CMOS Image
                                                     Sensor for Serial
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                                                     371_00442581)
           DX-0517                                   2011-05-04 - Email chain Stuart Kaler to Jun Bang re: Contact Information
                                                     (SAM-371_00445037 - SAM-371_00445039)
           DX-0518                                   2011-05-05 - Email chain Stuart Kaler to Jun Bang re: contact information
                                                     (SAM-371_00445040 - SAM-371_00445042)
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                                                     (SAM-371_00445043 - SAM-371_00445046)
           DX-0520                                   2011-05-07 - Email chain Stuart Kaler to Jun Bang re: contact information
                                                     (SAM-371_00445047 - SAM-371_00445050)
           DX-0521                                   2011-05-10 - Email chain Jun Bang to Stuart Kaler re: Initial Discussion with
                                                     Alan Fisch (SAM-371_00445051 - SAM-371_00445056)
           DX-0522                                   2011-05-10 - Email chain Jun Bang to Stuart Kaler re: Initial Discussion with
                                                     Alan Fisch (SAM-371_00445057 - SAM-371_00445061)
           DX-0523                                   2011-05-27 - Email Stuart Kaler to Hun Bang and Jongsoo Lee re: Imperium
                                                     Holdings Offer (SAM-371_00445062 - SAM-371_00445063)
           DX-0524                                   2011-06-01 - Email Stuart Kaler to Jun Bang and Jongsoo Lee Re: Update --
                                                     Imperium Holdings Offer-- 05-31-11 (SAM-371_00445064 - SAM-
                                                     371_00445066)
           DX-0525                                   2011-06-11 - Email chain Stuart Kaler to Jun Bang and Jongsoo Lee re:
                                                     UPDATE-- Imperium Holdings Offer -- 06-02-11 (SAM-371_00445067 -
                                                     SAM-371_00445069)
           DX-0526                                   2011-06-21 - Email chain Stuart Kaler to Jun Bang and Jongsoo Lee re:
                                                     UPDATE -- Imperium Holdings Offer -- 06-13-11 (SAM-371_00445070 -
                                                     SAM-371_00445074)




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                                    EXHIBIT AND WITNESS LIST – CONTINUATION                                  Case No.
                                               Imperium v. Samsung                               4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
           DX-0527                                   2011-07-01 - Email Stuart Kaler to Jun Bang and Jongsoo Lee re: UPDATE --
                                                     Imperium Holdings (SAM-371_00445075 - SAM-371_00445075)

           DX-0528                                   2011-07-08 - Email chain Stuart Kaler to Jun Bang and Jongsoo Lee re:
                                                     UPDATE -- Imperium Holdings (SAM-371_00445076 - SAM-
                                                     371_00445077)
           DX-0529                                   2011-07-21 - Email Stuart Kaler to Jun Bang and Jongsoo lee re: Apple
                                                     Answer to Complaint -- 07-18-11 (SAM-371_00445078 - SAM-
                                                     371_00445078)
           DX-0530                                   2011-07-26 - Email chain Stuart Kaler to Jun Bang and Jungsoo Lee re:
                                                     Imperium (SAM-371_00445091 - SAM-371_00445092)
           DX-0531                                   2011-08-24 - Email chain Stuart Kaler to Jongsoo Lee re: Regarding the
                                                     Invoice (SAM-371_00445093 - SAM-371_00445097)
           DX-0532                                   2011-08-26 - Email chain Stuart Kaler to Jung Bang and Jongsoo Lee re: Call
                                                     from Alan Fisch (SAM-371_00445098 - SAM-371_00445099)
           DX-0533                                   2011-07-06 - Email chain Stuart Kaler to Jun Bang re: Call from Alan Fisch
                                                     and Imperium (SAM-371_00445100 - SAM-371_00445103)
           DX-0534                                   2012-07-09 - Email chain Stuart Kaler to Jun Bang re: Call from Alan Fisch
                                                     and Imperium (SAM-371_00445104 - SAM-371_00445107)
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                                                     and Imperium (SAM-371_00445108 - SAM-371_00445111)
           DX-0536                                   2012-07-12 - Email chain Stuart Kaler to Jun Bang re: Call from Alan Fisch
                                                     and Imperium (SAM-371_00445112 - SAM-371_00445116)
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                                                     and Imperium (SAM-371_00445122 - SAM-371_00445122)
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                                                     and Imperium (SAM-371_00445125 - SAM-371_00445125)
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                                                     Illumination” (Iwamatsu - Fuji) with certified translation (SAM-
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Pltf No.    Def. No             Marked    Admitted                                   Description
                      Offered
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                                                     Sensor (Revision 0.03) (SAM-371_00508953 - SAM-371_00509048)

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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked   Admitted                                   Description
                      Offered
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           DX-0558                                  http://mipi.org/content/mipi%c2%ae‐alliance‐formstest‐working‐group‐
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           DX-0559                                  http://mipi.org/about-mipi/frequently-asked-questions (SAM-371_00513916 -
                                                    SAM-371_00513937)
           DX-0560                                  mipi.org join-mipi membership-model (SAM-371_00513938 - SAM-
                                                    371_00513940)
           DX-0561                                  mipi.org specifications camera-interface (SAM-371_00513941 - SAM-
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                                                    371_00513949)
           DX-0563
                                                    http://mipi.org/specifications (SAM‐371_00513950 ‐ SAM‐371_00513952)
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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked   Admitted                                   Description
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                                                    Survives Its Critics” CQ Almanac (SAM-371_00513976 - SAM-
                                                    371_00513981)
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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
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Pltf No.    Def. No             Marked   Admitted                                   Description
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           DX-0582                                  1997-10-28 - Mizukoshi U. S. Patent 5,682,562 entitled "Digitally Controlled
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Pltf No.    Def. No             Marked   Admitted                                 Description
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                                                    371_00099871)
           DX-0585*                                 Samsung Source Code (SAM-371-SC_00182 - SAM-371-SC_00193)
           DX-0586*                                 Samsung Source Code (SAM-371-SC_00211 - SAM-371-SC_00219)
           DX-0587*                                 Samsung Source Code (SAM-371-SC_00220 - SAM-371-SC_00235)
           DX-0588*                                 Samsung Source Code (SAM-371-SC_00236 - SAM-371-SC_00244)
           DX-0589*                                 Samsung Source Code (SAM-371-SC_00266 - SAM-371-SC_000277)
           DX-0590*                                 Samsung Source Code (SAM-371-SC_00342 - SAM-371-SC_00354)
           DX-0591*                                 Samsung Source Code (SAM-371-SC_00365 - SAM-371-SC_00372)
           DX-0592*                                 Samsung Source Code (SAM-371-SC_00387 - SAM-371-SC_00399)
           DX-0593*                                 Samsung Source Code (SAM-371-SC_00416 - SAM-371-SC_00423)
           DX-0594*                                 Samsung Source Code (SAM-371-SC_00424 - SAM-371-SC_00435)
           DX-0595*                                 Samsung Source Code (SAM-371-SC_00457 - SAM-371-SC_00465)
           DX-0596*                                 Samsung Source Code (SAM-371-SC_00467 - SAM-371-SC_00480)
           DX-0597*                                 Samsung Source Code (SAM-371-SC_00481 - SAM-371-SC_00488)
           DX-0598*                                 Samsung Source Code (SAM-371-SC_00489 - SAM-371-SC_00500)
           DX-0599*                                 Samsung Source Code (SAM-371-SC_00529 - SAM-371-SC_00536)
           DX-0600*                                 Samsung Source Code (SAM-371-SC_00537 - SAM-371-SC_00548)
           DX-0601*                                 Samsung Source Code (SAM-371-SC_00577 - SAM-371-SC_00592)
           DX-0602*                                 Samsung Source Code (SAM-371-SC_00593 - SAM-371-SC_00608)
           DX-0603*                                 Samsung Source Code (SAM-371-SC_00609 - SAM-371-SC_00624)
           DX-0604*                                 Samsung Source Code (SAM-371-SC_00625 - SAM-371-SC_00636)
           DX-0605*                                 Samsung Source Code (SAM-371-SC_00658 - SAM-371-SC_00666)
           DX-0606*                                 Samsung Source Code (SAM-371-SC_00667 - SAM-371-SC_00682)
           DX-0607*                                 Samsung Source Code (SAM-371-SC_00683 - SAM-371-SC_00694)
           DX-0608*                                 Samsung Source Code (SAM-371-SC_00695 - SAM-371-SC_00003)
           DX-0609*                                 Samsung Source Code (SAM-371-SC_00174 - SAM-371-SC_00181)
           DX-0610*                                 Samsung Source Code (SAM-371-SC_01850 - SAM-371-SC_02056)
           DX-0611*                                 Samsung Source Code (SAM-371-SC_02057 - SAM-371-SC_02121)
           DX-0612*                                 Samsung Source Code (SAM-371-SC_02122 - SAM-371-SC_02175)


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                       Date
Pltf No.    Def. No             Marked   Admitted                                  Description
                      Offered
           DX-0613*                                 Samsung Source Code (SAM-371-SC_03115 - SAM-371-SC_03146)
           DX-0614*                                 Samsung Source Code (SAM-371-SC_03147 - SAM-371-SC_03178)
           DX-0615*                                 Samsung Source Code (SAM-371-SC_03179 - SAM-371-SC_03189)
           DX-0616*                                 Samsung Source Code (SAM-371-SC_03190 - SAM-371-SC_03200)
           DX-0617*                                 Samsung Source Code (SAM-371-SC_03225 - SAM-371-SC_03256)
           DX-0618*                                 Samsung Source Code (SAM-371-SC_03274 - SAM-371-SC_03305)
           DX-0619*                                 Samsung Source Code (SAM-371-SC_03350 - SAM-371-SC_03381)
           DX-0620*                                 Samsung Source Code (SAM-371-SC_03201 - SAM-371-SC_03224)
           DX-0621*                                 Samsung Source Code (SAM-371-SC_03732 - SAM-371-SC_03748)
           DX-0622*                                 Samsung Source Code (SAM-371-SC_03749 - SAM-371-SC_03753)
           DX-0623*                                 Samsung Source Code (SAM-371-SC_04366 - SAM-371-SC_04369)
           DX-0624*                                 Samsung Source Code (SAM-371-SC_04370 - SAM-371-SC_04373)
           DX-0625*                                 Samsung Source Code (SAM-371-SC_04374 - SAM-371-SC_04377)
           DX-0626*                                 Samsung Source Code (SAM-371-SC_04378 - SAM-371-SC_04382)
           DX-0627*                                 Samsung Source Code (SAM-371-SC_04383 - SAM-371-SC_04386)
           DX-0628*                                 Samsung Source Code (SAM-371-SC_04387 - SAM-371-SC_04390)
           DX-0629*                                 Samsung Source Code (SAM-371-SC_04391 - SAM-371-SC_04394)
           DX-0630*                                 Samsung Source Code (SAM-371-SC_04399 - SAM-371-SC_04402)
           DX-0631*                                 Samsung Source Code (SAM-371-SC_04403 - SAM-371-SC_04403)
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           DX-0638                                  09/28/2015 - Rebuttal Expert Report of R. Jacob Baker Regarding Non-
                                                    Infringement of U.S. Patent No. 6,836,290
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                      Offered
           DX-0640                                  Materials Considered List (Tab B to Baker Rebuttal Expert Report)
           DX-0641                                  Exhibit Number Not Used
           DX-0642                                  09/28/2015 - Invalidity Expert Report of Dean P. Neikirk, PH.D. Regarding
                                                    U.S. Patent No. 6,271,884
           DX-0643                                  Curriculum Vitae of Dean P. Neikirk, PH.D. (Appendix A to Baker Rebuttal
                                                    Expert Report)
           DX-0644                                  List of Dean P. Neikirk cases with testimony as an expert (at trial or by
                                                    deposition) last five years as of 4/08/2015 - Appendix B to Neikirk Expert
                                                    Report on Invalidity
           DX-0645                                  Declaration of Dean P. Neikirk in Support of Petition For Inter Parties Review
                                                    of U.S. Patent 6,271,884 (Appendix C to Neikirk Expert Report on Invalidity)

           DX-0646                                  Materials Considered List (Appendix D to Neikirk Expert Report on
                                                    Invalidity)
           DX-0647                                  2015-09-09 - Appendix E Chart - ASSERTED CLAIMS 1-5 AND 14 OF U.S.
                                                    PATENT NO. 6,271,884 ARE ANTICIPATED BY U.S. PATENT NO.
                                                    6,567,123 (“HASHIMOTO”);
                                                    ASSERTED CLAIMS 5-6 AND 17-19 OF U.S. PATENT NO. 6,271,884
                                                    ARE OBVIOUS IN VIEW OF HASHIMOTO OVER CERTAIN IMAGE
                                                    AND DISPLAY RELATED STANDARDS, KOBAYASHI, KINUGAWA,
                                                    INUIYA, NISHIYAMA AND/OR HATA
           DX-0648                                  2015-09-09 - Appendix F Chart - ASSERTED CLAIMS 1-6, AND 14 OF U.S.
                                                    PATENT NO. 6,271,884 ARE ANTICIPATED BY U.S. PATENT NO.
                                                    5,966,173 (“INUIYA”);
                                                    ASSERTED CLAIMS 6 AND 17-19 OF U.S. PATENT NO. 6,271,884 ARE
                                                    OBVIOUS IN VIEW OF INUIYA OVER KINUGAWA, HASHIMOTO
                                                    AND/OR OSTER
           DX-0649                                  2015-09-09 - Appendix G Chart - ASSERTED CLAIMS 1-6, 14 AND 17-19
                                                    OF U.S. PATENT NO. 6,271,884 ARE ANTICIPATED BY
                                                    JP1999-155107 (“HATA”)




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           DX-0650                                  2015-09-09 - Appendix H Chart - ASSERTED CLAIMS 1-5, 14 AND 17 OF
                                                    U.S. PATENT NO. 6,271,884 ARE ANTICIPATED BY
                                                    U.S. PAT. NO. 7,289,145 (“JOHNSON”)
                                                    ASSERTED CLAIM 6 OF U.S. PATENT NO. 6,271,884 IS OBVIOUS IN
                                                    VIEW OF JOHNSON OVER OSTER
           DX-0651                                  2015-09-28 - Rebuttal Expert Report of Dr. Dean P. Neikirk PH.D. Regarding
                                                    Noninfringment of U.S. Patent 6,271,884
           DX-0652                                  2015-09-28 - Materials Considered List - Appendix A to Dean Neikirk
                                                    Rebuttal Expert Report on Noninfringement
           DX-0653                                  2015-12-22 Dean Neikirk Supplemental Expert Report
           DX-0654                                  2015-09-09 - Appendix 1 Chart - Asserted Claims 1, 6, 7, 14, and 16 of U.S.
                                                    Patent No. 7,092,029 Are Invalid Under 35 U.S.C § 102 In View of Japanese
                                                    Patent Appl. No. H11-119288 (“Shimada”) and/or Obvious under 35 U.S.C. §
                                                    103 in View of Shimada In Further View of the Knowledge of a POSITA

           DX-0655                                  2015-09-09 - Appendix 2 Chart - Asserted Claim 14 of U.S. Patent No.
                                                    7,092,029 Is Invalid Under 35 U.S.C § 102 in View of Japanese Patent Appl.
                                                    No. H01-289925 (“Nakajima”) and/or Obvious Under 35 U.S.C. § 103 in
                                                    View of Nakajima In Further View of the Knowledge of a POSITA; and
                                                    Asserted Claims 1, 6, 7, and 14 are Obvious Under 35 U.S.C. § 103 in View of
                                                    Nakajima in Further View of the Knowledge of a POSITA
           DX-0656                                  2015-09-09 - Appendix 3 Chart - Asserted Claims 1, 6, 7, 14, and 16 of U.S.
                                                    Patent No. 7,092,029 Are Invalid Under 35 U.S.C § 103 Under Japanese
                                                    Patent Appl. No. H11-119288 (“Shimada”) in View of U.S. Patent No.
                                                    6,195,127 (“Sugimoto”), U.S. Patent No. 6,426,775 (“Kurokawa”) and in
                                                    Further View of the Knowledge of a POSITA
           DX-0657                                  2015-09-09 - Appendix 4 Chart - Asserted Claims 1, 6, 7, 14, and 16 of U.S.
                                                    Patent No. 7,092,029 Are Invalid Under 35 U.S.C § 103 Under U.S. Patent
                                                    No. 6,195,127
                                                    (“Sugimoto”) In View of JP H11-119288 (“Shimada”), and/or U.S. Patent No.
                                                    6,426,775 (“Kurokawa”), and/or JP H01-289925 (“Nakajima”), and In Further
                                                    View of the Knowledge of a POSITA

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           DX-0658                                  2015-09-09 - Appendix 5 Chart - Asserted Claims 1, 6, 7, 14, and 16 of U.S.
                                                    Patent No. 7,092,029 Are Invalid Under 35 U.S.C § 103 Under the Nikon
                                                    Digital
                                                    Through-The-Lens (D-TTL) Autofocus Speedlight Auto Flash Control System
                                                    in View of Japanese Patent Appl. No. H11-
                                                    119288 (“Shimada”), U.S. Patent No. 6,195,127 (“Sugimoto”), in Further
                                                    View of the Knowledge of a POSITA
           DX-0659                                  2015-09-09 - Appendix 6 Chart - Asserted Claims 1, 6, 7, 14, and 16 of U.S.
                                                    Patent No. 7,092,029 Are Invalid Under 35 U.S.C § 103 Under the Nikon
                                                    Through-
                                                    The-Lens (TTL) Autofocus Speedlight Auto Flash Control System in View of
                                                    Japanese Patent Appl. No. H11-119288
                                                    (“Shimada”), and/or U.S. Patent No. 6,195,127 (“Sugimoto”), in Further View
                                                    of the Knowledge of a POSITA
           DX-0660                                  2015-09-09 - Appendix 7 Chart - Asserted Claims 1, 6, 7, 14, and 16 of U.S.
                                                    Patent No. 7,092,029 Are Invalid Under 35 U.S.C. § 103 Under the Canon
                                                    Evaluative-Through-The-Lens (E-TTL) Auto Flash System in View of U.S.
                                                    Patent No. 6,195,127 (“Sugimoto”), JP H11-119288
                                                    (“Shimada”), and in Further View of the Knowledge of a POSITA

           DX-0661                                  2015-09-09 - Appendix 8 Chart - Asserted Claims 1, 6, 7, 14, and 16 of U.S.
                                                    Patent No. 7,092,029 Are Invalid Under 35 U.S.C § 103 Under the Minolta
                                                    Camera
                                                    System In View of Japanese Patent Appl. No. H11-119288 (“Shimada”),
                                                    and/or U.S. Patent No. 6,195,127 (“Sugimoto”), in
                                                    Further View of the Knowledge of a POSITA
           DX-0662                                  Curriculum Vitae of Kenneth Parulski (Appendix A to Parulski Expert Report
                                                    on Invalidity)
           DX-0663                                  List of Kenneth Parulski trial testimony, depositions, and IPR declarations
                                                    (since January 2008) - Appendix B to Parulski Expert Report on Invalidity
           DX-0664                                  List of Materials Considered by Kenneth Parulski (Appendix C to Parulski
                                                    Expert Report on Invalidity)

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           DX-0665                                  Petition For Inter Parties Review of U.S. Patent 7,092,029 (Appendix D to
                                                    Parulski Expert Report on Invalidity)
           DX-0666                                  Declaration of Kenneth Parulski in Support of Petition For Inter Parties
                                                    Review of U.S. Patent 7,092,029 (Appendix E to Parulski Expert Report on
                                                    Invalidity)
           DX-0667                                  Exhibit Number Not Used
           DX-0668*                                 Appendix C to the Rebuttal Expert Report of Kenneth Parulski Regarding U.S.
                                                    Patent No. 7,092,029 (INCLUDES CONFIDENTIAL SOURCE CODE)

           DX-0669                                  Exhibit Number Not Used
           DX-0670                                  2015- 09-28 - Kenneth Parulski Rebuttal Expert Report -Appendix A - List of
                                                    Materials Considered
           DX-0671                                  2015-07-20 - Attachment A to Samsung's July 20, 2015 Supplemental
                                                    Responses and Objections to Imperium's First Set of Interrogatories (Numbers
                                                    1-11)
           DX-0672                                  2015-12-22 Ken Parulski Supplemental Expert Report
           DX-0673                                  ESS Technology Provides Samsung with 1.3 Megapixels Camera Modules
                                                    (IIPH_SAM00013894 - IIPH_SAM00013896)
           DX-0674                                  Exhibit Number Not Used
           DX-0675                                  Exhibit Number Not Used
           DX-0676                                  2006-03-16 ESS Technology 10-K (IIPH_SAM00371573 -
                                                    IIPH_SAM00371675)
           DX-0677                                  2002-03-27 Collection of Patent Assignment Documents
                                                    (IIPH_SAM00371906 - IIPH_SAM00372107)
           DX-0678                                  2009-01-22 Alicia Moore Exhibit 11 (12/5/2012) Email: FW ESS patent
                                                    Information (IIPH_SAM00374821 - IIPH_SAM00374863)
           DX-0679                                  2012-11-20 John Michaelson Exhibit 1 (11/20/2012) Exhibit B, Corporate
                                                    Structure (IIPH_SAM00376235 - IIPH_SAM00376235)
           DX-0680                                  2015-03-09 Galaxy S3 Specifications (SAM-371_00001037 - SAM-
                                                    371_00001045)




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           DX-0681                                  2015-03-06 Galaxy S5 Specifications - Exhibit N to Declaration of Scott
                                                    Taylor in Support of Samsung Motion for Partial Summary Judgment That the
                                                    Accused Samsung-Sony Products Are Licensed (SAM-371_00002120 -
                                                    SAM-371_00002128)
           DX-0682                                  Samsung ATIV Book9 Lite Specifications (SAM-371_00002760 - SAM-
                                                    371_00002761)
           DX-0683                                  Samsung Notebook Series 7 Specifications (SAM-371_00002772 - SAM-
                                                    371_00002773)
           DX-0684                                  Samsung Notebook Series 3 Specifications (SAM-371_00002780 - SAM-
                                                    371_00002781)
           DX-0685                                  Samsung Notebook Series 5 Ultra Specifications (SAM-371_00002803 - SAM-
                                                    371_00002804)
           DX-0686                                  Samsung Notebook Series 7 Specifications (SAM-371_00002845 - SAM-
                                                    371_00002846)
           DX-0687                                  Samsung Notebook Series 9 Specifications (SAM-371_00002853 - SAM-
                                                    371_00002854)
           DX-0688                                  Samsung Notebook Series 9 Premium Ultrabook Specifications (SAM-
                                                    371_00002869 - SAM-371_00002870)
           DX-0689                                  2014-00-02 Datasheet: S5K8B1YX 1/7.3" 2M CMOS Image Sensor Rev.
                                                    1.10 (SAM-371_00006503 - SAM-371_00006573)
           DX-0690                                  2014-00-02 Datasheet: S5K8B1YX 1/7.3" 2M CMOS Image Sensor Rev.
                                                    1.10 (SAM-371_00009508 - SAM-371_00009511)
           DX-0691                                  2013 Samsung NX2000 Service Manual (SAM-371_00013504 - SAM-
                                                    371_00013592)
           DX-0692                                  2014 Samsung NX30 Service Manual (SAM-371_00013775 - SAM-
                                                    371_00013891)
           DX-0693                                  2013 Samsung NX300 Service Manual (SAM-371_00013994 - SAM-
                                                    371_00014095)
           DX-0694                                  2013 Samsung NX300 Service Manual (SAM-371_00024975 - SAM-
                                                    371_00024979)
           DX-0695                                  2012-06-00 GT-I9300 User Manual (SAM-371_00045992 - SAM-
                                                    371_00046172)


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           DX-0696                                  Samsung Galaxy S5 User Manual (SAM-371_00046662 - SAM-
                                                    371_00046861)
           DX-0697                                  NX30 User Manual (SAM-371_00053351 - SAM-371_00053569)
           DX-0698                                  WB150F/WB151F/WB152F User Manual (SAM-371_00060990 - SAM-
                                                    371_00061149)
           DX-0699                                  2007 Forecast: Mobile Phone Production and Semiconductor Market,
                                                    Worldwide,
                                                    2004-2011 (3Q07 Update) (native) (SAM-371_00181925 - SAM-
                                                    371_00181925)
           DX-0700                                  2007 Market Analysis Worldwide Camera Phone and Videophone 2007-2011
                                                    Forecast by Christopher Chute and Chris Hazeton (SAM-371_00181930 -
                                                    SAM-371_00181948)
           DX-0701                                  2008 -07 Market Analysis Worldwide Converged Mobile Device 2008-2012
                                                    Forecast: June 2008 by Shiv Bakhshi and Ramon Llamas (SAM-
                                                    371_00189919 - SAM-371_00189939)
           DX-0702                                  2008-07 Market Analysis Worldwide Worldwide PC Market 1Q08 Review
                                                    (SAM-371_00190048 - SAM-371_00190072)
           DX-0703                                  2011-01-29 CMHS (color map hue saturation) (foreign language) (SAM-
                                                    371_00376765 - SAM-371_00376771)
           DX-0704                                  2007-05-10 Gartner Dataquest Insight: Semiconductor Vendor Performance,
                                                    2006 (SAM-371_00396967 - SAM-371_00397020)
           DX-0705                                  2008-07 Forecast Update: Worldwide Mobile Phone 2008-2012 Forecast
                                                    Update: June 2008 by Shiv Bakhshi and Ramon Llamas (SAM-
                                                    371_00414087 - SAM-371_00414107)
           DX-0706                                  2007-07-16 Gartner Research: Hype Cycle for Semiconductors, 2007 (SAM-
                                                    371_00414458 - SAM-371_00414483)
           DX-0707                                  2007-07-17 Gartner Research: Hype Cycle for the Telecommunications
                                                    Industry, 2007 (SAM-371_00414521 - SAM-371_00414560)
           DX-0708                                  2007-06-29 Gartner Research: Hype Cycle for Wireless Devices, Software
                                                    and Services, 2007 (SAM-371_00414602 - SAM-371_00414640)




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           DX-0709                                  2007-08-10 Gartner Research: Report Highlight for Dataquest Insight:
                                                    Semiconductor Forecast Assumptions, Worldwide, 2005-2010 (2Q07 Update)
                                                    (SAM-371_00414679 - SAM-371_00414681)
           DX-0710                                  Sony Datasheet: IMX240-0AQH5-S (SAM-371_00435369 - SAM-
                                                    371_00435415)
           DX-0711                                  2013-07 Datasheet: S5K73C1X 16Mp 16:9 Companion Chip Rev. 0.02
                                                    (SAM-371_00436108 - SAM-371_00436171)
           DX-0712                                  2011-08 Data Sheet: S5C73M3X 8Mp Image Signal Processor Rev 0.11
                                                    (SAM-371_00436172 - SAM-371_00436278)
           DX-0713                                  Series 7 All-In-One PC (SAM-371_00438317 - SAM-371_00438318)
           DX-0714                                  Samsung ATIV Book9 Plus Specifications (SAM-371_00438416 - SAM-
                                                    371_00438417)
           DX-0715                                  Samsung ATIV Book9 Lite Specifications (SAM-371_00438422 - SAM-
                                                    371_00438423)
           DX-0716                                  Samsung ATIV Book 9 Specs (SAM-371_00438429 - SAM-371_00438430)

           DX-0717                                  Samsung ATIV Book9 Plus Specifications (SAM-371_00438545 - SAM-
                                                    371_00438546)
           DX-0718                                  General Software License Agreement between Scalado and Samsung (SAM-
                                                    371_00439170 - SAM-371_00439190)
           DX-0719                                  2011-11-02 Fujitsu, MBG046 SIP Hardware Specification, Rev 3.0E (SAM-
                                                    371_00439211 - SAM-371_00439267)
           DX-0720                                  Presentation: Industry Snapshot, Cameras/Camcorders and Executive
                                                    Summary & Recommendation (SAM-371_00445484 - SAM-371_00445575)

           DX-0721                                  2010-09 Samsung Camera Consumer Understanding Best Buy (SAM-
                                                    371_00445667 - SAM-371_00445702)
           DX-0722                                  2010-12 Presentation: Mobile PC Segmentation, NAHQ Market Intelligence
                                                    (SAM-371_00445807 - SAM-371_00445914)
           DX-0723                                  2010-09 Presentation: Samsung Camera Consumer Understanding Best Buy
                                                    (SAM-371_00445927 - SAM-371_00445962)



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           DX-0724                                  2012-06-04 Presentation: Samsung Digital Imaging Shopper Facts, NAHQ -
                                                    Market Intelligence (SAM-371_00446702 - SAM-371_00446816)
           DX-0725                                  2012-06-04 Presentation: Samsung Digital Imaging Shopper Facts, NAHQ -
                                                    Market Intelligence (SAM-371_00446922 - SAM-371_00447039)
           DX-0726                                  2010-12 Presentation: Mobile PC Segmentation, NAHQ Market Intelligence
                                                    (SAM-371_00447399 - SAM-371_00447506)
           DX-0727                                  2011-04 InfoTrends 2011 Mobile Imaging Study Top-line Summary Charts
                                                    (SAM-371_00447667 - SAM-371_00447780)
           DX-0728                                  Presentation: CSBS NPC Market Research Report, Market Intelligence (SAM-
                                                    371_00448268 - SAM-371_00448357)
           DX-0729                                  Presentation: Digital Imaging 2013 Project, NAHQ Market Intelligence (SAM-
                                                    371_00448385 - SAM-371_00448402)
           DX-0730                                  Presentation: Digital Imaging 2013 Project, NAHQ Market Intelligence (SAM-
                                                    371_00448493 - SAM-371_00448502)
           DX-0731                                  2012-04 Presentation: NX200 Compact System Camera Owner Qualitative
                                                    Research Study, NAHQ - Market Intelligence (SAM-371_00448904 - SAM-
                                                    371_00448922)
           DX-0732                                  2013-07 Insights, Consumer & Professional Imaging, Key Consumer Photo
                                                    Capture Metrics (SAM-371_00449457 - SAM-371_00449460)
           DX-0733                                  Presentation: CSBS NPC Market Research Report, Market Intelligence (SAM-
                                                    371_00449535 - SAM-371_00449648)
           DX-0734                                  2012-11-16 Galaxy Camera, Internal User Product Experience Evaluation,
                                                    STA Product & Experience Planning (SAM-371_00449803 - SAM-
                                                    371_00449838)
           DX-0735                                  2011-11 Presentation: Digital Imaging - U&A Follow-Up Analytics, NAHQ
                                                    Intelligence (SAM-371_00450264 - SAM-371_00450266)
           DX-0736                                  Presentation: Why Wireless, NAHW - Market Intelligence (SAM-
                                                    371_00451039 - SAM-371_00451041)
           DX-0737                                  Samsung ATIV Book 9/Book 9 Plus Specifications (SAM-371_00452027 -
                                                    SAM-371_00452028)
           DX-0738                                  Presentation: Consumer Shopping Behavior Study TNS Research Report for
                                                    Notebook PC (SAM-371_00452369 - SAM-371_00452400)


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           DX-0739                                  Samsung ATIV Book 9/Book 9 Plus Specifications (SAM-371_00453691 -
                                                    SAM-371_00453692)
           DX-0740                                  2011-12 Presentation: Computers Online Anthropology, NAHQ Market
                                                    Intelligence (SAM-371_00453938 - SAM-371_00454047)
           DX-0741                                  2015-02 Presentation: Tablet Unmet Needs - New Buyers, Consumer &
                                                    Market Intelligence (SAM-371_00455113 - SAM-371_00455130)
           DX-0742                                  2015-02 Presentation: Tablet Unmet Needs, Consumer & Market Intelligence
                                                    (SAM-371_00455157 - SAM-371_00455207)
           DX-0743                                  2014-04 Presentation: Tablet Competitive Ownership Study (SAM-
                                                    371_00455372 - SAM-371_00455394)
           DX-0744                                  Presentation: Tablets Recommendation, NAHQ Market Intelligence (SAM-
                                                    371_00455532 - SAM-371_00455535)
           DX-0745                                  Presentation: Consumer Satisfaction Survey, NAHQ - Market Intelligence
                                                    (SAM-371_00455692 - SAM-371_00455703)
           DX-0746                                  Presentation: Slides on Video, NAHQ - Market Intelligence (SAM-
                                                    371_00456610 - SAM-371_00456618)
           DX-0747                                  2012-10 Presentation: Tablet Anthropology First Half 2012, NAHQ - Market
                                                    Intelligence (SAM-371_00457460 - SAM-371_00457495)
           DX-0748                                  2012-10 Presentation: Tablet Anthropology First Half 2012, NAHQ - Market
                                                    Intelligence (SAM-371_00457532 - SAM-371_00457567)
           DX-0749                                  Presentation: Tablet Anthropology Follow Up Feature Discussion by Brand
                                                    and OS, NAHQ - Market Intelligence (SAM-371_00458301 - SAM-
                                                    371_00458304)
           DX-0750                                  Presentation: Best Buy Note 10.1 Returns Analysis, NAHQ - Market
                                                    Intelligence (SAM-371_00458456 - SAM-371_00458475)
           DX-0751                                  Presentation: Tablets Recommendation, NAHQ Market Intelligence (SAM-
                                                    371_00460773 - SAM-371_00460776)
           DX-0752                                  2013-10-18 SEA-PC Weekly Report Week 42 (SAM-371_00461169 - SAM-
                                                    371_00461173)
           DX-0753                                  2014-03-14 SEA-PC Weekly Report Week 11 (SAM-371_00461361 - SAM-
                                                    371_00461365)



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           DX-0754                                  2013-04-29 Presentation: SEA PC Workshop, PC Marketing (SAM-
                                                    371_00461467 - SAM-371_00461518)
           DX-0755                                  2014-05 Presentation: 2014 Samsung Mobile PC Presentation (SAM-
                                                    371_00461827 - SAM-371_00461861)
           DX-0756                                  2014-08 Presentation: Samsung Mobility Product Overview (SAM-
                                                    371_00461903 - SAM-371_00461912)
           DX-0757                                  2013-07-15 SEA-Mobile Computing Full Executive Report, Week 28 (SAM-
                                                    371_00462123 - SAM-371_00462126)
           DX-0758                                  2013-01-25 Presentation: SEA DI Biz Update (SAM-371_00462198 - SAM-
                                                    371_00462238)
           DX-0759                                  NX2000 Product Offering Guide, GPM Group Digital Imaging (SAM-
                                                    371_00463114 - SAM-371_00463155)
           DX-0760                                  Presentation: Galaxy NX (SAM-371_00463287 - SAM-371_00463314)
           DX-0761                                  2014-05 2014 Tablet Satisfaction Study Volume 1, Management Report (SAM-
                                                    371_00464624 - SAM-371_00464729)
           DX-0762                                  Presentation: Galaxy Camera (SAM-371_00468064 - SAM-371_00468110)

           DX-0763                                  2013-09 Presentation: 2014 DI Product Line-up, Digital Imaging Business
                                                    (SAM-371_00468784 - SAM-371_00468869)
           DX-0764                                  2013-12 Presentation: 2014 DI Product Line-up, Digital Imaging Division,
                                                    Product Marketing (SAM-371_00468975 - SAM-371_00469006)
           DX-0765                                  2014 Presentation: DI Product Line-up, Digital Imaging Division, Product
                                                    Marketing, CES 2014 (SAM-371_00469285 - SAM-371_00469312)
           DX-0766                                  2013-12 2014 Presentation: Line-up Strategy & Direction, Product Planning
                                                    (SAM-371_00470234 - SAM-371_00470276)
           DX-0767                                  2015-01-05 - 2015-02-08 Cycle 1 FST Playbook, Health & Wellness (SAM-
                                                    371_00481618 - SAM-371_00481629)
           DX-0768                                  2014-10-20 - 2014-11-16 FST Playbook, Samsung Galaxy Note 4, Samsung
                                                    Galaxy Note Edge Launch (SAM-371_00481630 - SAM-371_00481637)

           DX-0769                                  2014-11-17 - 2014-12-14 FST Playbook (SAM-371_00481638 - SAM-
                                                    371_00481645)


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           DX-0770                                  2015-02-09 - 2015-03-08 Cycle 2 FST Playbook, Samsung Ecosystem (SAM-
                                                    371_00481646 - SAM-371_00481657)
           DX-0771                                  Samsung Galaxy Note 4 and Galaxy Tab S FAQs (SAM-371_00481658 -
                                                    SAM-371_00481659)
           DX-0772                                  2011-11 Datasheet: S5C73M3 (CML0801) 8Mp Image Signal Processor Rev.
                                                    .91 (SAM-371_00511665 - SAM-371_00511949)
           DX-0773                                  2011-12-29 Moynihan, Tim, CMOS is Winning the Camera Sensor Battle, and
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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
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Pltf No.    Def. No             Marked   Admitted                                 Description
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           DX-0919                                  Email: "Re: Re: Call from Alan Fisch and Imperium" (SAM-371_00465181 -
                                                    SAM-371_00465183)
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                                                    371_00065619 - SAM-371_00065632)
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           DX-0931                                  List of Accused Phones/Tablets for '029 Patent
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           DX-0933                                  U.S. Patent No. 6,836,290
           DX-0934                                  U.S. Patent No. 7,092,029
           DX-0935                                  Utility Patent Application Transmittal Form with Attorney Docket No. 0202-
                                                    1031
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                                                    Imperium's
                                                    First Set of Interrogatories, Nos. 1 to 11
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           DX-0941                                  List of Accused Cameras for '029 Patent
           DX-0942                                  List of Accused Cameras for '884 Patent
           DX-0943                                  Partial list of Samsung digital cameras at issue
           DX-0944                                  Exhibit Number Not Used
           DX-0945                                  Exhibit Number Not Used
           DX-0946                                  Galaxy S5 Spec Sheet (SAM-371_00002120 - SAM-371_00002128)
           DX-0947                                  Exhibit Number Not Used
           DX-0948                                  2015-11-03 - Declaration of Scott Taylor in Support of Samsung Motion for
                                                    Partial Summary Judgment That the Accused Samsung-Sony Products Are
                                                    Licensed




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                      Offered
           DX-0949                                  09-16-2015 - Excerpts from Deposition of Robert Blair - Exhibit B to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Partial
                                                    Summary Judgment That the Accused Samsung-Sony Products Are Licensed

           DX-0950                                  2015-09-09 - Excerpts from the Expert Report on Damages by Michele M.
                                                    Riley - Exhibit C to Declaration of Scott Taylor in Support of Samsung
                                                    Motion for Partial Summary Judgment That the Accused Samsung-Sony
                                                    Products Are Licensed
           DX-0951                                  2015-09-18 - Excerpts from the Supplemental Expert Report on Damages by
                                                    Michele M. Riley - Exhibit D to Declaration of Scott Taylor in Support of
                                                    Samsung Motion for Partial Summary Judgment That the Accused Samsung-
                                                    Sony Products Are Licensed
           DX-0952                                  2015-10-22 - Excerpts from Deposition (Rough) of Cameron Wright - Exhibit
                                                    E to Declaration of Scott Taylor in Support of Samsung Motion for Partial
                                                    Summary Judgment That the Accused Samsung-Sony Products Are Licensed

           DX-0953                                  2015-10-20 - Excerpts from Deposition of Michele Riley - Exhibit F to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Partial
                                                    Summary Judgment That the Accused Samsung-Sony Products Are Licensed

           DX-0954                                  2015-09-09 - Excerpts from the Expert Report of Cameron Wright Concerning
                                                    Infringement By Samsung - Exhibit G to Declaration of Scott Taylor in
                                                    Support of Samsung Motion for Partial Summary Judgment That the Accused
                                                    Samsung-Sony Products Are Licensed
           DX-0955                                  2015-07-20 - Attachment A to Samsung's July 20, 2015 Supplemental
                                                    Responses and Objections to Imperium's First Set of Interrogatories (Numbers
                                                    1-11)- Exhibit H to Declaration of Scott Taylor in Support of Samsung Motion
                                                    for Partial Summary Judgment That the Accused Samsung-Sony Products
                                                    Are Licensed




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           DX-0956                                  2015-09-09 -Excerpted portions of Exhibits
                                                    5.1a–5.93a from the Expert Report of Cameron H.G. Wright Concerning
                                                    Infringement by Samsung - Exhibit I to Declaration of Scott Taylor in Support
                                                    of Samsung Motion for Partial Summary Judgment That the Accused
                                                    Samsung-Sony Products Are Licensed
           DX-0957                                  2015-09-18 - Exhibits 8, 8A–8D, 9, and 9A–
                                                    9D from Supplemental Expert Report on Damages by Michele M. Riley -
                                                    Exhibit J to Declaration of Scott Taylor in Support of Samsung Motion for
                                                    Partial Summary Judgment That the Accused Samsung-Sony Products Are
                                                    Licensed
           DX-0958                                  2015-10-23 - Excerpts from Deposition (Rough) of Cameron Wright - Exhibit
                                                    K to Declaration of Scott Taylor in Support of Samsung Motion for Partial
                                                    Summary Judgment That the Accused Samsung-Sony Products Are Licensed

           DX-0959                                  2015-09-09 - Excerpted portions of Exhibit
                                                    5.76a from the Expert Report of Cameron Wright Concerning Infringement By
                                                    Samsung - Exhibit L to Declaration of Scott Taylor in Support of Samsung
                                                    Motion for Partial Summary Judgment That the Accused Samsung-Sony
                                                    Products Are Licensed
           DX-0960                                  WB800F Samsung Smart Camera Spec Sheet - Exhibit M to Declaration of
                                                    Scott Taylor in Support of Samsung Motion for Partial Summary Judgment
                                                    That the Accused Samsung-Sony Products Are Licensed (SAM-
                                                    371_00438345 - SAM-371_00438347)
           DX-0961                                  2012-10-16 Samsung Mobile-Sprint News Announcement for Galaxy SII -
                                                    Exhibit O to Declaration of Scott Taylor in Support of Samsung Motion for
                                                    Partial Summary Judgment That the Accused Samsung-Sony Products Are
                                                    Licensed (SAM-371_00000985 - SAM-371_00000987)
           DX-0962                                  WB350F Samsung Smart Camera Spec Sheet - Exhibit P to Declaration of
                                                    Scott Taylor in Support of Samsung Motion for Partial Summary Judgment
                                                    That the Accused Samsung-Sony Products Are Licensed (SAM-
                                                    371_00438295 - SAM-371_00438297)



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           DX-0963                                  2015-09-28 - Excerpted portions of Exhibits
                                                    4.6a–4.8a, 4.10a, 4.16a, and 4.25a from the Expert Report of Cameron H.G.
                                                    Wright Concerning
                                                    Infringement by Samsung - Exhibit Q to Declaration of Scott Taylor in
                                                    Support of Samsung Motion for Partial Summary Judgment That the Accused
                                                    Samsung-Sony Products Are Licensed
           DX-0964                                  2015-09-09 - Excerpted portions of the Confidential Expert Report of Ray M.
                                                    Perryman - Exhibit R to Declaration of Scott Taylor in Support of Samsung
                                                    Motion for Partial Summary Judgment That the Accused Samsung-Sony
                                                    Products Are Licensed
           DX-0965                                  2015-08-11 - Excerpts from the deposition of Vincent Capone - Exhibit 1 to
                                                    Declaration of Scott Taylor in Support of Samsung Reply in Support of
                                                    Samsung Motion for Leave to File Summary Judgment Motion Out of Time
           DX-0966                                  2015-12-04 - Chart titled “Claims 1 and 6 of U.S. Patent 7,092,029,”
                                                    designated as “Confidential – Attorneys’ Eyes Only,” that comprises an
                                                    analysis by Samsung’s
                                                    counsel demonstrating reliance by Imperium and its technical expert, Dr.
                                                    Cameron H.G. Wright,
                                                    on the existence or functionality of Sony image sensors in certain Samsung
                                                    products when
                                                    attempting to demonstrate infringement of claims 1 and 6 of U.S. Patent No.
                                                    7,092,029 - Exhibit 2 to Declaration of Scott Taylor in Support of Samsung
                                                    Reply in Support of Samsung Motion for Leave to File Summary Judgment
                                                    Motion Out of Time




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                      Offered
           DX-0967                                  2015-12-04 - Chart titled “Claim 7 of U.S. Patent 7,092,029,” designated as
                                                    “Confidential – Attorneys’ Eyes Only,” that comprises an analysis by
                                                    Samsung’s
                                                    counsel demonstrating reliance by Imperium and its technical expert, Dr.
                                                    Cameron H.G. Wright,
                                                    on the existence or functionality of Sony image sensors in certain Samsung
                                                    products when
                                                    attempting to demonstrate infringement of claim 7 of U.S. Patent No.
                                                    7,092,029 - Exhibit 3 to Samsung Reply in Support of Samsung Motion for
                                                    Leave to File Summary Judgment Motion Out of Time
           DX-0968                                  2015-12-04 - Chart titled chart titled “Claims 14 and 16 of U.S. Patent
                                                    7,092,029,” designated as “Confidential – Attorneys’ Eyes Only,” that
                                                    comprises an analysis by Samsung’s counsel demonstrating reliance by
                                                    Imperium and its technical expert, Dr. Cameron H.G. Wright,
                                                    on the existence or functionality of Sony image sensors in certain Samsung
                                                    products when attempting to demonstrate infringement of claims 14 and 16 of
                                                    U.S. Patent No. 7,092,029 - Exhibit 4 to Declaration of Scott Taylor in
                                                    Support of Samsung Reply in Support of Samsung Motion for Leave to File
                                                    Summary Judgment Motion Out of Time
           DX-0969                                  2015-09-09 - Excerpted pages from the
                                                    Expert Report of Cameron H.G. Wright Concerning Infringement by Samsung,
                                                    dated September
                                                    9, 2015 (“9-9-15 Wright Report”); (2) excerpted pages from certain of
                                                    Exhibits 5.1a–5.93a to the
                                                    9-9-15 Wright Report; and (3) excerpted pages from Exhibits 5.5a, 5.6a, 5.8a
                                                    and 5.12a–5.14a to
                                                    the Second Supplemental Expert Report of Cameron H.G. Wright Concerning
                                                    Infringement By
                                                    Samsung, dated October 13, 2015 - Exhibit 5 to Declaration of Scott Taylor in
                                                    Support of Samsung Reply in Support of Samsung Motion for Leave to File
                                                    Summary Judgment Motion Out of Time



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           DX-0970                                  2105-12-04 - Chart titled “Claims 1–6 of U.S. Patent 8,271,884,” designated
                                                    as “Confidential – Attorneys’ Eyes Only,” that comprises an analysis by
                                                    Samsung’s
                                                    counsel demonstrating reliance by Imperium and its technical expert, Dr.
                                                    Cameron H.G. Wright,
                                                    on the existence or functionality of Sony image sensors in certain Samsung
                                                    products when
                                                    attempting to demonstrate infringement of claims 1–6 of U.S. Patent No.
                                                    8,271,884 - Exhibit 6 to Declaration of Scott Taylor in Support of Samsung
                                                    Reply in Support of Samsung Motion for Leave to File Summary Judgment
                                                    Motion Out of Time
           DX-0971                                  2105-12-04 - Chart titled “Claims 14 and 17–19 of U.S. Patent 8,271,884,”
                                                    designated as “Confidential – Attorneys’ Eyes Only,” that comprises an
                                                    analysis by Samsung’s counsel demonstrating reliance by Imperium and its
                                                    technical expert, Dr. Cameron H.G. Wright,
                                                    on the existence or functionality of Sony image sensors in certain Samsung
                                                    products when attempting to demonstrate infringement of claims 14 and 17-19
                                                    of U.S. Patent No. 8,271,884 - Exhibit 7 to Declaration of Scott Taylor in
                                                    Support of Samsung Reply in Support of Samsung Motion for Leave to File
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           DX-0972                                  2015-09-09 - Excerpted pages from the
                                                    Expert Report of Cameron H.G. Wright Concerning Infringement by Samsung,
                                                    dated September
                                                    9, 2015 (“9-9-15 Wright Report”); (2) excerpted pages from the First
                                                    Supplemental Expert
                                                    Report of Cameron H.G. Wright Concerning Infringement by Samsung, dated
                                                    September 24,
                                                    2015 (“9-24-15 Wright Report”); (3) excerpted pages from the Second
                                                    Supplemental Expert
                                                    Report of Cameron H.G. Wright Concerning Infringement by Samsung, dated
                                                    October 13, 2015
                                                    (“10-13-15 Wright Report”); (4) excerpted pages from certain of Exhibits
                                                    4.1a–4.34b to the 9-9-
                                                    15 Wright Report; (5) excerpted pages from Exhibits 4.7a, 4.8a, 4.10a and
                                                    4.16a to the 9-24-15
                                                    Wright Report; and (6) excerpted pages from Exhibits 4.7a, 4.8a, 4.10a and
                                                    4.16a to the 10-13-
                                                    15 Wright Report - Exhibit 8 to Declaration of Scott Taylor in Support of
                                                    Samsung Reply in Support of Samsung Motion for Leave to File Summary
                                                    Judgment Motion Out of Time
           DX-0973                                  2015-12-04 - Chart titled “Damages for Asserted Samsung-Sony Products
                                                    Claimed by Imperium Damages Expert Michele Riley,” designated as
                                                    “Confidential –
                                                    Attorneys’ Eyes Only,” that comprises an analysis by Samsung’s counsel of
                                                    the total damages claimed by Imperium’s damages expert and the portion of
                                                    damages related to Samsung-Sony Products - Exhibit 9 to Declaration of Scott
                                                    Taylor in Support of Samsung Reply in Support of Samsung Motion for Leave
                                                    to File Summary Judgment Motion Out of Time
           DX-0974                                  2015-10-22 - Excerpts from the deposition of Cameron Wright - Exhibit 10 to
                                                    Declaration of Scott Taylor in Support of Samsung Reply in Support of
                                                    Samsung Motion for Leave to File Summary Judgment Motion Out of Time



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           DX-0975                                  2015-09-28 - Excerpts from the Expert Report of Cameron H.G. Wright
                                                    Concerning Validity - Exhibit 11 to Declaration of Scott Taylor in Support of
                                                    Samsung Reply in Support of Samsung Motion for Leave to File Summary
                                                    Judgment Motion Out of Time
           DX-0976                                  2015-10-23- Excerpts from the deposition of Cameron Wright - Exhibit 12 to
                                                    Declaration of Scott Taylor in Support of Samsung Reply in Support of
                                                    Samsung Motion for Leave to File Summary Judgment Motion Out of Time
           DX-0977                                  2015-12-03 - Declaration of Kenneth Parulski Regarding Imperium's Reliance
                                                    On Sony Image Sensors - Exhibit 13 to Declaration of Scott Taylor in Support
                                                    of Samsung Reply in Support of Samsung Motion for Leave to File Summary
                                                    Judgment Motion Out of Time
           DX-0978                                  2015-12-04 - Declaration of Dean P. Neikirk Regarding Imperium's Reliance
                                                    On Sony Image Sensors - Exhibit 14 to Declaration of Scott Taylor in Support
                                                    of Samsung Reply in Support of Samsung Motion for Leave to File Summary
                                                    Judgment Motion Out of Time
           DX-0979                                  2015-11-03 - Declaration of Scott Taylor in Support of Samsung Motion for
                                                    Leave to File A Summary Judgment Motion Out of Time
           DX-0980                                  2015-09-24 - Letter Samuel Brenner to Silvia Jordan - Tab C to Declaration
                                                    of Scott Taylor in Support of Samsung Motion for Leave to File A Summary
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           DX-0981                                  2015-09-30 - Letter Samuel Brenner to William Sigler - Tab D to Declaration
                                                    of Scott Taylor in Support of Samsung Motion for Leave to File A Summary
                                                    Judgment Motion Out of Time
           DX-0982                                  2015-01-26 - Appendix 2.6 from Plaintiff Imperium IP Holdings (Cayman),
                                                    Ltd.’s Patent Rule 3-1 and 3-2 Disclosures, served on January 26, 2015 - Tab
                                                    E to Declaration of Scott Taylor in Support of Samsung Motion for Leave to
                                                    File A Summary Judgment Motion Out of Time
           DX-0983                                  2015-05-28 - Email from Silvia Jordan to Samuel Brenner - Tab F to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Leave to File A
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Pltf No.    Def. No             Marked   Admitted                                   Description
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           DX-0984                                  2015-05-28 - Excerpted portions of Plaintiff Imperium IP Holdings (Cayman),
                                                    Ltd.’s Amended Patent Rule 3-1 and 3-2 Disclosures, dated May 28, 2015 -
                                                    Tab G to Declaration of Scott Taylor in Support of Samsung Motion for Leave
                                                    to File A Summary Judgment Motion Out of Time

           DX-0985                                  2015-05-28 - Appendix 2.48 from Plaintiff
                                                    Imperium IP Holdings (Cayman), Ltd.’s Amended Patent Rule 3-1 and 3-2
                                                    Disclosures, served on May 28, 2015 - Tab H to Declaration of Scott Taylor in
                                                    Support of Samsung Motion for Leave to File A Summary Judgment Motion
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           DX-0986                                  2015-06-18 - Email from David Saunders to Samuel Brenner - Tab I to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Leave to File A
                                                    Summary Judgment Motion Out of Time
           DX-0987                                  2015-08-24 - ’029 patent infringement claim
                                                    chart for the Galaxy Note 5 sent by Plaintiff’s counsel David Saunders to
                                                    Defendants’ counsel Samuel Brenner on August 24, 2015 - Tab J to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Leave to File A
                                                    Summary Judgment Motion Out of Time
           DX-0988                                  2015-03-12 - Excerpted portions of Defendants
                                                    Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and
                                                    Samsung Semiconductor, Inc.’s Mandatory Disclosures, dated March 12, 2015
                                                    - Tab K to Declaration of Scott Taylor in Support of Samsung Motion for
                                                    Leave to File A Summary Judgment Motion Out of Time
           DX-0989                                  2015-03-09 - Attachment A to Samsung
                                                    Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung
                                                    Semiconductor, Inc.’s Responses and Objections to Plaintiff Imperium IP
                                                    Holdings (Cayman), Ltd.’s First Set of Interrogatories, dated March 9, 2015 -
                                                    Tab L to Declaration of Scott Taylor in Support of Samsung Motion for Leave
                                                    to File A Summary Judgment Motion Out of Time




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           DX-0990                                  2015-07-20 - Attachment A to Samsung's July 20, 2015 Supplemental
                                                    Responses and Objections to Imperium's First Set of Interrogatories (Numbers
                                                    1-11) - Tab M to Declaration of Scott Taylor in Support of Samsung Motion
                                                    for Leave to File A Summary Judgment Motion Out of Time

           DX-0991                                  2015-11-03 - Collection of excerpted pages from subpoenas issued by
                                                    Imperium to Qualcomm Incorporated, Texas Instruments Inc., Fujitsu
                                                    Components America, Inc., Sharp Electronics Corporation, and Omnivision
                                                    Technologies, all dated June 30, 2015 - Tab N to Declaration of Scott Taylor
                                                    in Support of Samsung Motion for Leave to File A Summary Judgment
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           DX-0992                                  2015-09-08 - Excerpted portions of Plaintiff
                                                    Imperium IP Holdings (Cayman), Ltd.’s Fourth Supplemental and Amended
                                                    Objections and
                                                    Responses to Defendants’ First Set of Interrogatories (Nos. 1-13) Tab O to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Leave to File A
                                                    Summary Judgment Motion Out of Time
           DX-0993                                  2015-09-04 - Excerpted portions of Plaintiff Imperium IP Holdings (Cayman),
                                                    Ltd.’s First Supplemental Objections and Responses to Defendants’ Second
                                                    Set of Interrogatories (Nos. 14-20) - Tab P to Declaration of Scott Taylor in
                                                    Support of Samsung Motion for Leave to File A Summary Judgment Motion
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           DX-0994                                  2015-09-09 - Excerpted portions of the Expert
                                                    Report on Damages by Michele M. Riley, dated September 9, 2015 - Tab Q to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Leave to File A
                                                    Summary Judgment Motion Out of Time
           DX-0995                                  2015-09-09 - Excerpted portions of Exhibit 5.76a from the Expert Report of
                                                    Cameron H.G. Wright Concerning Infringement by Samsung, served on
                                                    September 9, 2015 - Tab R to Declaration of Scott Taylor in Support of
                                                    Samsung Motion for Leave to File A Summary Judgment Motion Out of Time




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           DX-0996                                  2015-09-09 - Excerpted portions of Exhibits
                                                    from the Expert Report of Cameron H.G. Wright Concerning Infringement by
                                                    Samsung, served
                                                    on September 9, 2015 - Tab S to Declaration of Scott Taylor in Support of
                                                    Samsung Motion for Leave to File A Summary Judgment Motion Out of Time

           DX-0997                                  2015-09-09 - Excerpted portions of Exhibit
                                                    4.10a from the Expert Report of Cameron H.G. Wright Concerning
                                                    Infringement by Samsung,
                                                    served on September 9, 2015 - Tab T to Declaration of Scott Taylor in Support
                                                    of Samsung Motion for Leave to File A Summary Judgment Motion Out of
                                                    Time
           DX-0998                                  2015-09-09 - Excerpted portions of Exhibit 4.25a from the Expert Report of
                                                    Cameron H.G. Wright Concerning Infringement by Samsung, served on
                                                    September 9, 2015 - Tab U to Declaration of Scott Taylor in Support of
                                                    Samsung Motion for Leave to File A Summary Judgment Motion Out of Time

           DX-0999                                  2015-10-06 - Letter William Sigler to Samuel Brenner -Tab V to Declaration
                                                    of Scott Taylor in Support of Samsung Motion for Leave to File A Summary
                                                    Judgment Motion Out of Time
           DX-1000                                  2015-09-20 - Excerpts from the deposition of Michele Riley - Tab W to
                                                    Declaration of Scott Taylor in Support of Samsung Motion for Leave to File A
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           DX-1001                                  2015-10-22 - Excerpts from Deposition (Rough) of Cameron Wright - Tab X
                                                    to Declaration of Scott Taylor in Support of Samsung Motion for Leave to File
                                                    A Summary Judgment Motion Out of Time
           DX-1002                                  2015-09-18 - Exhibits 8, 8A–8C, 9, and 9A–9C
                                                    from Supplemental Expert Report on Damages by Michele M. Riley, dated
                                                    September 18, 2015- Tab Y to Declaration of Scott Taylor in Support of
                                                    Samsung Motion for Leave to File A Summary Judgment Motion Out of Time




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           DX-1003                                  2015-04-13 - Chart entitled "Exhibit A Proposed Construction for U.S. Patent
                                                    6,271,884" to Joint Claim Construction and Prehearing Statement
           DX-1004                                  2015-04-13 - Chart entitled "Exhibit B Proposed Construction for U.S. Patent
                                                    6,271,836,290" to Joint Claim Construction and Prehearing Statement

           DX-1005                                  2015-04-13 - Chart entitled "Exhibit C Proposed Construction for U.S. Patent
                                                    7,092,029" to Joint Claim Construction and Prehearing Statement
           DX-1006                                  2015-05-11 - Declaration of Scott Taylor in Support of Samsung Responsive
                                                    Claim Construction Brief
           DX-1007                                  2015-05-11 - Excerpt from the file history of United States Patent Application
                                                    No. 09/062,343, comprising United States Patent Application No. 09/062,343
                                                    titled “CMOS Imaging Apparatus” and filed on April 17, 1998, now
                                                    abandoned - Exhibit D to Scott Taylor Declaration In Support of Samsung
                                                    Responsive Claim Construction Brief
           DX-1008                                  2015-05-11 - Excerpt from the Larousse Dictionary of Science and
                                                    Technology (Peter Walker ed., Larousse, 1995) - Exhibit E to Scott Taylor
                                                    Declaration In Support of Samsung Responsive Claim Construction Brief
                                                    (SAM-371_00069394 - SAM-371_00069404)
           DX-1009                                   1994 - Excerpt from McGraw-Hill Dictionary of Scientific and Technical
                                                    Terms (5th ed. 1994) - Exhibit F to Scott Taylor Declaration In Support of
                                                    Samsung Responsive Claim Construction Brief (SAM-371_00069351 - SAM-
                                                    371_00069361)
           DX-1010                                  1987 - Excerpt from The Random House Dictionary of the English Language
                                                    (2d ed. 1987) - Exhibit H to Scott Taylor Declaration In Support of Samsung
                                                    Responsive Claim Construction Brief
           DX-1011                                  1993 - Excerpt from The New IEEE Standard Dictionary of Electrical and
                                                    Electronics Terms (5th ed. 1993) - Exhibit I to Scott Taylor Declaration In
                                                    Support of Samsung Responsive Claim Construction Brief (SAM-
                                                    371_00069359 - SAM-371_00039361)
           DX-1012                                  1995 - Excerpt from The American Heritage College Dictionary (3d ed. 1993) -
                                                    Exhibit K to Scott Taylor Declaration In Support of Samsung Responsive
                                                    Claim Construction Brief

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                      Offered
           DX-1013                                  2005-04-24 - Excerpt from the prosecution history of United States Patent No.
                                                    7,092,029, comprised of applicant’s “Amendment and Response to the Office
                                                    Action dated July 9, 2004,” submitted to the United
                                                    States Patent and Trademark Office on April 24, 2005 - Exhibit L to Scott
                                                    Taylor Declaration In Support of Samsung Responsive Claim Construction
                                                    Brief
           DX-1014                                  2012-07-02 - Magistrate Judge Amos L. Mazzant’s Report and
                                                    Recommendation, filed on July 2, 2012, docket no. 209, in Imperium (IP)
                                                    Holdings, Inc. v. Apple Inc. et al., 4:11-cv-00163 (E.D.Tex.) - Exhibit M to
                                                    Scott Taylor Declaration In Support of Samsung Responsive Claim
                                                    Construction Brief
           DX-1015                                  2012-03-30 - Plaintiff Imperium (IP) Holdings, Inc.’s Opening claim
                                                    Construction Brief Pursuant To P.R. 4-5(A), filed on March 30, 2012, docket
                                                    no. 158, in Imperium (IP) Holdings, Inc. v. Apple Inc. et al., 4:11-cv-00163
                                                    (E.D.Tex.) - Exhibit N to Scott Taylor Declaration In Support of Samsung
                                                    Responsive Claim Construction Brief
           DX-1016                                  2012-07-16 - Plaintiff Imperium (IP) Holdings, Inc.’s Objections To The
                                                    Report And Recommendation Of United States Magistrate Judge Regarding
                                                    Claim Construction, filed on July 16, 2012, docket no. 221, in Imperium (IP)
                                                    Holdings, Inc. v. Apple Inc. et al., 4:11-cv-00163 (E.D.Tex.) - Exhibit O to
                                                    Scott Taylor Declaration In Support of Samsung Responsive Claim
                                                    Construction Brief
           DX-1017                                  2015-08-11 - Excerpted pages of deposition of Vincent Capone
           DX-1018                                  2015-08-24 - Letter Christopher Harnett to R. William Sigler re: Deposition of
                                                    Alan Fisch
           DX-1019                                  2015-08-27 - Subpoena to Testify at a Deposition in a Civil Action for Alan
                                                    M. Fisch
           DX-1020                                  2014-09-05 - Letter Bob Blair to Whom It May Concern (Samsung) with cc:
                                                    Peter Sung (ESS Korea) and Robert Wong (ESS Fremont) Re: ESS
                                                    Technology and Imperium IP Holdings
           DX-1021                                  2015-06-03 - Excerpts of Samsung First Notice of Deposition of Imperium IP
                                                    Holdings (Cayman), Ltd.

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                      Offered
           DX-1022                                  2015-06-12 - Excerpts of Samsung Second Notice of Deposition of Imperium
                                                    IP Holdings (Cayman), Ltd.
           DX-1023                                  2015-07-29 - Email Bill Sigler to Ropes & Gray and Samuel Brenner re:
                                                    Capone deposition
           DX-1024                                  2015-08-27 - Letter Christopher Harnett to R. William Sigler re: Deposition of
                                                    Alan Fisch
           DX-1025                                  2015-09-02 - Letter Christopher Harnett to R. William Sigler re: Deposition of
                                                    Alan Fisch
           DX-1026                                  1999 Newnes TV and Video Engineers Pocket Book - Gain (SAM-
                                                    371_00069354 - SAM-371_00069354)
           DX-1027                                  1997-10-09 - File History to Sears U.S. Patent Application No. 08/930,156
                                                    entitled "Tactiley-Guided, Voice-Output Reading Apparatus" (parent
                                                    application of Sears U.S. Patent No. 6,115,482) (SAM-371_00099872 -SAM-
                                                    371_00100004)
           DX-1028                                  2015-09-09 Kenneth Parulski Invalidity Expert Report
           DX-1029                                  2015-09-28 Kenneth Parulski Rebuttal Expert Report Regarding 7,092,029
                                                    Patent
           DX-1030                                  M. Ray Perryman, Ph.D., Curriculum Vitae
           DX-1031                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Appendix A
           DX-1032                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Appendix B
           DX-1033                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Appendix C
           DX-1034                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 1
           DX-1035                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 2A
           DX-1036                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 2B
           DX-1037                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 3A
           DX-1038                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 3B
           DX-1039                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 3C
           DX-1040                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 4A
           DX-1041                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 4B
           DX-1042                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 4C
           DX-1043                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 5A
           DX-1044                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 5B


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           DX-1045                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 5C
           DX-1046                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 6
           DX-1047                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 7
           DX-1048                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 8
           DX-1049                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 9A
           DX-1050                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 9B
           DX-1051                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 9C
           DX-1052                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 9D
           DX-1053                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 10
           DX-1054                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 11A
           DX-1055                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 11B
           DX-1056                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 11C
           DX-1057                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 12A
           DX-1058                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 12B
           DX-1059                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 12C
           DX-1060                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 13A
           DX-1061                                  2015-11-02 Ray Perryman’s Supplemental Expert Report Exhibit 13B
           DX-1062                                  Exhibit Number Not Used
           DX-1063                                  Exhibit Number Not Used
           DX-1064                                  Exhibit Number Not Used
           DX-1065                                  Exhibit Number Not Used
           DX-1066                                  Exhibit Number Not Used
           DX-1067                                  2011-03-17 - Samsung document entitled "FLASH aE" (Translation)
                                                    (TRANS_SAM-371_00005756 - TRANS_SAM-371_00005768)
           DX-1068                                  Exhibit Number Not Used
           DX-1069                                  Exhibit Number Not Used
           DX-1070                                  Exhibit Number Not Used
           DX-1071                                  Exhibit Number Not Used
           DX-1072                                  Exhibit Number Not Used
           DX-1073                                  2011-03-17 Presentation: Flash aE Algorithm by Hae-sun Lee (SAM-
                                                    371_00000001 - SAM-371_00000013)



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           DX-1074                                  2011-03-17 Presentation: Flash aE Algorithm by Hae-sun Lee (Translation)
                                                    (TRANS_SAM-371_00000001 - TRANS_SAM-371_00000013)

           DX-1075                                  1996 Canon EOS IX English Edition Instructions (SAM-371_00063090 -
                                                    SAM-371_00063138)
           DX-1076                                  1999 Canon EOS Rebel 2000 English Edition Instructions (SAM-
                                                    371_00063388 - SAM-371_00063463)
           DX-1077                                  1998 Canon EOS-3 English Edition Instructions (SAM-371_00064301 - SAM-
                                                    371_00064448)
           DX-1078                                  1995-08-17 Canon Continues Evolutionary Design
                                                    Tradition With Introduction Of New
                                                    Generation EOS Elan II,” Press Release,, available at
                                                    http://web.archive.org/web/20001121135300/http://www.usa.canon.com/press
                                                    /081795-7.html (hereinafter
                                                    Elan II 1995 Press Release) (SAM-371_00064574 - SAM-371_00064582)

           DX-1079                                  1995-08-17 Canon Speedlite 380EX Offers New Evaluative (ETTL)
                                                    Flash System for Pinpoint Exposure and
                                                    Extended Zoom Range, Press Release, available at
                                                    http://web.archive.org/web/20001012111634/http://www.usa.canon.com/press
                                                    /081795.html (SAM-371_00064591 - SAM-371_00064593)
           DX-1080                                  Nikon Autofocus Speedlight SB-28 Instruction
                                                    Manual (SAM-371_00064770 - SAM-371_00064866)
           DX-1081                                  1992-10 Popular Photography, SLR Nikon takes a giant step forward with new
                                                    N90 AF SLR (SAM-371_00065469 - SAM-371_00065475)
           DX-1082                                  2000 Kodak Professional DCS 500 Series Digital Cameras, User's Guide
                                                    (SAM-371_00101356 - SAM-371_00101606)
           DX-1083                                  2008-01-07 First Amendment to Tessera Optiml Focus Technology License
                                                    Agreement (SAM-371_00439191 - SAM-371_00439198)
           DX-1084                                  Presentation: 2Gbps VS 3phase Comparison (SAM-371_00104971 - SAM-
                                                    371_00104977)



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           DX-1085                                  2012-07-31 Apple's charts compare its U.S. market share and global sales to
                                                    Samsung's 2004-2012, Phonearena.com
           DX-1086                                  2010-08-17 ESS Technology Corporate Structure Chart (IIPH_SAM00376292
                                                    - IIPH_SAM00376292)
           DX-1087                                  2009-04-24 Written Resolutions of the sole Director of Imperium
                                                    (IIPH_SAM00376313 - IIPH_SAM00376317)
           DX-1088                                  2008-02-21 Agreement and Plan of Merger between Semiconductor Holding
                                                    Corporation Echo Mergerco Inc. and Echo Technology (Delaware) Inc.
                                                    (IIPH_SAM00376333 - IIPH_SAM00376396)
           DX-1089                                  2003 ESS Technology 2003 Annual Report (IIPH_SAM00376406 -
                                                    IIPH_SAM00376522)
           DX-1090                                  2010-03 Investment Finances (IIPH_SAM00376523 - IIPH_SAM00376525)

           DX-1091                                  2007-04-27 Email Boyd to Franceschi, Brown and Chafer re Valuation
                                                    (IIPH_SAM00376530 - IIPH_SAM00376544)
           DX-1092                                  2007-03-06 Email Blair re cameraphone opportunity (IIPH_SAM00376236 -
                                                    IIPH_SAM00376236)
           DX-1093                                  Email to John (IIPH_SAM00376237 - IIPH_SAM00376238)
           DX-1094                                  2012-09-19 Email Devers to Rehm and Morrison re IP Holdings and ESS
                                                    (IIPH_SAM00376239 - IIPH_SAM00376247)
           DX-1095                                  2008-05-05 Alicia Moore Non-Disclosure Agreement (IIPH_SAM00376248 -
                                                    IIPH_SAM00376249)
           DX-1096                                  2008-10-23 ESS Technology Board of Directors Meeting IP Licensing Update
                                                    (IIPH_SAM00376287 - IIPH_SAM00376287)
           DX-1097                                  2008-11-21 ESS Technology Board of Directors Meeting IP Licensing Update
                                                    (IIPH_SAM00376288 - IIPH_SAM00376289)
           DX-1098                                  2010-04-06 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376290 - IIPH_SAM00376291)
           DX-1099                                  2010-06-03 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376293 - IIPH_SAM00376293)
           DX-1100                                  2008-10-23 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376294 - IIPH_SAM00376296)


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                      Offered
           DX-1101                                  2008-11-21 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376297 - IIPH_SAM00376299)
           DX-1102                                  2009-01-23 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376300 - IIPH_SAM00376302)
           DX-1103                                  2009-03-05 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376303 - IIPH_SAM00376304)
           DX-1104                                  2009-04-23 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376305 - IIPH_SAM00376306)
           DX-1105                                  2009-06-04 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376307 - IIPH_SAM00376308)
           DX-1106                                  2009-07-19 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376309 - IIPH_SAM00376310)
           DX-1107                                  2009-08-26 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376311 - IIPH_SAM00376311)
           DX-1108                                  2009-10-26 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376312 - IIPH_SAM00376312)
           DX-1109                                  2009-12-09 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376318 - IIPH_SAM00376318)
           DX-1110                                  2010-02-02 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376319 - IIPH_SAM00376319)
           DX-1111                                  2010-03-03 Imperium IP Holdings Meeting of the Board of Directors
                                                    (IIPH_SAM00085670 - IIPH_SAM00085670)
           DX-1112                                  2010-04-22 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376320 - IIPH_SAM00376320)
           DX-1113                                  2010-08-11 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376321 - IIPH_SAM00376322)
           DX-1114                                  2010-11-03 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376323 - IIPH_SAM00376323)
           DX-1115                                  2010-11-29 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376324 - IIPH_SAM00376325)
           DX-1116                                  2011-01-26 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376326 - IIPH_SAM00376328)


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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked   Admitted                                 Description
                      Offered
           DX-1117                                  2011-02-18 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376329 - IIPH_SAM00376330)
           DX-1118                                  2011-03-31 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376331 - IIPH_SAM00376332)
           DX-1119                                  2011-05-09 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376397 - IIPH_SAM00376398)
           DX-1120                                  2011-08-09 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376399 - IIPH_SAM00376400)
           DX-1121                                  2011-11-02 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376401 - IIPH_SAM00376401)
           DX-1122                                  2012-02-24 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376402 - IIPH_SAM00376403)
           DX-1123                                  2012-05-08 Imperium Meeting of the Board of Directors
                                                    (IIPH_SAM00376404 - IIPH_SAM00376405)
           DX-1124                                  2009-06-02 Email Michaelson to Testaverde, Hryshko and Devers re
                                                    Imperium IP Holdings (Cayman) Ltd. (IIPH_SAM00377499 -
                                                    IIPH_SAM00377499)
           DX-1125                                  2008 Draft Patent Assignment Agreement between Imperium and ESS
                                                    Technology (IIPH_SAM00377500 - IIPH_SAM00377521)
           DX-1126                                  2006-12-15 Letter Blair to Hong re ESS Digital Imaging Patents
                                                    (IIPH_SAM00377522 - IIPH_SAM00377522)
           DX-1127                                  2008-11-26 Consulting Agreement Scopt of Work IP Monetization Project
                                                    (IIPH_SAM00377523 - IIPH_SAM00377525)
           DX-1128                                  2010-06-01 Consulting Agreement Scopt of Work IP Monetization Project
                                                    2nd (IIPH_SAM00377526 - IIPH_SAM00377528)
           DX-1129                                  2011-06-01 Settlement Agreement and Mutual Release between Imperium and
                                                    ESS Technology (IIPH_SAM00377529 - IIPH_SAM00377531)
           DX-1130                                  2005-10-26 ESS Technology Moderator Rebecca Mack (IIPH_SAM00377533
                                                    - IIPH_SAM00377557)
           DX-1131                                  2006-05-17 Presentation ESS Technology Camera Phone Marketing Update
                                                    (IIPH_SAM00377558 - IIPH_SAM00377572)



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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked   Admitted                                 Description
                      Offered
           DX-1132                                  2012-10-12 Imperium v. Apple Defendant's Notice to Take Videotaped
                                                    Deposition of ESS Technology with Subpoena Duces Tecum
                                                    (IIPH_SAM00365346 - IIPH_SAM00365430)
           DX-1133                                  2003-12-27 License Agreement between Pictos and ESS Technology
                                                    (IIPH_SAM00365531 - IIPH_SAM00365540)
           DX-1134                                  2004-10-14 Email Blair to Mallinson re UMC CIS Team visit ESS-Irvine
                                                    schedule - 10/14 (IIPH_SAM00365544 - IIPH_SAM00365553)
           DX-1135                                  2004-11-03 Email Zhou to Blair re Only for you two (IIPH_SAM00365557 -
                                                    IIPH_SAM00365562)
           DX-1136                                  2006-12-14 Proposal (IIPH_SAM00365691 - IIPH_SAM00365691)
           DX-1137                                  2007-03-06 Email Blair re Cameraphone opportunity (IIPH_SAM00365695 -
                                                    IIPH_SAM00365748)
           DX-1138                                  2008-02-19 ESS Technologies SEC Schedule A (IIPH_SAM00365791 -
                                                    IIPH_SAM00366087)
           DX-1139                                  2009-04-24 Written Resolutions of the sole Director of Imperium
                                                    (IIPH_SAM00366088 - IIPH_SAM00366092)
           DX-1140                                  Email to John (IIPH_SAM00366093 - IIPH_SAM00366094)
           DX-1141                                  2008-06-20 Certificate of Incorporation to Imperium (IIPH_SAM00366137 -
                                                    IIPH_SAM00366137)
           DX-1142                                  2008-11-21 ESS Technology Board of Directors Meeting IP Licensing Update
                                                    (IIPH_SAM00366203 - IIPH_SAM00366204)
           DX-1143                                  2009-01-22 Email Moore re FW: ESS (IIPH_SAM00366205 -
                                                    IIPH_SAM00366244)
           DX-1144                                  1998 Canon EOS IX 7/IX Lite English Edition Instruction Manual (SAM-
                                                    371_00063288 - SAM-371_00063387)
           DX-1145                                  1996 Canon EOS Rebel G Rebel GQD English Edition Instructions (SAM-
                                                    371_00063464 - SAM-371_00063531)
           DX-1146                                  2000-02 Canon EOS 1-v Instruction Manual (SAM-371_00063532 - SAM-
                                                    371_00063671)
           DX-1147                                  2000 Kodak DCS 500 Series Digital Camera User’s Guide (SAM-
                                                    371_00063785 - SAM-371_00064035)



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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked   Admitted                                  Description
                      Offered
           DX-1148                                  1999-02 Kodak Pro DCS 520 Review, Phil Askey (SAM-371_00064542 -
                                                    SAM-371_00064547)
           DX-1149                                  1999-02 Kodak Pro DCS 520 Review, Phil Askey, (Intro) (SAM-
                                                    371_00064548 - SAM-371_00064549)
           DX-1150                                  1996-08-19 Speedlite 220EX Highlights New Accessories Introduced By
                                                    Canon, Press Release, available at
                                                    http://web.archive.org/web/20001213070400/http://www.usa.canon.com/press
                                                    /081996-2.html (SAM-371_00064570 - SAM-371_00064573)
           DX-1151                                  1999-08-24 Nikon Professional Digital SLR D1 (2.74 mpixel) (webpage,
                                                    dpreview) (SAM-371_00065024 - SAM-371_00065030)
           DX-1152                                  1999-06 Nikon D1 Brochure, "Nikon announces the new Nikon Professional
                                                    Digital SLR D1" (SAM-371_00065037 - SAM-371_00065038)

           DX-1153                                  Nikon N90 AF Instruction Manual (SAM-371_00065115 - SAM-
                                                    371_00065262)
           DX-1154                                  1998-02-02 Canon, 1998 Press Release - "Canon Announces Breakthrough
                                                    Professional Digital Camera" (SAM-371_00512929 - SAM-371_00512930)

           DX-1155                                  Nikon Warranty Card (SAM-371_00513013 - SAM-371_00513014)
           DX-1156                                  1992 International Standard, ISO 1230, Photography - Determination of Flash
                                                    Guide (SAM-371_00513121 - SAM-371_00513132)
           DX-1157                                  1998 Canon EOS 3 Review of High Tech Wonder, by Peter Kun Frary (SAM-
                                                    371_00513133 - SAM-371_00513145)
           DX-1158                                  Canon website provides software to communicate with the Canon EOS-1v.
                                                     Available at
                                                    http://www.usa.canon.com/cusa/support/consumer/eos_slr_camera_systems/e
                                                    os_35mm_slr_cameras/eos_1v#DriversAndSoftware (SAM-371_00513725 -
                                                    SAM-371_00513725)
           DX-1159                                  2011-06 NK Guy, Mastering Canon EOS Flash Photography (SAM-
                                                    371_00513784 - SAM-371_00513823)
           DX-1160                                  2005-12-15 Email Blair to He re Patent visit follow-up (IIPH_SAM00365689 -
                                                    IIPH_SAM00365690)

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                                               Imperium v. Samsung                              4:14-cv-00371 (ALM)
                       Date
Pltf No.    Def. No             Marked   Admitted                                  Description
                      Offered
                                                    1999-04-30 - Japanese Patent Application Pub. No. H11-119288 entitled
           DX-1161                                  “Strobe Device” (Shimada - Olympus) (SAM-371_00065906 - SAM-
                                                    371_00065913)
                                                    1989-11-21 – Japanese Patent Application Pub. No. H01-289925 entitled
           DX-1162                                  “Stroboscopic System for Cameras” (Nakajima – Olympus) (SAM-
                                                    371_00065914)
                                                    1999-04-30 - Japanese Patent Application Pub. No. H11-119288 entitled
           DX-1163                                  “Strobe Device” (Shimada - Olympus) (SAM-371_00065898 - SAM-
                                                    371_00065905)




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